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                     UNITED STATES DISTRICT COURT
  18        CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
  19   MACOM TECHNOLOGY                       Case No. CV 16-02859 CAS (PLAx)
  20   SOLUTIONS HOLDINGS INC. and             JOINT STIPULATION
       NITRONEX, LLC,                          REGARDING DEFENDANTS’
  21                                           SECOND MOTION TO COMPEL
                                               DISCOVERY RESPONSES AND
  22                                           PRODUCTION OF DOCUMENTS
                        Plaintiffs,
  23                                          Mag. Judge: Hon. Paul L. Abrams
             v.
  24                                          Hearing Date: June 27, 2018
       INFINEON TECHNOLOGIES AG, et           Hearing Time: 10:00 a.m.
  25                                          Courtroom: C, 8th Floor
       al.,
  26
                        Defendants.           Discovery Cutoff: June 29, 2018
  27                                          Pretrial Conference: March 4, 2019
  28                                          Trial Date: March 26, 2019
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   1 TO ALL PARTIES AND THEIR COUNSEL OF RECORD:
   2        PLEASE TAKE NOTICE that on June 27, 2018, at 10:00 A.M., or as soon
   3 thereafter as this matter may be heard, in the courtroom of the Honorable Paul L.
   4 Abrams, located in the Roybal Federal Building and United States Courthouse, 255
   5 E. Temple Street, Courtroom 780, 7th Floor, Los Angeles, CA 90012, Defendants
   6 Infineon Technologies AG (“Infineon AG”) and Infineon Technologies Americas
   7 Corporation (“Infineon Americas”) (collectively, “Defendants”) will and hereby do
   8 move this Court to compel Plaintiff MACOM Technology Solutions Holdings
   9 (“MACOM” or “Plaintiff,” and collectively with Nitronex, LLC, “Plaintiffs”) to
  10 respond to Defendants’ discovery requests.
  11        The parties discussed, by telephone, the grounds of Defendants’ motion on
  12 January 25, 2018, March 26, 2018, April 9, 2018, May 14, 2018, May 15, 2018, and
  13 May 18, 2018. The parties could not reach a resolution and therefore file the
  14 following Joint Stipulation pursuant to Civil Local Rule 37-2.
  15
  16   Dated: June 5, 2018                   JEFFERY D. BAXTER
                                             BAKER BOTTS LLP
  17
  18
  19
                                             By: /s/ Jeffery D. Baxter
  20                                          Jeffery D. Baxter (admitted pro hac vice)
  21                                          jeff.baxter@bakerbotts.com
  22                                         ATTORNEY FOR DEFENDANTS
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   1 I.     INTRODUCTION
   2        Pursuant to Local Civil Rule 37-2, Defendants Infineon Technologies AG
   3 (“Infineon AG”) and Infineon Technologies Americas Corporation (“Infineon
   4 Americas”) (collectively, “Defendants”) and Plaintiffs MACOM Technology
   5 Solutions Holdings and Nitronex, LLC, (collectively, “MACOM” or “Plaintiffs”), file
   6 this Joint Stipulation Regarding Defendants’ Second Motion to Compel Discovery
   7 Responses.
   8        A.     Defendants’ Introductory Statement
   9        This motion seeks to compel Plaintiffs to provide fully responsive answers and
  10 documents to ten requests or sets of requests: (1) Defendants’ Interrogatory No. 18,
  11 which requests financial and sales information, including information on offers for
  12 sale and design opportunities; (2) Defendants’ Requests for Production (“RFPs”) Nos.
  13 108, 109, 111, 112, 115, 116, 118, 120, 121, and 127, which seek information
  14 regarding prior art and the inventors of the patents-in-suit; (3) Defendants’
  15 Interrogatory No. 11 and Defendants’ RFP 135, which involve Plaintiffs’ own
  16 operations and structure, such as sales and distribution channels; (4) Defendants’
  17 Interrogatory No. 12 and Defendants’ RFP 97, which involve specific categories of
  18 third-party communications; (5) Defendants’ RFP 190, which seeks communications
  19 between Plaintiffs and Morgan Stanley regarding an attempt by Plaintiffs to purchase
  20 certain of Defendants’ assets; (6) Defendants’ RFP 212, which seeks valuation
  21 documents of Nitronex, LLC; (7) Defendants’ RFP 38, which seeks license
  22 agreements relevant to Plaintiffs’ damages claims; (8) Defendants’ RFPs 214 and 215,
  23 which seek documents and communications from Plaintiffs’ involvement and
  24 motivations in certain technology transfers, agreements, and licenses; (9) Defendants’
  25 Interrogatory No. 17, which seeks the identities of key individuals; and
  26 (10) Defendants’ RFP 204, which seeks information regarding one of Plaintiffs’
  27 suppliers, ST Microelectronics.
  28

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   1         The first item at issue is Defendants’ Interrogatory No. 18. Plaintiffs response
   2 directs Defendants to three summary sales spreadsheets, which lack many classes of
   3 data sought by this interrogatory. During the meet and confer process, Plaintiffs
   4 pointed Defendants to another summary document. But even this document is
   5 incomplete. As shown by Plaintiffs’ internal communications, Plaintiffs track other
   6 fields of responsive data that should be contained in this report.
   7         The second set of requests involved in this motion includes ten RFPs that seek
   8 information regarding prior art and the inventors of the patents-in-suit. Plaintiffs
   9 respond to these RFPs by incorporating by reference responses to other requests. This
  10 ploy does not yield responsive answers.           Plaintiffs must produce documents
  11 responsive to these requests, which focus on a dispositive issue in this case.
  12         The third set of requests is an RFP and an interrogatory revolving around
  13 Plaintiffs’ business operations. Because these requests seek discovery on Plaintiffs’
  14 own operations, Plaintiffs should be able to respond with minimal burden. Instead,
  15 Plaintiffs snub full portions of the requests and provide only selected information,
  16 without a valid objection for disregarding the rest.
  17         The fourth set of requests is an RFP and an interrogatory. These requests seek
  18 third-party communications—specifically, those related to this lawsuit, MACOM’s
  19 rights under the purchased patents, and Defendants. Plaintiffs arbitrarily limit their
  20 responses to only emails and customer communications. This is inappropriate.
  21 Plaintiffs cannot rewrite Defendants’ requests without a proper objection.
  22         The fifth category contains a single RFP seeking communications with a
  23 specific third party who advised Plaintiffs on a potential purchase of Defendants’
  24 business assets. These communications would shed light on Plaintiffs’ business
  25 decisions and affairs. Underscoring their importance, these communications occurred
  26 shortly before this lawsuit was filed and cover a subject at the core of this dispute.
  27         The sixth category is also a single RFP, which seeks valuations of Nitronex and
  28 its intellectual property when GaAs Labs (which is affiliated in some way with

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   1 MACOM, see Ex. 1, GaAs Labs’ Portfolio Webpage Printout) acquired Nitronex.
   2 Plaintiffs objected to this request on the basis that it calls for documents outside of
   3 their possession, custody, or control. Defendants pointed out that this is not a valid
   4 objection. The fact that some documents are outside Plaintiffs’ possession, custody,
   5 or control does not prevent them from producing those documents that are in their
   6 possession, custody, or control. Defendants asked Plaintiffs to produce whatever
   7 documents are in their possession, custody, or control, or to state they do not have any
   8 documents in their possession, custody, or control. Plaintiffs refused.
   9         The seventh and eighth sets of requests contain in total three RFPs, each of
  10 which seeks information relating to technology transfers, agreements, and licenses
  11 entered into by Plaintiffs. Such documents and communications will again show the
  12 state of Plaintiffs’ business in specifically identified and highly relevant areas. They
  13 will also be relevant to the value of the patents at issue. Plaintiffs again rewrite these
  14 requests so that they can produce only what little they prefer to produce.
  15         The ninth item is Interrogatory No. 17. Plaintiffs’ deficient response simply
  16 points to a stack of documents. These documents do not answer this interrogatory,
  17 and the Federal Rules do not permit this cumbersome incorporation by reference in
  18 response to an interrogatory.
  19         The tenth and final item is a single RFP. Following a meet and confer,
  20 Defendants offered a narrowed version of this RFP, and Plaintiffs agreed to produce
  21 responsive documents. Later correspondence revealed that Plaintiffs were no longer
  22 willing to do so, however. Plaintiffs must produce responsive documents.
  23         In their responses, Plaintiffs often rewrite the requests, disregarding the
  24 relevance of the specific information actually sought. Further, Plaintiffs often respond
  25 by employing a frustrating incorporation by reference tactic that directs Defendants
  26 to a number of responses to different request in lieu of a direct response to the
  27 particular request at issue. By doing so, Plaintiffs obscure their position as to whether
  28 they will be producing responsive documents and what documents will be withheld

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   1 or on what basis. And Plaintiffs repeatedly neglect their discovery obligations by
   2 arguing that documents could be sought from third parties or are publicly available.
   3 Plaintiffs cannot shift their discovery obligations to other parties, especially where
   4 Plaintiffs fail to identify the precise documents subject to this objection. Defendants’
   5 motion to compel should be granted in its entirety.
   6         B.    Plaintiffs’ Introductory Statement
   7         This is the second (although probably not the last) in a baseless series of
   8 motions to compel brought by Defendants Infineon Technologies AG (“Infineon
   9 AG”) and Infineon Technologies Americas Corporation (“Infineon Americas”)
  10 (collectively, “Infineon”).
  11         Infineon has approached motion practice the same way that it has approached
  12 discovery: demand everything (relevant or not) , compromise on nothing, and
  13 wholly disregard the principles of proportionality that are a cornerstone of the
  14 Federal Rules of Civil Procedure. See, e.g., Menell v. Rialto Unified Sch. Dist., No.
  15 EDCV152124VAPKKX, 2016 WL 3452920, at *1 (C.D. Cal. June 20, 2016) (under
  16 the Federal Rules, parties “have a collective responsibility to consider the
  17 proportionality of all discovery and consider it in resolving discovery disputes”).
  18         It is Infineon’s burden on this motion to compel to establish that its requests
  19 satisfy the relevance requirement of Federal Rule of Civil Procedure 26. States v.
  20 McGraw-Hill Companies, Inc., No. CV130779DOCJCGX, 2014 WL 12589667, at
  21 *3 (C.D. Cal. June 13, 2014). In all instances, Infineon fails to meet this standard.
  22 “Although relevancy is broadly defined for the purposes of discovery, it does have
  23 ultimate and necessary boundaries.” Centeno v. City of Fresno, No.
  24 116CV00653DADSAB, 2016 WL 7491634, at *4 (E.D. Cal. Dec. 29, 2016)
  25 (emphasis added). It is not simply enough to announce, ipso dixit, that the
  26 information that it seeks is “relevant” or “central.” Audio MPEG, Inc. v. HP Inc.,
  27 No. 16-MC-80271-HRL, 2017 WL 950847, at *5 (N.D. Cal. Mar. 10, 2017) (finding
  28 that a party’s “conclusory statements” that requested data is “relevant to damages”

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   1 failed to satisfy its burden to demonstrate relevance); AngioScore, Inc. v. TriReme
   2 Med., Inc., No. 12-CV-03393-YGR JSC, 2014 WL 6706873, at *3 (N.D. Cal. Nov.
   3 25, 2014) (“Defendants’ conclusory statements regarding the relevance of the
   4 documents sought fail to satisfy their burden to demonstrate relevance.”). It must
   5 explain why in way that is coherent and consistent with the claims and arguments in
   6 dispute.
   7         Infineon is a much larger company than company than MACOM, with annual
   8 revenues in 2017 that dwarfed MACOM’s by more than 12 times. See, e.g.,
   9 https://www.infineon.com/cms/en/about-infineon/press/general-information/facts-
  10 figures/ (reporting Infineon 2017 revenues of almost $9 billion (the equivalent of
  11 €7,603 million)); http://files.shareholder.com/downloads/AMDA-
  12 G79D4/6289561165x0x964130/A4FEFAE7-68E3-4601-AA5B-
  13 CC6796A44052/MTSI_2016-2017_Quarterly_Revenue_by_End_Market.pdf
  14 (reporting MACOM fiscal year 2017 revenues totaling approximately $700 million).
  15 Its approach throughout this litigation has been to delay, draw things out, and
  16 impose as much burden and expense on MACOM as it can. The present motion
  17 epitomizes that strategy.
  18         Infineon raises ten issues in the present motion to compel (in addition to the
  19 four issues it raised in a joint stipulation served three days before this one), all of
  20 which are unduly burdensome, seek largely irrelevant information, or which have
  21 been mooted—and none of which can be granted consistently with the principles of
  22 proportionality that must guide any decision on a motion to compel. Infineon’s
  23 motion should be denied in its entirety.
  24
       II.   ARGUMENT
  25
  26         A.     Defendants’ Interrogatory No. 18
  27         Below are Defendants’ Interrogatory No. 18 and Plaintiffs’ response and
  28 supplemental response.

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   1              INTERROGATORY NO. 18
   2                     For each of your GaN-Si Products and GaN-SiC
   3              Products, describe in detail each and every sale or offer for
                  sale of such products, including an identification of the
   4              customer or potential customer to whom the sale or offer for
   5              sale was made; the date on which the sale or offer for sale
                  was made; the price at which such product was sold or
   6              offered for sale (including any list price, discount price,
   7              discount, rebate, and other financial arrangement or
                  transaction affecting the value of the sale or offer for sale);
   8              the quantity of such product included in the sale or offer for
   9              sale; all fixed and variable costs for such product that was
                  sold or offered for sale; the profit and profit margin that you
  10              realized or would have realized on each sale or offer for
  11              sale; whether an offer resulted in a design win or design loss
                  or was otherwise accepted or rejected; the identification of
  12              any additional offers, counterproposals, or further
  13              negotiations that resulted from an offer for sale and the
                  outcome of those additional offers, counterproposals, or
  14              further negotiations (such as a design win, design loss, or
  15              actual sale); if any offer for sale resulted in a design win or
                  sales or was otherwise accepted, the terms (including
  16              product price) of any design win, sales, or agreement that
  17              resulted from the offer for sale; and if any offer for sale did
                  not result in a design win or sales or was not otherwise
  18              accepted, the reasons why the offer did not result in a design
  19              win or sales or was not otherwise accepted; and the
                  identification of the Bates numbers of the bids, proposals,
  20              price quotes, design wins, design losses, negotiations,
  21              communications, agreements, or other documents
                  evidencing the sale or offer for sale.
  22
  23              RESPONSE TO INTERROGATORY NO. 18

  24                    MACOM incorporates the General Objections and
                  Objections to Definitions and Instructions set forth above.
  25
                  MACOM objects to the Interrogatory as overly broad,
  26              unduly burdensome, vague, and ambiguous. MACOM
                  objects to this Interrogatory as compound. MACOM
  27
                  objects to the terms “detail,” “sale,” offer for sale,”
  28              “customer,” “potential customer,” “price,” “list price,”

                                                6
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   1              “discount price,” “discount rebate,” “other financial
                  arrangement or transaction,” “affecting,” “fixed and
   2
                  variable costs,” “profit,” “profit margin,” “resulted,”
   3              “design win,” “design loss,” “accepted,” “rejected,”
                  “offers,” “counterproposals,” “further negotiations,”
   4
                  “resulted     from,”      “why,”      “negotiations,”     and
   5              “communications” as overly broad, unduly burdensome,
                  vague, and ambiguous. MACOM objects to this
   6
                  Interrogatory on the grounds that it fails to describe the
   7              information requested with reasonable particularity.
   8              MACOM objects to the extent this Interrogatory seeks
                  information that is not relevant to the subject matter of this
   9              action and/or is not proportional to the needs of the case.
  10              MACOM objects that this Interrogatory is not reasonably
                  limited as to time and thus seeks to impose undue burden
  11              on MACOM. MACOM objects to this Interrogatory to the
  12              extent it seeks third-party confidential information that
                  MACOM is not permitted to disclose under applicable
  13              protective orders and/or private agreements. MACOM
  14              objects to this Interrogatory to the extent it seeks
                  information protected by the attorney-client privilege
  15              and/or attorney work product doctrine and/or any other
  16              applicable privilege or immunity.

  17                    Subject to and without waiving the foregoing general
                  and specific objections, MACOM responds as follows:
  18
  19                     MACOM’s historical sales of its GaN-on-SiC
                  products were de minimis, meaning that the potential
  20              damages from those sales do not justify the cost of litigating
  21              Infineon’s present infringement claims against those
                  historical (and now discontinued) products. Therefore, for
  22              purposes of this litigation, MACOM does not intend to
  23              contest that its discontinued GaN-on-SiC products practice
                  the five patents asserted by Infineon (U.S. Patent Nos.
  24              7,569,871, 7,135,720, 7,352,016, 7,995,540, and
  25              7,071,498). Pursuant to Federal Rule of Civil Procedure
                  33(d), MACOM states that it will produce documents
  26              showing MACOM’s GaN-on-SiC sales worldwide from
  27              2011 to present and also incorporates its response to
                  Interrogatory No. 16 here.
  28

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   1                     With respect to GaN-on-Si, discovery has been
                  stayed regarding much of the information requested by this
   2
                  Interrogatory, and MACOM therefore declines to respond
   3              at this time on that basis. That said, MACOM states that it
                  will produce non-privileged communications with Tier 1
   4
                  basestation customers related to the Nitronex Patents and/or
   5              GaN-on-Si marketing, to the extent they exist and can be
                  located upon a reasonable search. Pursuant to Federal Rule
   6
                  of Civil Procedure 33(d), MACOM refers Infineon to those
   7              materials.
   8                     MACOM’s investigation of the subject matter of this
   9              Interrogatory is ongoing. Pursuant to Federal Rule of Civil
                  Procedure 26(e), MACOM reserves the right to supplement
  10              this Response as further information becomes available.
  11
                  SUPPLEMENTAL RESPONSE TO INTERROGATORY
  12              NO. 18
  13                     Subject to and without waiving the foregoing general
  14              and specific objections, MACOM supplements its response
                  as follows:
  15
  16                    MACOM has produced spreadsheets with detailed
                  information regarding its GaN-on-SiC sales. Pursuant to
  17              Rule 33(d) of the Federal Rules of Civil Procedure,
  18              MACOM directs Infineon to the documents Bates-labeled
                  MACOM-INF-035807 and MACOM-INF-035808.
  19
                         MACOM has also produced a spreadsheet with
  20              detailed information regarding its GaN-on-Si sales.
  21              Pursuant to Rule 33(d) of the Federal Rules of Civil
                  Procedure, MACOM directs Infineon to the document
  22              Bates-labeled MACOM-INF-035806.
  23
                         MACOM’s investigation of the subject matter of this
  24              Interrogatory is ongoing. Pursuant to Federal Rule of Civil
  25              Procedure 26(e), MACOM reserves the right to supplement
                  this Response as further information becomes available.
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   1                1.    Defendants’ Argument
   2         Plaintiffs’ response to Interrogatory No. 18 amounts to three summary sales
   3 spreadsheets. See Ex. 2, MACOM-INF-035807, First GaN-on-SiC Summary Sales
   4 Spreadsheet; Ex. 3, MACOM-INF-035808, Second GaN-on-SiC Summary Sales
   5 Spreadsheet; Ex. 4, MACOM-INF-035806, GaN-on-Si Summary Sales Spreadsheet.
   6 These spreadsheets omit wholesale categories of financial information that
   7 Interrogatory No. 18 requests and that Plaintiffs track. Because Plaintiffs’ response
   8 ignores key language seeking offers for sale and because Plaintiffs ignore key data
   9 fields that they already track, Plaintiffs must amend their response to provide this
  10 information.
  11                      a)     Background
  12         On December 15, 2017, Plaintiffs supplemented their response to Interrogatory
  13 No. 18. On May 9, 2018, counsel for Defendants sent a letter to counsel for Plaintiffs,
  14 detailing how the summary sales spreadsheets and their data, which Plaintiffs
  15 produced in response to this interrogatory, did not adequately respond. Defendants
  16 explained that Plaintiffs’ spreadsheets contain only actual sales but do not provide
  17 information about offers for sale. Offers for sale would include design opportunities
  18 for which Plaintiffs have competed or are competing, whether or not they have yet
  19 resulted in an actual sale. In the relevant base station market, Plaintiffs, Defendants,
  20 and other suppliers compete for specific base station projects, sometimes called
  21 “design opportunities.”      For each base station project, the customer holds a
  22 competition among various suppliers. After testing and evaluating each supplier’s
  23 products, the customers selects one or more products to “design-in” to the base station.
  24 If a supplier loses this competition, it is called a “design loss,” and the supplier’s
  25 product is not designed into the base station. If a supplier wins this competition, it is
  26 call a “design win,” and the supplier’s product is designed into the base station. When
  27 the base station goes into production, the supplier makes sales for its products used in
  28 the manufacture of the base station.

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   1         Defendants interrogatory directed to all offers for sale thus would include all
   2 design opportunities for which Plaintiffs competed, including design losses that
   3 ultimately resulted in no actual sale. Interrogatory No. 18 requests information about
   4 offers for sale because business opportunities that Plaintiffs lost are particularly
   5 relevant to Plaintiffs’ lost profits claims. Defendants specifically pointed out that
   6 Interrogatory No. 18 requests detailed information regarding design-ins and other
   7 projects for which Plaintiffs competed, but Plaintiffs provided no such information.
   8 Further, even with respect to the spreadsheets that Plaintiffs identified, Defendants
   9 explained the spreadsheets do not provide all the information that Defendants
  10 requested with respect to the actual sales—the spreadsheets are missing, for example,
  11 sales dates (as opposed to ship dates), discounts and other alternative financial
  12 arrangements, and fixed and variable costs.
  13         On May 14, 2018, Plaintiffs sent a letter in response identifying a specific
  14 report that they produced. Ex. 5, May 14, 2018 letter from Elizabeth Banzhoff to
  15 Josue Caballero.     That report was not actually identified in their interrogatory
  16 response. And even more importantly, while this report provides information about
  17 some offers for sale of the products at issue, Plaintiffs were unwilling to confirm that
  18 it encompassed all such offers. And even as to the design opportunities that are
  19 included, it omits wholesale categories of critical data called for by the interrogatory,
  20 which Plaintiffs’ other documents suggest could easily have been included in the
  21 report.
  22         On May 18, 2018, the parties met and conferred regarding this interrogatory in
  23 accordance with Local Rule 37.1. Defendants explained that the report alone, even if
  24 it had been identified in their interrogatory response rather than merely in their May
  25 14, 2018 letter, did not fully respond to the interrogatory. Defendants also noted the
  26 missing classes of information from Plaintiffs’ spreadsheets and pointed out that some
  27 explanation of the meanings of the columns in the report would likely be required to
  28 fully answer. Plaintiffs stated they would consider supplementing their response to

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   1 include this information.
   2         A week later, Plaintiffs stated that they would “supplement [their] response to
   3 identify this spreadsheet, as well as potentially other documentation under Rule
   4 33(d).” Ex. 6, May 14, 15, and 18, 2018 Meet and Confer email chain, at May 24,
   5 2018 8:32 PM email from Banzhoff to Caballero. But, as Defendants had explained,
   6 the design opportunities report alone is not sufficient to respond to the interrogatory.
   7 Yet Plaintiffs provided no assurances that they would provide anything further, saying
   8 that they would “potentially” include unspecified “other” documentation. The parties
   9 thus reached an impasse. Id. at May 25, 2018 6:09 PM email from Caballero to
  10 Banzhoff.
  11                      b)     Plaintiffs must fully respond to Interrogatory No. 18 by
                                 providing information about offers for sale (such as
  12                             design opportunities) and other categories of
                                 information because Plaintiffs’ other documents reveal
  13                             the existence of such data.
  14         Plaintiffs’ spreadsheets identified in their interrogatory response are limited to
  15 incomplete information about actual sales, but provide no information about offers of
  16 sale, which Interrogatory No. 18 explicitly mentions. Because Plaintiffs’ damages
  17 model involves lost profits, Defendants must know what profits Plaintiffs actually lost
  18 (that is—design opportunities unsuccessfully competed for), but Plaintiffs’
  19 spreadsheets offer only information about actual sales. Unless Plaintiffs describe in
  20 detail their offers for sale (e.g., projects for which they competed, lost, and thus had
  21 no actual sales), Defendants are left without the best evidence of Plaintiffs’ lost
  22 profits—sales that Plaintiffs offered but did not make. Likewise, offers for sale that
  23 have resulted in design wins, but which have not yet materialized into actual sales
  24 bear upon Plaintiffs’ damages claim, which is apparent based on projections of future
  25 revenue streams. Such future revenue would necessary result from accepted offers
  26 for sale, regardless of whether actual sales had yet been made.
  27         On this point, Plaintiffs stated in their May 14, 2018 letter that they provided
  28 “information about design opportunities,” citing to a document from their production.

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   1 Ex. 5, May 14, 2018 letter from Elizabeth Banzhoff to Josue Caballero (citing Ex. 7,
   2 MACOM-INF-090151, Financial Report). As an initial matter, Plaintiffs’ response
   3 to Interrogatory No. 18 speaks nothing of this document. Although Plaintiffs have
   4 now offered to supplement their response to identify this design opportunities report,
   5 that does not resolve the dispute. Ex. 6, May 14, 15, and 18, 2018 Meet and Confer
   6 email chain, at May 24, 2018 8:32 PM email from Banzhoff to Caballero. First and
   7 foremost, Plaintiffs have provided no assurances (and were unwilling to do so during
   8 the meet and confer) that the report contained information about all offers for sale of
   9 the relevant products, as opposed to merely a subset.
  10        Moreover, even if the report detailed all offers for sale, it provides insufficient
  11 information about each to sufficiently respond to the interrogatory, omitting critical
  12 information such as whether the offer for sale resulted in a design win or design loss,
  13 the reason for any loss, and the pricing and other details of the offer. Based on
  14 Plaintiffs’ other documents, it appears that the Salesforce system from which this
  15 report was generated includes other fields that might speak to this information, but
  16 Plaintiffs omitted these fields from the report.        Ex. 7, MACOM-INF-090151,
  17 Financial Report.
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   4                                   At a minimum, because the report omits fields of
   5 pertinent and responsive data tracked by Plaintiffs, Plaintiffs should be required to
   6 generate a new report for all offers to sell the relevant products to basestation
   7 customers that includes all available fields.
   8         Such data is critical to Plaintiffs’ lost profits theory. For example, the reasons
   9 why Plaintiffs lost out on design opportunities (i.e., “Loss/Cancel Reason[s]”) would
  10 shed light on whether such losses are attributable to Defendants’ allegedly wrongful
  11 conduct or to other factors. Interrogatory No. 18 seeks this exact information by
  12 asking “if any offer for sale did not result in a design win or sales or was not otherwise
  13 accepted, the reasons why the offer did not result in a design win or sales or was not
  14 otherwise accepted.” Yet even though Plaintiffs apparently track this data, it is in
  15 neither their response to Interrogatory No. 18 nor the report that they the claim
  16 contains responsive information on design opportunities. Compare Ex. 7, MACOM-
  17 INF-090151, Financial Report, with Ex. 8, MACOM-INF-041699, October 2, 2017
  18 email from Markus Schaefer to numerous MACOM individuals, and Ex. 9, MACOM-
  19 INF-043327, May 26, 2017 email from Markus Schaefer to numerous MACOM
  20 individuals. Plaintiffs must provide a current version of that report that, at the very
  21 least, contains all base station customer opportunities and all available data fields.
  22 Because these reports are likely generated from an existing database, it would not be
  23 burdensome for Plaintiffs to generate a report including all available fields.1 That
  24
  25
             1
              Indeed, the metadata on Ex. 7, MACOM-INF-090151, Financial Report,
  26 indicates that this report was created on March 28, 2018, just before the substantial
  27 completion deadline in this case. Caballero Decl. at ¶ 8. Thus, it is likely that
     Plaintiffs generated this report solely for this litigation and therefore can easily
  28 generate additional reports.

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   1 would be less burdensome than what Plaintiffs have already done, by selectively
   2 deciding what fields to include or exclude.
   3         Finally, Plaintiffs’ summary sales spreadsheets identified in their interrogatory
   4 response and the design opportunities report identified in their May 14, 2018 letter
   5 fail to provide other types of information requested in Interrogatory No. 18. They are
   6 silent on profit and profit margin. In terms of pricing, the spreadsheets provide one
   7 figure for “Net Value in LC,” without mentioning, comparing, or offering the list
   8 price, discount price, rebates, or any other arrangements affecting the value of a
   9 transaction. Plaintiffs omit information on costs, additional offers, counterproposals,
  10 or further negotiations; they omit information on the reasons why design wins or sales
  11 were not accepted; and they omit Bates numbers of bids, proposals, price quotes, or
  12 similar items.
  13         As shown through Plaintiffs’ own documents, Plaintiffs track many of these
  14 data fields, yet they omit them from their response to Interrogatory No. 18 and from
  15 the design opportunities report identified in their letter, which purportedly provides
  16 fully responsive information. And because Plaintiffs’ documents show that Plaintiffs
  17 track these specific types of data fields, the burden of producing responsive answers
  18 containing this data is low—Plaintiffs need only run the same reports discussed in
  19 their internal documents and provide the full report, rather than an arbitrarily limited
  20 version that cloaks the very information Defendants have requested.
  21               2.     Plaintiffs’ Argument
  22         Infineon’s request here is overbroad, compound, and unreasonable. It seeks
  23 entire categories of information that are unlikely to move the needle on any issue in
  24 dispute. MACOM has nonetheless provided all available information to Infineon to
  25 demonstrate each of its sales (and offers for sale). Infineon has not demonstrated why
  26 the information MACOM provided is insufficient for its purposes in this case; it just
  27 summarily claims it is insufficient.
  28

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   1                      a.     Interrogatory No. 18 Is Overbroad And Compound
   2         Interrogatory No. 18 is vastly overbroad and compound.               In a single
   3 interrogatory, Infineon attempts to jam in multiple separate topics.             This is
   4 impermissible. U.S. ex rel. O'Connell v. Chapman Univ., 245 F.R.D. 646, 649 (C.D.
   5 Cal. 2007) (denying motion to compel responses to compound interrogatories);
   6 Withers v. eHarmony, Inc., No. CV 09-2266-GHK(RCX), 2010 WL 11520197, at *3
   7 (C.D. Cal. Apr. 1, 2010) (denying motion to compel where compound interrogatory
   8 included “at least seven ‘discrete subparts’”).
   9         For instance, this single (very long) interrogatory purports to cover in one place
  10 both GaN-on-Si and GaN-on-SiC—two entirely separate product lines. It also seeks
  11 information about every sale, although—as explained in response to Infineon’s first
  12 motion to compel—there are                    separate transactions. For each, Infineon
  13 wants to know not just information about the customer, date, volume, and revenues
  14 of sales, but also information about the costs and profits for each product and sale.
  15 Not only that, it also seeks information about a separate topic: offers to sell that were
  16 unsuccessful. These, of course, raise a completely different set of information and
  17 material and implicate a different set of source data. From the face of the interrogatory
  18 alone, the burdensome nature of this interrogatory is manifest: it is necessarily
  19 burdensome to accumulate the volume of information requested on disparate topics
  20 implicating multiple product lines and different groups of personnel. Shoemake v.
  21 McCormick, Summers & Talarico II, LLC, No. 10-2514-RDR, 2011 WL 5553652, at
  22 *6 (D. Kans. Nov. 15, 2011) (finding request “to be facially overbroad” where it was
  23 “couched in such broad language as to make arduous the task of deciding which of
  24 numerous documents may conceivably fall within its scope”); Linnebur v. United Tel.
  25 Ass’n, No. 10-1379-RDR, 2011 WL 5103300, at *1 (D. Kans. Oct. 27, 2011) (stating
  26 that “if the discovery requests appear facially objectionable in that they are overly
  27 broad or seek information that does not appear relevant, the burden is on the movant
  28 to demonstrate how the requests are not objectionable”); Twigg v. Pilgrim's Pride

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   1 Corp., No. 3:05-CV-40, 2007 WL 676208, at *5 (N.D.W. Va. Mar. 1, 2007) (noting
   2 that where “it is obvious from the wording of the request . . . that discovery is overly
   3 broad and unduly burdensome” a party need not make specific objections to discovery
   4 requests) (citation omitted). Infineon puts too much on one interrogatory.
   5                        b.     Infineon Has Not Justified The Burdensome Discovery
   6                               That It Demands For Offers For Sale By Showing How
                                   They Are Relevant
   7
                Infineon’s showing of supposed relevance for offers for sale misses the mark.
   8
       Infineon’s arguments hopelessly mix up the information that would be relevant to a
   9
       patent infringement claim and the information that is relevant to a breach of contract
  10
       claim.
  11
                In this case, Infineon asserts a claim of patent infringement against MACOM’s
  12
       GaN-on-Si products—a claim which is premised on the argument (an argument now
  13
       rejected by both this Court and the Federal Circuit, Dkt. 140; Ex. 13) that Infineon
  14
       supposedly terminated MACOM’s license, making MACOM’s activities unlicensed.
  15
       Dkt. 454-1 at ¶¶382-402. Infineon also asserts a claim of patent infringement against
  16
       MACOM’s GaN-on-SiC products, based on the argument that they are beyond the
  17
       scope of the license. Id. ¶¶295-381.
  18
                Offers for sale are admittedly relevant to patent infringement claims, because
  19
       35 U.S.C. §271(a) makes offers for sale of a patented invention an infringement.
  20
       But—at Infineon’s instigation—both of Infineon’s patent infringement claims been
  21
       stayed. Dkt. 509. Offers for sale are therefore not the proper subject of discovery at
  22
       this time based on those claims.
  23
                Infineon might theoretically argue that MACOM’s offers for sales of GaN-on-
  24
       SiC products are relevant to its theory that it was justified in purporting to terminate
  25
       MACOM’s license. But, as mentioned above, this Court and the Federal Circuit have
  26
       rejected that argument as a matter of law. Dkt. 140; Ex. 13. That argument can hardly
  27
       justify the relevant discovery therefore.
  28

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   1         It is true that MACOM asserts a claim of breach of contract against Infineon,
   2 but that claim is based on Infineon’s violations of its promises of exclusivity to
   3 MACOM for GaN-on-Si products in certain fields. Dkt. 445 at ¶¶190-201. In other
   4 words, with respect to MACOM’s breach of contract claim, it is Infineon’s conduct
   5 with respect to GaN-on-Si that is at issue, not MACOM’s. Dkt. 445 at ¶¶190-201.
   6         Although Infineon is correct that MACOM seeks lost profits it has suffered due
   7 to Infineon’s breaches, MACOM need not (and does not intend to) prove those lost
   8 profits by itemizing every offer for sale that it has ever made. To the contrary, the
   9 facts that—for instance—market adoption of MACOM’s technology has been
  10 delayed and that customers have told MACOM that they are waiting for Infineon’s
  11 promised competing products can all support MACOM’s claim, regardless of whether
  12 or not MACOM made formal “offers to sell” on particular dates to particular
  13 customers. 25 C.J.S. Damages § 166 (“In order for profits to be recovered as an
  14 element of damages [for breach of contract], there must be reasonable proof of the
  15 amount thereof, and any reasonable method of estimating prospective profit is
  16 acceptable.”). Infineon cites no case for the proposition that MACOM must prove its
  17 damages by proving its offers for sale in a contract case, nor can it.
  18         In short, it is entirely unclear why such extensive discovery into offers for sale
  19 are justified. Infineon has not met its burden on this point.
  20                      c.    MACOM Has Nevertheless Provided Infineon With All
                                Relevant Information Under Rule33(d)
  21
             Notwithstanding the impermissible breadth of Infineon’s interrogatory and the
  22
       lack of relevance, MACOM explicitly pointed under Rule 33(d) to the business
  23
       records it had produced in an effort to answer Infineon’s Interrogatory—not to avoid
  24
       it, as Infineon suggests. O'Connor, 185 F.R.D. at 277.
  25
             First, MACOM produced detailed spreadsheets about its sales of all basestation
  26
       products. These are not “summary spreadsheets,” as Infineon attempts to characterize
  27
       them. Although they do include, as just one component, summary totals, they also
  28

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   1 include backup data, with detailed information such as: the product number and
   2 product line that are the subject of each individual sale; the purchaser’s name; the
   3 location/country where the purchaser is located; the shipment date; the price of the
   4 product sold; an identification of whether the sale was made to a distributor; if so, the
   5 name of the end customer purchasing from the distributor (where that information is
   6 known by MACOM); and the standard cost associated with the product of the sale.
   7 See Dkt. 512-3.
   8        Second, MACOM pointed to a spreadsheet from Salesforce, the customer
   9 relations database computer program that MACOM itself uses to track its GaN design
  10 opportunities with basestation customers. Ex. 7. This spreadsheet contains detailed
  11 information including the identity of the customer for each opportunity listed, a
  12 description of the opportunity, the MACOM part that will be utilized for it, the
  13 projected design win date, projections for sales, and the MACOM’s salesperson
  14 associated with that projects. After Infineon’s complaints that it could not tell which
  15 of the items in this spreadsheet were wins and losses, MACOM even updated this
  16 spreadsheet with an additional column that indicates whether the project is pending,
  17 a win, or a loss. Ex. A. And, as Infineon points out, MACOM produced numerous
  18 other emails and reports that contain design win and loss information—which only
  19 serves to prove that MACOM did provide this information when it is available. E.g.,
  20 Exs. 8-9.
  21        Third, MACOM conducted a reasonable search and produced all of the
  22 communications with basestation customers it located regarding GaN, MACOM,
  23 Infineon, and other topics relevant to this case—communications from which
  24 Infineon can reconstruct the requested offers for sale just as easily as MACOM.
  25 Where the burdens on the plaintiff and the defendant in locating requested information
  26 are equal, then the Federal Rules offer Rule 33(d) as a solution to reduce burden.
  27 Laryngeal Mask Co. v. Ambu A/S, No. 07CV1988-DMS NLS, 2009 WL 9530357, at
  28 *1 (S.D. Cal. Mar. 20, 2009) (noting that Rule 33(d) “provides that a party may

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   1 respond to an interrogatory by designating specific documents when the burden of
   2 ascertaining the answer from the documents is equal for both sides”).
   3          Infineon nevertheless seems to suggest that MACOM’s response is deficient
   4 because it did not provide this information in narrative form. But MACOM should
   5 not be required to create for this litigation a narrative of each of thousands of line
   6 items in spreadsheets and email communications. Infineon’s Interrogatory No. 18 is
   7 precisely the type of interrogatory that can and is routinely answered by way of Rule
   8 33(d). See, e.g., O'Connor v. Boeing N. Am., Inc., 185 F.R.D. 272, 277 (C.D. Cal.
   9 1999) (citing Sable v. Mead Johnson and Co., 110 F.R.D. 553, 556 (D. Mass. 1986)
  10 (one “prerequisite for invoking the Rule 33[(d)] option is that there be a burden on
  11 the interrogated party if it were required to answer the interrogatories in the traditional
  12 manner”).2
  13          In sum, Infineon’s Interrogatory No. 18 is overbroad and compound. Infineon
  14 has shown no legitimate need for the requested information, much less a need for it
  15 in the format requested or a need that would justify the burden imposed by this
  16 request. MACOM has nevertheless pointed Infineon to information that responds to
  17 the interrogatory and which Infineon can analyze to locate for itself the information
  18 it seeks. MACOM therefore respectfully requests that the Court deny Infineon’s
  19 motion with respect to Interrogatory No. 18.
  20          B.    Defendants’ Requests for Production Nos. 108, 109, 111, 112, 115,
                    116, 118, 120, 121, and 127
  21
  22          Below are Defendants’ RFPs 108, 109, 111, 112, 115, 120, 121, and 127 (the

  23 “Prior Art RFPs”), Defendants’ RFPs 116 and 118 (the “Inventor RFPs”), and
  24 Plaintiffs’ responses.
  25
  26   2
           To the extent that MACOM did not originally cite certain of the documents in its
  27       original response, MACOM agreed to supplement its response to Interrogatory
           No. 18 with this information, although Infineon summarily deemed that
  28       unacceptable. Ex. 6 at 1.
                                                 19
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   1              REQUEST FOR PRODUCTION NO. 108
   2                    All documents concerning or constituting Prior Art
   3              to any of the Licensed Patents or any of the Related Patents
                  or Applications, including all Prior Art known to Nitronex
   4              and/or MACOM to the Licensed Patents.
   5
                  RESPONSE TO REQUEST FOR PRODUCTION NO. 108
   6
                         MACOM incorporates the General Objections and
   7              Objections to Definitions and Instructions set forth above.
   8              MACOM objects to the Request as overly broad, unduly
                  burdensome, vague, and ambiguous. MACOM objects to
   9              this Request as duplicative of previous discovery requests
  10              served by Infineon. MACOM objects to the terms
                  “concerning,” “constituting,” “prior art,” “licensed
  11              patents,” “related patents,” “applications,” and “known” as
  12              overly broad, unduly burdensome, vague, and ambiguous.
                  MACOM objects to this Request on the grounds that it fails
  13              to describe the information requested with reasonable
  14              particularity. MACOM objects to the extent this Request
                  seeks information that is not relevant to the subject matter
  15              of this action and/or is not proportional to the needs of the
  16              case. MACOM objects that this Request is not reasonably
                  limited as to time and thus seeks to impose undue burden
  17              on MACOM. MACOM objects to this Request to the extent
  18              this seeks information that is publicly available and/or
                  equally accessible to Defendants. MACOM objects to the
  19              extent this Request calls for expert testimony. MACOM
  20              objects to this Request to the extent it seeks third-party
                  confidential information that MACOM is not permitted to
  21              disclose under applicable protective orders and/or private
  22              agreements. MACOM objects to this Request to the extent
                  it seeks information protected by the attorney-client
  23
                  privilege and/or attorney work product doctrine and/or any
  24              other applicable privilege or immunity.
  25                    Subject to and without waiving the foregoing general
  26              and specific objections, MACOM responds as follows:
                  MACOM incorporates by reference its responses to
  27              Requests for Production Nos. 3, 5, 9, 10, 37, 38, 100, and
  28              101 and Interrogatory Nos. 4 and 7.

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   1              REQUEST FOR PRODUCTION NO. 109
   2                    All documents and communications in which
   3              MACOM, Nitronex, and/or a third party has addressed any
                  alleged Prior Art to one or more of the Licensed Patents.
   4
                  RESPONSE TO REQUEST FOR PRODUCTION NO. 109
   5
   6                     MACOM incorporates the General Objections and
                  Objections to Definitions and Instructions set forth above.
   7              MACOM objects to the Request as overly broad, unduly
   8              burdensome, vague, and ambiguous. MACOM objects to
                  this Request as duplicative of previous discovery requests
   9              served by Infineon. MACOM objects to the terms
  10              “communications,” “a third party,” “addressed,” “alleged
                  Prior Art,” and “Licensed Patents” as overly broad, unduly
  11              burdensome, vague, and ambiguous. MACOM objects to
  12              this Request on the grounds that it fails to describe the
                  information requested with reasonable particularity.
  13              MACOM objects to the extent this Request seeks
  14              information that is not relevant to the subject matter of this
                  action and/or is not proportional to the needs of the case.
  15              MACOM objects that this Request is not reasonably limited
  16              as to time and thus seeks to impose undue burden on
                  MACOM. MACOM objects to this Request to the extent
  17              this seeks information that is publicly available and/or
  18              equally accessible to Defendants. MACOM objects to the
                  extent this Request calls for expert testimony. MACOM
  19              objects to this Request to the extent it seeks third-party
  20              confidential information that MACOM is not permitted to
                  disclose under applicable protective orders and/or private
  21              agreements. MACOM objects to this Request to the extent
  22              it seeks information protected by the attorney-client
                  privilege and/or attorney work product doctrine and/or any
  23
                  other applicable privilege or immunity.
  24
                        Subject to and without waiving the foregoing general
  25              and specific objections, MACOM responds as follows:
  26              MACOM incorporates by reference its responses to
                  Requests for Production Nos. 3, 5, 9, 10, 37, 38, 100, and
  27              101 and Interrogatory Nos. 4 and 7.
  28

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   1              REQUEST FOR PRODUCTION NO. 111
   2                    All documents and communications relating to any
   3              development, use, communication, or sales of any GaN-on-
                  Si or GaN-on-SiC product before the filing date of any of
   4              the Licensed Patents.
   5
                  RESPONSE TO REQUEST FOR PRODUCTION NO. 111
   6
                          MACOM incorporates the General Objections and
   7              Objections to Definitions and Instructions set forth above.
   8              MACOM objects to the Request as overly broad, unduly
                  burdensome, vague, and ambiguous. MACOM objects to
   9              this Request as duplicative of previous discovery requests
  10              served by Infineon. MACOM objects to the terms
                  “communications,” “relating to,” “development,” “use,”
  11              “communication,” “sales,” “product,” “filing date,” and
  12              “Licensed Patents” as overly broad, unduly burdensome,
                  vague, and ambiguous. MACOM objects to this Request on
  13              the grounds that it fails to describe the information
  14              requested with reasonable particularity. MACOM objects to
                  the extent this Request seeks information that is not relevant
  15              to the subject matter of this action and/or is not proportional
  16              to the needs of the case. MACOM objects that this Request
                  is not reasonably limited as to time and thus seeks to impose
  17              undue burden on MACOM. MACOM objects to this
  18              Request to the extent this seeks information that is publicly
                  available and/or equally accessible to Defendants.
  19              MACOM objects to the extent this Request calls for expert
  20              testimony. MACOM objects to this Request to the extent it
                  seeks third-party confidential information that MACOM is
  21              not permitted to disclose under applicable protective orders
  22              and/or private agreements. MACOM objects to this Request
                  to the extent it seeks information protected by the attorney-
  23
                  client privilege and/or attorney work product doctrine
  24              and/or any other applicable privilege or immunity.
  25                    Subject to and without waiving the foregoing general
  26              and specific objections, MACOM responds as follows:
                  MACOM incorporates by reference its responses to
  27              Requests for Production Nos. 3, 5, 9, 10, 37, 38, 100, and
  28              101 and Interrogatory Nos. 4 and 7.

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   1              REQUEST FOR PRODUCTION NO. 112
   2                    All documents concerning the Licensed Patents,
   3              including but not limited to: inventor notebooks, patent
                  prosecution files, invention disclosure forms, minutes from
   4              patent committee meetings, evaluations of the validity or
   5              enforceability of the Licensed Patents, Prior Art to the
                  Licensed Patents and MACOM’s and/or Nitronex’s first
   6              awareness of such Prior Art.
   7
                  RESPONSE TO REQUEST FOR PRODUCTION NO. 112
   8
                          MACOM incorporates the General Objections and
   9              Objections to Definitions and Instructions set forth above.
  10              MACOM objects to the Request as overly broad, unduly
                  burdensome, vague, and ambiguous. MACOM objects to
  11              this Request as duplicative of previous discovery requests
  12              served by Infineon. MACOM objects to the terms
                  “concerning,” “Licensed Patents,” “inventor notebooks,”
  13              “patent prosecution files,” “invention disclosure forms,”
  14              “minutes from patent committee meetings,” “prior art,” and
                  “first awareness” as overly broad, unduly burdensome,
  15              vague, and ambiguous. MACOM objects to this Request on
  16              the grounds that it fails to describe the information
                  requested with reasonable particularity. MACOM objects to
  17              the extent this Request seeks information that is not relevant
  18              to the subject matter of this action and/or is not proportional
                  to the needs of the case. MACOM objects that this Request
  19              is not reasonably limited as to time and thus seeks to impose
  20              undue burden on MACOM. MACOM objects to this
                  Request to the extent this seeks information that is publicly
  21              available and/or equally accessible to Defendants.
  22              MACOM objects to the extent this Request calls for expert
                  testimony. MACOM objects to this Request to the extent it
  23
                  seeks third-party confidential information that MACOM is
  24              not permitted to disclose under applicable protective orders
                  and/or private agreements. MACOM objects to this Request
  25
                  to the extent it seeks information protected by the attorney-
  26              client privilege and/or attorney work product doctrine
                  and/or any other applicable privilege or immunity.
  27
  28

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   1                    Subject to and without waiving the foregoing general
                  and specific objections, MACOM responds as follows:
   2
                  MACOM incorporates by reference its responses to
   3              Requests for Production Nos. 3, 5, 9, 10, 37, 38, 100, and
                  101 and Interrogatory Nos. 4, 7, and 8.
   4
   5              REQUEST FOR PRODUCTION NO. 115
   6                     All documents related to patents, publications,
                  abstracts, papers, articles, presentations or speeches
   7
                  invented, authored or given, in whole or in part, by any of
   8              the inventors of the Licensed Patents concerning the subject
   9              matter of any of the Licensed Patents.

  10              RESPONSE TO REQUEST FOR PRODUCTION NO. 115
  11                      MACOM incorporates the General Objections and
  12              Objections to Definitions and Instructions set forth above.
                  MACOM objects to the Request as overly broad, unduly
  13              burdensome, vague, and ambiguous. MACOM objects to
  14              this Request as duplicative of previous discovery requests
                  served by Infineon. MACOM objects to the terms “related
  15              to,” “patents,” “publications,” “abstracts,” “papers,”
  16              “articles,” “presentations,” “speeches,” “invented,”
                  “authored,” “given,” “inventors,” “subject matter,” and
  17              “Licensed Patents” as overly broad, unduly burdensome,
  18              vague, and ambiguous. MACOM objects to this Request on
                  the grounds that it fails to describe the information
  19              requested with reasonable particularity. MACOM objects to
  20              the extent this Request seeks information that is not relevant
                  to the subject matter of this action and/or is not proportional
  21              to the needs of the case. MACOM objects that this Request
  22              is not reasonably limited as to time and thus seeks to impose
                  undue burden on MACOM. MACOM objects to this
  23              Request to the extent this seeks information that is publicly
  24              available and/or equally accessible to Defendants.
                  MACOM objects to this Request to the extent it seeks third-
  25              party confidential information that MACOM is not
  26              permitted to disclose under applicable protective orders
                  and/or private agreements. MACOM objects to this Request
  27              to the extent it seeks information protected by the attorney-
  28

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   1              client privilege and/or attorney work product doctrine
                  and/or any other applicable privilege or immunity.
   2
   3                    Subject to and without waiving the foregoing general
                  and specific objections, MACOM responds as follows:
   4              MACOM incorporates by reference its responses to
   5              Requests for Production Nos. 3, 5, 9, 10, 37, 38, 100, and
                  101 and Interrogatory Nos. 4 and 7.
   6
                  REQUEST FOR PRODUCTION NO. 116
   7
   8                     All documents regarding prior testimony of any of
                  the inventors of the Licensed Patents in the context of any
   9              adversarial proceeding in the United States or in any other
  10              country.
  11              RESPONSE TO REQUEST FOR PRODUCTION NO. 116
  12                    MACOM incorporates the General Objections and
  13              Objections to Definitions and Instructions set forth above.
                  MACOM objects to the Request as overly broad, unduly
  14              burdensome, vague, and ambiguous. MACOM objects to
  15              this Request as duplicative of previous discovery requests
                  served by Infineon. MACOM objects to the terms “prior
  16              testimony,” “inventors,” “Licensed Patents,” and
  17              “adversarial proceeding” as overly broad, unduly
                  burdensome, vague, and ambiguous.
  18
  19                     MACOM objects to this Request on the grounds that
                  it fails to describe the information requested with
  20              reasonable particularity. MACOM objects to the extent this
  21              Request seeks information that is not relevant to the subject
                  matter of this action and/or is not proportional to the needs
  22              of the case. MACOM objects that this Request is not
  23              reasonably limited as to time and thus seeks to impose
                  undue burden on MACOM. MACOM objects to this
  24              Request to the extent this seeks information that is publicly
  25              available and/or equally accessible to Defendants.
                  MACOM objects to this Request to the extent it seeks third-
  26              party confidential information that MACOM is not
  27              permitted to disclose under applicable protective orders
                  and/or private agreements. MACOM objects to this Request
  28              to the extent it seeks information protected by the attorney-

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   1              client privilege and/or attorney work product doctrine
                  and/or any other applicable privilege or immunity.
   2
   3                    Subject to and without waiving the foregoing general
                  and specific objections, MACOM responds as follows: This
   4              Request calls for public information that is equally
   5              available to Defendants. MACOM will not undertake a
                  search in response to this Request.
   6
                  REQUEST FOR PRODUCTION NO. 118
   7
   8                    All communications between one or more of
                  MACOM and Nitronex and any of the named inventors of
   9              the Licensed Patents.
  10
                  RESPONSE TO REQUEST FOR PRODUCTION NO. 118
  11
                         MACOM incorporates the General Objections and
  12              Objections to Definitions and Instructions set forth above.
  13              MACOM objects to the Request as overly broad, unduly
                  burdensome, vague, and ambiguous. MACOM objects to
  14              this Request as duplicative of previous discovery requests
  15              served by Infineon. MACOM objects to the terms
                  “communications,” “inventors,” and “Licensed Patents” as
  16              overly broad, unduly burdensome, vague, and ambiguous.
  17              MACOM objects to this Request on the grounds that it fails
                  to describe the information requested with reasonable
  18              particularity. MACOM objects to the extent this Request
  19              seeks information that is not relevant to the subject matter
                  of this action and/or is not proportional to the needs of the
  20              case. MACOM objects that this Request is not reasonably
  21              limited as to time and thus seeks to impose undue burden
                  on MACOM. MACOM objects to this Request to the extent
  22              it seeks third-party confidential information that MACOM
  23              is not permitted to disclose under applicable protective
                  orders and/or private agreements. MACOM objects to this
  24
                  Request to the extent it seeks information protected by the
  25              attorney-client privilege and/or attorney work product
                  doctrine and/or any other applicable privilege or immunity.
  26
  27                    Subject to and without waiving the foregoing general
                  and specific objections, MACOM responds as follows: This
  28              Request is overbroad and disproportionate to the needs of

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   1              the case. MACOM is willing to meet and confer with
                  Defendants regarding this Request, if they are willing to
   2
                  narrow it so that it targets issues relevant to this case.
   3
                  REQUEST FOR PRODUCTION NO. 120
   4
                          For each of the Licensed Patents, all documents
   5
                  concerning any public use in the United States, offer for sale
   6              or first sale in the United States, or public disclosure of any
                  of the subject matter described or claimed in the patent
   7
                  before the filing date of the application for the patent in the
   8              United States.
   9              RESPONSE TO REQUEST FOR PRODUCTION NO. 120
  10
                         MACOM incorporates the General Objections and
  11              Objections to Definitions and Instructions set forth above.
  12              MACOM objects to the Request as overly broad, unduly
                  burdensome, vague, and ambiguous. MACOM objects to
  13              this Request as duplicative of previous discovery requests
  14              served by Infineon. MACOM objects to the terms
                  “concerning,” “public use,” “offer for sale,” “first sale,”
  15              “public disclosure,” “subject matter,” “described,”
  16              “claimed,” and “Licensed Patents” as overly broad, unduly
                  burdensome, vague, and ambiguous. MACOM objects to
  17              the extent this Request calls for legal conclusions. MACOM
  18              objects to this Request on the grounds that it fails to
                  describe the information requested with reasonable
  19              particularity. MACOM objects to the extent this Request
  20              seeks information that is not relevant to the subject matter
                  of this action and/or is not proportional to the needs of the
  21              case. MACOM objects that this Request is not reasonably
  22              limited as to time and thus seeks to impose undue burden
                  on MACOM. MACOM objects to this Request to the extent
  23              this seeks information that is publicly available and/or
  24              equally accessible to Defendants. MACOM objects to this
                  Request to the extent it seeks third-party confidential
  25              information that MACOM is not permitted to disclose
  26              under applicable protective orders and/or private
                  agreements. MACOM objects to this Request to the extent
  27              it seeks information protected by the attorney-client
  28

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   1              privilege and/or attorney work product doctrine and/or any
                  other applicable privilege or immunity.
   2
   3                    Subject to and without waiving the foregoing general
                  and specific objections, MACOM responds as follows:
   4              MACOM incorporates by reference its responses to
   5              Requests for Production Nos. 3, 5, 9, 10, 37, 38, 100, and
                  101 and Interrogatory Nos. 4 and 7.
   6
                  REQUEST FOR PRODUCTION NO. 121
   7
   8                    All documents that show any modes contemplated by
                  any of the inventors for carrying out each invention claimed
   9              in each of the Licensed Patents, including the best mode of
  10              carrying out the invention(s) claimed in each of the
                  Licensed Patents or Related Patents or Applications (as the
  11              phrase “best mode”) is used in 35 U.S.C. § 112, ¶ 1).
  12
                  RESPONSE TO REQUEST FOR PRODUCTION NO. 121
  13
                          MACOM incorporates the General Objections and
  14              Objections to Definitions and Instructions set forth above.
  15              MACOM objects to the Request as overly broad, unduly
                  burdensome, vague, and ambiguous. MACOM objects to
  16              this Request as duplicative of previous discovery requests
  17              served by Infineon. MACOM objects to the terms “show,”
                  “modes,” “contemplated,” “inventors,” “carrying out,”
  18              “invention,” “Licensed Patents,” and “Related Patents or
  19              Applications” as overly broad, unduly burdensome, vague,
                  and ambiguous. MACOM objects to the extent this Request
  20              calls for legal conclusions. MACOM objects to this Request
  21              on the grounds that it fails to describe the information
                  requested with reasonable particularity. MACOM objects to
  22              the extent this Request seeks information that is not relevant
  23              to the subject matter of this action and/or is not proportional
                  to the needs of the case. MACOM objects that this Request
  24
                  is not reasonably limited as to time and thus seeks to impose
  25              undue burden on MACOM. MACOM objects to this
                  Request to the extent this seeks information that is publicly
  26
                  available and/or equally accessible to Defendants.
  27              MACOM objects to this Request to the extent it seeks third-
                  party confidential information that MACOM is not
  28

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   1              permitted to disclose under applicable protective orders
                  and/or private agreements. MACOM objects to this Request
   2
                  to the extent it seeks information protected by the attorney-
   3              client privilege and/or attorney work product doctrine
                  and/or any other applicable privilege or immunity.
   4
   5                    Subject to and without waiving the foregoing general
                  and specific objections, MACOM responds as follows:
   6              MACOM incorporates by reference its responses to
   7              Requests for Production Nos. 3, 5, 9, 10, 37, 38, 100, and
                  101 and Interrogatory Nos. 4 and 7.
   8
   9              REQUEST FOR PRODUCTION NO. 127

  10                    All documents concerning any search requested or
                  performed for prior art to any Licensed Patent or any of the
  11              Related Patents or Applications.
  12
                  RESPONSE TO REQUEST FOR PRODUCTION NO. 127
  13
                          MACOM incorporates the General Objections and
  14              Objections to Definitions and Instructions set forth above.
  15              MACOM objects to the Request as overly broad, unduly
                  burdensome, vague, and ambiguous. MACOM objects that
  16              this Request is duplicative of previous discovery requests
  17              served by Infineon. MACOM objects to the terms
                  “concerning,” “search,” “requested,” “prior art,” “Licensed
  18              Patent,” and “Related Patents or Applications” as overly
  19              broad, unduly burdensome, vague, and ambiguous.
                  MACOM objects to the extent this Request calls for legal
  20              conclusions. MACOM objects to this Request on the
  21              grounds that it fails to describe the information requested
                  with reasonable particularity. MACOM objects to the
  22              extent this Request seeks information that is not relevant to
  23              the subject matter of this action and/or is not proportional
                  to the needs of the case. MACOM objects that this Request
  24
                  is not reasonably limited as to time and thus seeks to impose
  25              undue burden on MACOM. MACOM objects to this
                  Request to the extent it seeks third-party confidential
  26
                  information that MACOM is not permitted to disclose
  27              under applicable protective orders and/or private
                  agreements. MACOM objects to this Request to the extent
  28

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   1                it seeks information protected by the attorney-client
                    privilege and/or attorney work product doctrine and/or any
   2
                    other applicable privilege or immunity.
   3
                          Subject to and without waiving the foregoing general
   4                and specific objections, MACOM responds as follows:
   5                MACOM incorporates by reference its responses to
                    Requests for Production Nos. 3, 5, 9, 10, 37, 38, 100, and
   6                101 and Interrogatory Nos. 4 and 7.
   7
             Below are Defendants’ RFPs 3, 5, 9, 10, 37, 38, 100, and 101, and
   8
       Interrogatories Nos. 4, 7, and 8, and Plaintiffs’ responses, which Plaintiffs incorporate
   9
       by reference into their responses to the Prior Art RFPs. Also reproduced below are
  10
       Defendants’ RFPs 11, 12, and 16, and Plaintiffs’ responses, which Plaintiffs
  11
       incorporate by reference into their response to RFP 10.
  12
                    REQUEST FOR PRODUCTION NO. 3
  13
  14                        Documents sufficient to show the current and past
                    ownership, assignment, purchase, and any other transfer of
  15                rights related to the “Purchased Patents” including any
  16                ownership, assignments, purchase, and any other transfer of
                    rights to and from MACOM or between any entities
  17                affiliated with MACOM.
  18
                    RESPONSE TO REQUEST FOR PRODUCTION NO. 3
  19
                           MACOM incorporates the General Objections and
  20                Objections to Definitions and Instructions set forth above.
  21                MACOM objects to the Request as overly broad, unduly
                    burdensome, vague, and ambiguous. MACOM objects to
  22                the terms “ownership,” “assignment,” “purchase,” “transfer
  23                of rights,” “related to,” “Purchased Patents,” and
                    “affiliated” as overly broad, unduly burdensome, vague,
  24                and ambiguous. MACOM objects to this Request on the
  25                grounds that it fails to describe the information requested
                    with reasonable particularity. MACOM objects to the
  26                extent this Request seeks information in Defendants’
  27                possession and/or that is publicly available. MACOM
                    objects to the extent this Request seeks information that is
  28                not relevant to the subject matter of this action and/or is not
                                                  30
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   1              proportional to the needs of the case. MACOM objects that
                  this Request is not reasonably limited as to time and thus
   2
                  seeks to impose undue burden on MACOM. MACOM
   3              objects to this Request to the extent it seeks third-party
                  confidential information that MACOM is not permitted to
   4
                  disclose under applicable protective orders and/or private
   5              agreements. MACOM objects to this Request to the extent
                  it seeks information protected by the attorney-client
   6
                  privilege and/or attorney work product doctrine and/or any
   7              other applicable privilege or immunity.
   8                     Subject to and without waiving the foregoing general
   9              and specific objections, MACOM responds as follows: The
                  assignment records for the Nitronex Patents at issue in this
  10              case are of public record. Further, Defendants—not
  11              MACOM—have possession and control over information
                  related to the ownership of the Nitronex Patents since 2010.
  12              MACOM will produce the 2010 IP Purchase Agreement
  13              that details the assignment of the Nitronex Patents from
                  Nitronex to International Rectifier. Additionally, MACOM
  14              will produce any intracompany sublicenses or other
  15              transfers of rights relating to its own license rights in the
                  Nitronex Patents. MACOM also incorporates by reference
  16              its responses to Request Nos. 5, 9, 10, 37, 38, 100, and 101.
  17              Negotiations with Defendants are ongoing as to the timing
                  of document productions.
  18
  19              REQUEST FOR PRODUCTION NO. 5

  20                     Documents sufficient to show which entities have
                  control, ownership, or license of any rights under the
  21              “Purchased Patents,” including any ownership, assignment
  22              of rights, or licenses held by MACOM or any affiliated
                  entities.
  23
  24              RESPONSE TO REQUEST FOR PRODUCTION NO. 5

  25                    MACOM incorporates the General Objections and
                  Objections to Definitions and Instructions set forth above.
  26
                  MACOM objects to the Request as overly broad, unduly
  27              burdensome, vague, and ambiguous. MACOM objects to
                  the terms “control,” “ownership,” “license,” “rights,”
  28

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   1              “Purchased Patents,” and “affiliated entities” as overly
                  broad, unduly burdensome, vague, and ambiguous.
   2
                  MACOM objects to this Request on the grounds that it fails
   3              to describe the information requested with reasonable
                  particularity. MACOM objects to the extent this Request
   4
                  seeks information in Defendants’ possession and/or that is
   5              publicly available. MACOM objects to the extent this
                  Request seeks information that is not relevant to the subject
   6
                  matter of this action and/or is not proportional to the needs
   7              of the case. MACOM objects that this Request is not
   8              reasonably limited as to time and thus seeks to impose
                  undue burden on MACOM. MACOM objects to this
   9              Request to the extent it seeks third-party confidential
  10              information that MACOM is not permitted to disclose
                  under applicable protective orders and/or private
  11              agreements. MACOM objects to this Request to the extent
  12              it seeks information protected by the attorney-client
                  privilege and/or attorney work product doctrine and/or any
  13              other applicable privilege or immunity.
  14                     Subject to and without waiving the foregoing general
  15              and specific objections, MACOM responds as follows: The
                  assignment records for the Nitronex Patents at issue in this
  16              case are of public record. Further, Defendants—not
  17              MACOM—have possession and control over information
                  related to the ownership of the Nitronex Patents since 2010.
  18              MACOM will produce the 2010 IP Purchase Agreement
  19              that details the assignment of the Nitronex Patents from
                  Nitronex to International Rectifier. Additionally, MACOM
  20              will produce any intracompany sublicenses or other
  21              transfers of rights relating to its own license rights in the
                  Nitronex Patents. MACOM also incorporates by reference
  22
                  its responses to Request Nos. 3, 9, 10, 37, 38, 100, and 101.
  23              Negotiations with Defendants are ongoing as to the timing
                  of document productions.
  24
  25              REQUEST FOR PRODUCTION NO. 9

  26                    All documents concerning any agreements,
                  purchases, transfers of intellectual property rights, or
  27
                  contracts, between any of two or more of the following:
  28

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   1              Plaintiffs, Defendants, MACOM, Nitronex Corporation,
                  GaAs Labs, International Rectifier, including but limited to:
   2
   3                    (a) agreements between Nitronex Corporation and
                        International Rectifier;
   4
                        (b) agreements between Nitronex Corporation and
   5
                        MACOM;
   6
                        (c) agreements between Nitronex Corporation and
   7                    GaAs Labs; and
   8
                        (d) agreements between Nitronex Corporation and
   9                    Nitronex, LLC.
  10              RESPONSE TO REQUEST FOR PRODUCTION NO. 9
  11
                         MACOM incorporates the General Objections and
  12              Objections to Definitions and Instructions set forth above.
  13              MACOM objects to the Request as overly broad, unduly
                  burdensome, vague, and ambiguous. MACOM objects to
  14              the terms “agreements,” “purchases,” “transfers,”
  15              “intellectual property rights,” and “contracts” as overly
                  broad, unduly burdensome, vague, and ambiguous.
  16              MACOM objects to this Request on the grounds that it fails
  17              to describe the information requested with reasonable
                  particularity. MACOM objects to the extent this Request
  18              seeks information in Defendants’ possession. MACOM
  19              objects to the extent this Request seeks information that is
                  not relevant to the subject matter of this action and/or is not
  20              proportional to the needs of the case. MACOM objects that
  21              this Request is not reasonably limited as to time and thus
                  seeks to impose undue burden on MACOM. MACOM
  22              objects to this Request to the extent it seeks information
  23              protected by the attorney-client privilege and/or attorney
                  work product doctrine and/or any other applicable privilege
  24              or immunity.
  25
                        Subject to and without waiving the foregoing general
  26              and specific objections, MACOM responds as follows: The
                  assignment records for the Nitronex Patents at issue in this
  27
                  case are of public record. Further, Defendants—not
  28              MACOM—have possession and control over information

                                                33
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   1              related to the ownership of the Nitronex Patents since 2010.
                  MACOM will produce the 2010 IP Purchase Agreement
   2
                  that details the assignment of the Nitronex Patents from
   3              Nitronex to International Rectifier. Additionally, MACOM
                  will produce any intracompany sublicenses or other
   4
                  transfers of rights relating to its own license rights in the
   5              Nitronex Patents, as well as the Membership Purchase
                  Agreement, dated February 13, 2014, relating to
   6
                  MACOM’s acquisition of Nitronex. MACOM also
   7              incorporates by reference its responses to Request Nos. 3,
   8              5, 10, 100, and 101. Negotiations with Defendants are
                  ongoing as to the timing of document productions.
   9
                  REQUEST FOR PRODUCTION NO. 10
  10
  11                     All documents concerning the 2010 IP Purchase
                  Agreement, the 2010 License Agreement, the Common
  12              Interest Agreement, the 2004 License Agreement, and the
  13              Technology Transfer Agreement.

  14              RESPONSE TO REQUEST FOR PRODUCTION NO. 10
  15                      MACOM incorporates the General Objections and
  16              Objections to Definitions and Instructions set forth above.
                  MACOM objects to the Request as overly broad, unduly
  17              burdensome, vague, and ambiguous. MACOM objects to
  18              this Request as compound. MACOM objects to the terms
                  “concerning,” “Common Interest Agreement,” and
  19              “Technology Transfer Agreement” as overly broad, unduly
  20              burdensome, vague, and ambiguous. MACOM objects to
                  this Request on the grounds that it fails to describe the
  21              information requested with reasonable particularity.
  22              MACOM objects to the extent this Request seeks
                  information in Defendants’ possession. MACOM objects to
  23              the extent this Request seeks information that is not relevant
  24              to the subject matter of this action and/or is not proportional
                  to the needs of the case. MACOM objects that this Request
  25              is not reasonably limited as to time and thus seeks to impose
  26              undue burden on MACOM. MACOM objects to this
                  Request to the extent it seeks information protected by the
  27              attorney-client privilege and/or attorney work product
  28              doctrine and/or any other applicable privilege or immunity.

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   1                     Subject to and without waiving the foregoing general
                  and specific objections, MACOM responds as follows:
   2
                  MACOM will produce the 2010 IP Purchase Agreement,
   3              2010 License Agreement, Common Interest Agreement,
                  2004 License Agreement, and Technology Transfer
   4
                  Agreement. Additionally, MACOM will produce
   5              responsive, non-privileged documents relating to the
                  negotiation, execution, and performance of the 2010 IP
   6
                  Purchase Agreement, 2010 License Agreement, Common
   7              Interest Agreement, 2004 License Agreement, and
   8              Technology Transfer Agreement, to the extent they exist
                  and can be located upon a reasonable search. MACOM also
   9              incorporates by reference its responses to RFP Nos. 3, 5, 9,
  10              11, 12, 16, 37, 38, 100, and 101. Negotiations with
                  Defendants are ongoing as to the timing of document
  11              productions.
  12              REQUEST FOR PRODUCTION NO. 11
  13
                         All documents (whether internal or external)
  14              concerning any analysis, negotiation, or communication by
  15              MACOM in forming, negotiating, drafting, or analyzing the
                  2010 License Agreement, the 2010 IP Purchase Agreement,
  16              the Common Interest Agreement, the 2004 License
  17              Agreement, and the Technology Transfer Agreement,
                  including any analysis or discussion of language included,
  18              inserted, deleted, omitted, edited, in the 2010 License
  19              Agreement, the 2010 IP Purchase Agreement, and the
                  Common Interest Agreement.
  20
                  RESPONSE TO REQUEST FOR PRODUCTION NO. 11
  21
  22                     MACOM incorporates the General Objections and
                  Objections to Definitions and Instructions set forth above.
  23              MACOM objects to the Request as overly broad, unduly
  24              burdensome, vague, and ambiguous. MACOM objects to
                  this Request as compound. MACOM objects to the terms
  25              “internal,”   “external,”    “analysis,”     “negotiation,”
  26              “communication,” “forming,” “negotiating,” “drafting,”
                  “analyzing,” “inserted,” “omitted,” and “edited” as overly
  27              broad, unduly burdensome, vague, and ambiguous.
  28              MACOM objects to this Request on the grounds that it fails

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   1              to describe the information requested with reasonable
                  particularity. MACOM objects to the extent this Request
   2
                  seeks information in Defendants’ possession. MACOM
   3              objects to the extent this Request seeks information that is
                  not relevant to the subject matter of this action and/or is not
   4
                  proportional to the needs of the case. MACOM objects that
   5              this Request is not reasonably limited as to time and thus
                  seeks to impose undue burden on MACOM. MACOM
   6
                  objects to this Request to the extent it seeks information
   7              protected by the attorney-client privilege and/or attorney
   8              work product doctrine and/or any other applicable privilege
                  or immunity.
   9
                         Subject to and without waiving the foregoing general
  10              and specific objections, MACOM responds as follows:
  11              MACOM will produce the 2010 IP Purchase Agreement,
                  2010 License Agreement, Common Interest Agreement,
  12              2004 License Agreement, and Technology Transfer
  13              Agreement. Additionally, MACOM will produce
                  responsive, non-privileged documents relating to the
  14              negotiation, execution, and performance of the 2010 IP
  15              Purchase Agreement, 2010 License Agreement, Common
                  Interest Agreement, 2004 License Agreement, and
  16              Technology Transfer Agreement, including any non-
  17              privileged analysis or discussion of language included,
                  inserted, deleted, omitted, or edited in the 2010 License
  18              Agreement, the 2010 IP Purchase Agreement, and the
  19              Common Interest Agreement, to the extent such documents
                  exist and can be located upon a reasonable search. MACOM
  20              also incorporates by reference its responses to RFP Nos. 10,
  21              16, and 37. Negotiations with Defendants are ongoing as to
                  the timing of document productions.
  22
  23              REQUEST FOR PRODUCTION NO. 12

  24                     All communications between Nitronex Corporation
                  and International Rectifier concerning the 2010 License
  25
                  Agreement, the 2010 IP Purchase Agreement, the Common
  26              Interest Agreement, the 2004 License Agreement, and the
                  Technology Transfer Agreement.
  27
  28              RESPONSE TO REQUEST FOR PRODUCTION NO. 12

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   1                     MACOM incorporates the General Objections and
                  Objections to Definitions and Instructions set forth above.
   2
                  MACOM objects to the Request as overly broad, unduly
   3              burdensome, vague, and ambiguous. MACOM objects to
                  this Request as compound. MACOM objects to the terms
   4
                  “communications,” “concerning,” and “Technology
   5              Transfer Agreement” as overly broad, unduly burdensome,
                  vague, and ambiguous. MACOM objects to this Request on
   6
                  the grounds that it fails to describe the information
   7              requested with reasonable particularity. MACOM objects to
   8              the extent this Request seeks information in Defendants’
                  possession. MACOM objects to the extent this Request
   9              seeks information that is not relevant to the subject matter
  10              of this action and/or is not proportional to the needs of the
                  case. MACOM objects that this Request is not reasonably
  11              limited as to time and thus seeks to impose undue burden
  12              on MACOM. MACOM objects to this Request to the extent
                  it seeks information protected by the attorney-client
  13              privilege and/or attorney work product doctrine and/or any
  14              other applicable privilege or immunity.

  15                    Subject to and without waiving the foregoing general
                  and specific objections, MACOM responds as follows:
  16              MACOM will produce responsive, non-privileged
  17              documents to the extent they exist and can be located upon
                  a reasonable search. Negotiations with Defendants are
  18              ongoing as to the timing of document productions.
  19
                  REQUEST FOR PRODUCTION NO. 16
  20
                         All documents concerning any analysis, negotiation,
  21              or communication by Nitronex Corporation or its affiliated
  22              entities in forming, negotiating, drafting, or analyzing the
                  2004 License Agreement and the Technology Transfer
  23
                  Agreement, including any analysis or discussion of
  24              language included, inserted, deleted, omitted, edited, in the
                  2004 License Agreement and the Technology Transfer
  25
                  Agreement.
  26
                  RESPONSE TO REQUEST FOR PRODUCTION NO. 16
  27
  28

                                               37
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   1                     MACOM incorporates the General Objections and
                  Objections to Definitions and Instructions set forth above.
   2
                  MACOM objects to the Request as overly broad, unduly
   3              burdensome, vague, and ambiguous. MACOM objects to
                  the terms “analysis,” “negotiation,” “communication,”
   4
                  “affiliated entities,” “forming,” “negotiating,” “drafting,”
   5              “analyzing,” “inserted,” “deleted,” “omitted,” and “edited”
                  as overly broad, unduly burdensome, vague, and
   6
                  ambiguous. MACOM objects to the extent this Request
   7              seeks information in Defendants’ possession. MACOM
   8              objects to this Request on the grounds that it fails to
                  describe the information requested with reasonable
   9              particularity. MACOM objects to the extent this Request
  10              seeks information that is not relevant to the subject matter
                  of this action and/or is not proportional to the needs of the
  11              case. MACOM objects that this Request is not reasonably
  12              limited as to time and thus seeks to impose undue burden
                  on MACOM. MACOM objects to this Request to the extent
  13              it seeks information protected by the attorney-client
  14              privilege and/or attorney work product doctrine and/or any
                  other applicable privilege or immunity.
  15
                        Subject to and without waiving the foregoing general
  16              and specific objections, MACOM responds as follows:
  17              MACOM will produce responsive, non-privileged
                  documents regarding the negotiation of the 2004 License
  18              Agreement and the Technology Transfer Agreement
  19              between IR and Nitronex, to the extent they exist and can
                  be located upon a reasonable search. MACOM also
  20              incorporates by reference its responses to RFP Nos. 9, 10-
  21              12, 37, 100, and 101. Negotiations with Defendants are
                  ongoing as to the timing of document productions.
  22
  23              REQUEST FOR PRODUCTION NO. 37

  24                    All documents concerning the 2010 License
                  Agreement, the 2010 IP Purchase Agreement, and the
  25
                  Common Interest agreement during the period following
  26              Infineon AG’s acquisition of International Rectifier in
                  2015, including letters concerning the April 1st, 2014
  27
                  MACOM press release related to GaN-on-Si wafers.
  28

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   1              RESPONSE TO REQUEST FOR PRODUCTION NO. 37
   2                     MACOM incorporates the General Objections and
   3              Objections to Definitions and Instructions set forth above.
                  MACOM objects to the Request as overly broad, unduly
   4              burdensome, vague, ambiguous, and unintelligible.
   5              MACOM objects to the terms “concerning,” “April 1st,
                  2014 MACOM press release,” and “related to” as overly
   6              broad, unduly burdensome, vague, and ambiguous.
   7              MACOM objects to this Request on the grounds that it fails
                  to describe the information requested with reasonable
   8              particularity. MACOM objects to the extent this Request
   9              seeks information in Defendants’ possession. MACOM
                  objects to the extent this Request seeks information that is
  10              not relevant to the subject matter of this action and/or is not
  11              proportional to the needs of the case. MACOM objects that
                  this Request is not reasonably limited as to time and thus
  12              seeks to impose undue burden on MACOM. MACOM
  13              objects to this Request to the extent it seeks information
                  protected by the attorney-client privilege and/or attorney
  14              work product doctrine and/or any other applicable privilege
  15              or immunity.
  16                     Subject to and without waiving the foregoing general
  17              and specific objections, MACOM responds as follows:
                  MACOM does not understand what “April 1, 2014” press
  18              release is referenced in this Request, but assumes that
  19              Infineon meant to reference a March 31, 2014 MACOM
                  press release. As best as MACOM can understand, given
  20              both its language and its overlap with other similar
  21              Requests, this specific Request must seek MACOM’s
                  communications with Defendants regarding that March 31,
  22              2014 press release. Based on that understanding, MACOM
  23              will produce responsive, non-privileged documents, to the
                  extent they exist and can be located upon a reasonable
  24              search. MACOM also incorporates by reference its
  25              responses to RFP Nos. 3, 5, 9, 10, 100, and 101.
                  Negotiations with Defendants are ongoing as to the timing
  26              of document productions.
  27
  28

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   1              REQUEST FOR PRODUCTION NO. 383
   2                     All documents concerning MACOM’s contracts,
   3              agreements, licenses, and technology transfers to third
                  parties related to the “Purchased Patents” and intellectual
   4              property related to GaN-on-Si and GaN-on-SiC technology.
   5
                  RESPONSE TO REQUEST FOR PRODUCTION NO. 38
   6
                          MACOM incorporates the General Objections and
   7              Objections to Definitions and Instructions set forth above.
   8              MACOM objects to the Request as overly broad, unduly
                  burdensome, vague, and ambiguous. MACOM objects to
   9              the terms “concerning,” “contracts,” “agreements,”
  10              “licenses,” “technology transfers,” “third parties,” “related
                  to,” “Purchased Patents,” “intellectual property,” and
  11              “technology” as overly broad, unduly burdensome, vague,
  12              and ambiguous. MACOM objects to this Request on the
                  grounds that it fails to describe the information requested
  13              with reasonable particularity. MACOM objects to the
  14              extent this Request seeks information that is not relevant to
                  the subject matter of this action and/or is not proportional
  15              to the needs of the case. MACOM objects that this Request
  16              is not reasonably limited as to time and thus seeks to impose
                  undue burden on MACOM. MACOM objects to this
  17              Request to the extent it seeks information protected by the
  18              attorney-client privilege and/or attorney work product
                  doctrine and/or any other applicable privilege or immunity.
  19
  20                     Subject to and without waiving the foregoing general
                  and specific objections, MACOM responds as follows:
  21              MACOM will produce responsive, non-privileged license
  22              agreements in its possession related to the Nitronex Patents,
                  to the extent they exist and can be located upon a reasonable
  23              search. Negotiations with Defendants are ongoing as to the
  24              timing of document productions.

  25              REQUEST FOR PRODUCTION NO. 100
  26
            3
  27          Defendants are moving to compel a response to RFP 38, which is discussed
     in full below. This RFP and Plaintiffs’ response are reproduced here for convenience
  28 and are also reproduced below.

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   1                     All communications concerning Nitronex’s licensing
                  of its intellectual property, including communications to
   2
                  International Rectifier and communications to third-parties
   3              regarding potential or consummated licenses of one or more
                  of the Purchased Patents.
   4
   5              RESPONSE TO REQUEST FOR PRODUCTION NO. 100
   6                      MACOM incorporates the General Objections and
                  Objections to Definitions and Instructions set forth above.
   7
                  MACOM objects to the Request as overly broad, unduly
   8              burdensome, vague, and ambiguous. MACOM objects to
   9              the terms “concerning,” “licensing,” “intellectual
                  property,” “communications,” “third-parties,” “potential,”
  10              “consummated licenses,” “one or more,” and “Purchased
  11              Patents” as overly broad, unduly burdensome, vague, and
                  ambiguous. MACOM objects to this Request on the
  12              grounds that it fails to describe the information requested
  13              with reasonable particularity. MACOM objects to the
                  extent this Request seeks information in Defendants’
  14              possession or that is publicly available. MACOM objects to
  15              the extent this Request seeks information that is not relevant
                  to the subject matter of this action and/or is not proportional
  16              to the needs of the case. MACOM objects that this Request
  17              is not reasonably limited as to time and thus seeks to impose
                  undue burden on MACOM. MACOM objects to this
  18              Request to the extent it seeks third-party confidential
  19              information that MACOM is not permitted to disclose
                  under applicable protective orders and/or private
  20              agreements. MACOM objects to this Request to the extent
  21              it seeks information protected by the attorney-client
                  privilege and/or attorney work product doctrine and/or any
  22              other applicable privilege or immunity.
  23
                         Subject to and without waiving the foregoing general
  24              and specific objections, MACOM responds as follows:
                  MACOM will produce responsive, non-privileged Nitronex
  25
                  communications with International Rectifier and other third
  26              parties relating to its licensing of the Nitronex Patents, to
                  the extent they exist and can be located upon a reasonable
  27
                  search. MACOM also incorporates by reference its
  28              responses to Request Nos. 3, 5, 9, 10, 12, and 101.

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   1              Negotiations with Defendants are ongoing as to the timing
                  of document productions.
   2
   3              REQUEST FOR PRODUCTION NO. 101
   4                     All documents concerning Nitronex’s licensing of
                  one or more of the Purchased Patents, including any offers
   5
                  to third-parties to license one or more of the Purchased
   6              Patents.
   7              RESPONSE TO REQUEST FOR PRODUCTION NO. 101
   8
                         MACOM incorporates the General Objections and
   9              Objections to Definitions and Instructions set forth above.
  10              MACOM objects to the Request as overly broad, unduly
                  burdensome, vague, and ambiguous. MACOM objects to
  11              the terms “concerning,” “licensing,” “Purchased Patents,”
  12              “offers,” “third-parties,” and “license” as overly broad,
                  unduly burdensome, vague, ambiguous, and to the extent
  13              they call for legal conclusions. MACOM objects to this
  14              Request on the grounds that it fails to describe the
                  information requested with reasonable particularity.
  15              MACOM objects to the extent this Request seeks
  16              information in Defendants’ possession or that is publicly
                  available. MACOM objects to the extent this Request seeks
  17              information that is not relevant to the subject matter of this
  18              action and/or is not proportional to the needs of the case.
                  MACOM objects that this Request is not reasonably limited
  19              as to time and thus seeks to impose undue burden on
  20              MACOM. MACOM objects to this Request to the extent it
                  seeks third-party confidential information that MACOM is
  21              not permitted to disclose under applicable protective orders
  22              and/or private agreements. MACOM objects to this Request
                  to the extent it seeks information protected by the attorney-
  23              client privilege and/or attorney work product doctrine
  24              and/or any other applicable privilege or immunity.

  25                     Subject to and without waiving the foregoing general
                  and specific objections, MACOM responds as follows:
  26
                  MACOM will produce responsive, non-privileged licenses
  27              to the Nitronex Patents, to the extent they exist and can be
                  located upon a reasonable search. MACOM also
  28

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   1              incorporates by reference its responses to Request Nos. 3,
                  5, 9, 10, 12, and 100. Negotiations with Defendants are
   2
                  ongoing as to the timing of document productions.
   3
                  INTERROGATORY NO. 4
   4
                         For each of the Licensed Patents that you contend
   5
                  that Defendants practice or have practiced in the Exclusive
   6              Field as defined in the 2010 License Agreement, identify
                  the date and circumstances of each time Plaintiffs, any
   7
                  Named Inventor, or any of Plaintiffs’ agents or attorneys
   8              involved in the preparation and prosecution of any Asserted
   9              Patent discovered or otherwise obtained knowledge of any
                  item of Prior Art, including without limitation an
  10              identification of the Person(s) with such knowledge, the
  11              extent of their knowledge, and when and how each such
                  Person obtained such knowledge, and an identification of
  12              all Documents pertaining to such facts.
  13              RESPONSE TO INTERROGATORY NO. 4
  14
                         MACOM incorporates the General Objections and
  15              Objections to Definitions and Instructions set forth above.
  16              MACOM objects to the Interrogatory as overly broad,
                  unduly burdensome, vague, and ambiguous. MACOM
  17              objects to this Interrogatory as premature. MACOM objects
  18              to the terms “involved in the preparation and prosecution of
                  any Asserted Patent,” “Asserted Patent,” “identification,”
  19              “such knowledge,” “extent of their knowledge,” and “when
  20              and how each such Person obtained such knowledge” as
                  overly broad, unduly burdensome, vague, and ambiguous.
  21              MACOM objects to this Interrogatory on the grounds that
  22              it fails to describe the information requested with
                  reasonable particularity. MACOM objects to this
  23              Interrogatory to the extent it seeks information that is more
  24              available from Infineon’s own files or from the inventors of
                  the Nitronex Patents. MACOM objects to the extent this
  25              Interrogatory seeks information that is not relevant to the
  26              subject matter of this action and/or is not proportional to the
                  needs of the case. MACOM objects to this Interrogatory to
  27              the extent it seeks information protected by the attorney-
  28

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   1              client privilege and/or attorney work product doctrine
                  and/or any other applicable privilege or immunity.
   2
   3                    Subject to and without waiving the foregoing general
                  and specific objections, MACOM responds as follows:
   4
                        This Interrogatory is premature. Discovery is
   5
                  ongoing and Infineon has to date provided only limited
   6              information about its GaN-on-Si RF products (based on its
                  own reading of the requirements of the Court’s order dated
   7
                  March 17, 2017 and entered on March 21, 2017 (Dkt. 284)).
   8
                        To the extent that this Interrogatory seeks
   9              information discernible from the United States or European
  10              public patent prosecution files for each Nitronex Patents,
                  MACOM agrees to procure and produce those public
  11              records and refers Infineon to them pursuant to Federal Rule
  12              of Civil Procedure 33(d).
  13                    To the extent that this Interrogatory seeks
  14              information about the knowledge of inventors on the
                  Nitronex Patents, many of whom are no longer Nitronex or
  15              MACOM employees, that information should be sought
  16              from the inventors themselves.

  17                     To the extent that this Interrogatory seeks
                  information beyond what is found in the public patent file
  18              wrappers accessible to MACOM, MACOM additionally
  19              notes that Nitronex’s patent prosecution files relating to the
                  Nitronex Patents were transferred to International
  20              Rectifier’s designated counsel (Farjami & Farjami) as part
  21              of the assignment of the Nitronex Patents to International
                  Rectifier in 2010. Since 2010, International Rectifier (and
  22              now Infineon, as International Rectifier’s successor) have
  23              prosecuted the Nitronex Patents using their choice of patent
                  prosecution counsel. As such, the information sought by
  24
                  this Interrogatory is largely in Infineon’s possession,
  25              custody, and control, not MACOM’s. MACOM requests
                  that Infineon produce all patent prosecution files for the
  26
                  Nitronex Patents.
  27
                        Finally, MACOM notes that it maintains that any
  28              claim of invalidity by Infineon for the Nitronex Patents is

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   1              barred by the doctrine of assignee estoppel— rendering the
                  subject matter of this Interrogatory irrelevant to any issue
   2
                  legitimately in dispute in this litigation and the burden of
   3              responding to this Interrogatory not proportional to
                  Infineon’s legitimate discovery needs for this case.
   4
   5                     MACOM’s investigation of the subject matter of this
                  Interrogatory is ongoing. Pursuant to Federal Rule of Civil
   6              Procedure 26(e), MACOM reserves the right to supplement
   7              this Response as further information becomes available.
   8              INTERROGATORY NO. 7
   9                      Separately for each claim of the Licensed Patents that
  10              you contend that Defendants practice or have practiced in
                  the Exclusive Field as defined in the 2010 License
  11              Agreement, describe in detail on an element-by-element
  12              basis, all facts related to its conception and reduction to
                  practice, including without limitation identifying the date of
  13              conception, the date of reduction to practice of its subject
  14              matter, all acts You contend represent diligence occurring
                  between the dates of conception and reduction to practice,
  15              each Person involved in such conception, diligence and/or
  16              reduction to practice, where the invention was first reduced
                  to practice, when, where, and to whom the invention was
  17              first disclosed, and each Person, including third parties, who
  18              worked on the development of the alleged invention(s)
                  described and claimed in the Asserted Patents, each such
  19              Person’s role and the dates and places each such Person
  20              assisted, supervised, or was otherwise so involved, and all
                  Documents and Things evidencing or supporting these
  21              facts.
  22
                  RESPONSE TO INTERROGATORY NO. 7
  23
                        MACOM incorporates the General Objections and
  24
                  Objections to Definitions and Instructions set forth above.
  25              MACOM objects to the Interrogatory as overly broad,
                  unduly burdensome, vague, and ambiguous. MACOM
  26
                  objects to this Interrogatory as compound. MACOM
  27              objects to this Interrogatory as premature. MACOM objects
                  to the terms “Asserted Patents,” “practice or have
  28

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   1              practiced,” “of its subject matter,” “all acts You contend
                  represent diligence,” “each Person involved in such
   2
                  conception, diligence and/or reduction to practice,” “to
   3              whom the invention was first disclosed,” and “worked on
                  the development of the alleged invention(s)” as overly
   4
                  broad, unduly burdensome, vague, and ambiguous.
   5              MACOM objects to this Interrogatory on the grounds that
                  it fails to describe the information requested with
   6
                  reasonable particularity. MACOM objects to this
   7              Interrogatory to the extent it seeks information that is more
   8              available from Infineon’s own files or from the inventors of
                  the Nitronex Patents. MACOM objects to the extent this
   9              Interrogatory calls for expert testimony. MACOM objects
  10              to the extent this Interrogatory seeks information that is not
                  relevant to the subject matter of this action and/or is not
  11              proportional to the needs of the case. MACOM objects to
  12              this Interrogatory to the extent it seeks information
                  protected by the attorney-client privilege and/or attorney
  13              work product doctrine and/or any other applicable privilege
  14              or immunity.

  15                    Subject to and without waiving the foregoing general
                  and specific objections, MACOM responds as follows:
  16
  17                     This Interrogatory is premature. Discovery is
                  ongoing and Infineon has to date provided only limited
  18              information about its GaN-on-Si RF products (based on its
  19              own reading of the requirements of the Court’s order dated
                  March 17, 2017 and entered on March 21, 2017 (Dkt. 284)).
  20              In other words, Infineon has not provided the discovery
  21              requested by MACOM about its products (and
                  “technologies”) that would allow MACOM to fully identify
  22              the list of Nitronex Patents and claims that those products
  23              practice. Additionally, Infineon has not identified any
                  Nitronex Patents that it asserts are invalid, much less
  24              identified the basis for any such claim of invalidity or the
  25              prior art and dates of such prior art upon which it relies. It
                  has similarly not provided any invalidity claim charts for
  26              any Nitronex Patent. Absent all of that information, it is
  27              impossible for MACOM to respond to this Interrogatory at
                  this time.
  28

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   1                    Nevertheless, to the extent that this Interrogatory
                  seeks information discernible from the United States and
   2
                  European public patent prosecution files for each Nitronex
   3              Patents, MACOM agrees to procure and produce those
                  public records and refers Infineon to them pursuant to
   4
                  Federal Rule of Civil Procedure 33(d).
   5
                        To the extent that this Interrogatory seeks
   6              information about the knowledge of inventors on the
   7              Nitronex Patents, many of whom are no longer Nitronex or
                  MACOM employees, that information should be sought
   8              from the inventors themselves.
   9
                         To the extent that this Interrogatory seeks
  10              information beyond what is found in the public patent file
  11              wrappers accessible to MACOM, MACOM additionally
                  notes that Nitronex’s patent prosecution files relating to the
  12              Nitronex Patents were transferred to International
  13              Rectifier’s designated counsel (Farjami & Farjami) as part
                  of the assignment of the Nitronex Patents to International
  14              Rectifier in 2010. Since 2010, International Rectifier (and
  15              now Infineon, as International Rectifier’s successor) have
                  prosecuted the Nitronex Patents using their choice of patent
  16              prosecution counsel. As such, the information sought by
  17              this Interrogatory is largely in Infineon’s possession,
                  custody, and control, not MACOM’s. MACOM requests
  18              that Infineon produce all patent prosecution files for the
  19              Nitronex Patents.

  20                     Finally, MACOM notes that it maintains that any
                  claim of invalidity by Infineon for the Nitronex Patents is
  21              barred by the doctrine of assignee estoppel— rendering the
  22              subject matter of this Interrogatory irrelevant to any issue
                  legitimately in dispute in this litigation and the burden of
  23
                  responding to this Interrogatory not proportional to
  24              Infineon’s legitimate discovery needs for this case.
  25                     MACOM’s investigation of the subject matter of this
  26              Interrogatory is ongoing. Pursuant to Federal Rule of Civil
                  Procedure 26(e), MACOM reserves the right to supplement
  27              this Response as further information becomes available.
  28

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   1              INTERROGATORY NO. 8
   2                     State whether any Person on behalf of Plaintiffs has
   3              requested or conducted an investigation or opinion of the
                  validity or invalidity (including any Prior Art search),
   4              enforceability or unenforceability, scope of claims,
   5              infringement or noninfringement, of the Purchased Patents
                  or Licensed Patents, and if the answer is anything other than
   6              an unqualified no, for each such investigation identify all
   7              facts relating to such investigation or opinion, including:
                  each Person who requested the investigation or opinion and
   8              the date of the request; each Person who furnished any
   9              Document upon which the investigation or opinion was
                  based in whole or in part, and an identification of each such
  10              Document; each Person who participated in the
  11              investigation or opinion, prepared or reported the results of
                  the investigation or opinion and identify the date of any
  12              such report, whether draft or final; each Person who
  13              received, read or had access to a draft or final report of such
                  investigation or opinion, or any conclusion set forth therein;
  14              and whether any decision was made or action taken by or
  15              on behalf of Plaintiffs in whole or in part as a result of such
                  investigation or opinion, and describe in detail each such
  16              decision and action.
  17
                  RESPONSE TO INTERROGATORY NO. 84
  18
                         MACOM incorporates the General Objections and
  19              Objections to Definitions and Instructions set forth above.
  20              MACOM objects to the Interrogatory as overly broad,
                  unduly burdensome, vague, and ambiguous. MACOM
  21              objects to this Interrogatory as compound. MACOM
  22              objects to this Interrogatory as premature. MACOM objects
                  to the terms “requested or conducted an investigation or
  23
                  opinion,” “unqualified no,” “participated in the
  24              investigation or opinion, prepared or reported the results of
                  the investigation or opinion,” “had access to,” “conclusion
  25
                  set forth therein,” and “whether any decision was made or
  26              action taken” as overly broad, unduly burdensome, vague,
  27
            4
              The only one of Plaintiffs’ responses to the Prior Art RFPs to incorporate
  28 Plaintiffs’ response to Interrogatory No. 8 is RFP 112.

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   1              and ambiguous. MACOM objects to this Interrogatory on
                  the grounds that it fails to describe the information
   2
                  requested with reasonable particularity. MACOM objects to
   3              the extent this Interrogatory calls for expert testimony.
                  MACOM objects to the extent this Interrogatory seeks
   4
                  information that is not relevant to the subject matter of this
   5              action and/or is not proportional to the needs of the case.
                  MACOM objects that this Interrogatory is not reasonably
   6
                  limited as to time and thus seeks to impose undue burden
   7              on MACOM. MACOM objects to this Interrogatory to the
   8              extent it seeks information protected by the attorney-client
                  privilege and/or attorney work product doctrine and/or any
   9              other applicable privilege or immunity.
  10                     Subject to and without waiving the foregoing general
  11              and specific objections, MACOM responds as follows:
                  MACOM is not aware of any non-privileged validity,
  12              invalidity, enforceability, unenforceability, scope of claims,
  13              infringement,       or   noninfringement       opinions     or
                  investigations for the Nitronex Patents, other than the
  14              analyses provided to Infineon as part of the briefing or in
  15              pre-suit letters in connection with this case.
  16                     MACOM’s investigation of the subject matter of this
  17              Interrogatory is ongoing. Pursuant to Federal Rule of Civil
                  Procedure 26(e), MACOM reserves the right to supplement
  18              this Response as further information becomes available.
  19              1.    Defendants’ Argument
  20        Rather than giving straightforward and simple answers to Defendants’ requests,
  21 Plaintiffs “incorporate by reference” responses to requests for entirely different
  22 documents. This improper tactic hides the ball and attempts to cloak Plaintiffs’
  23 refusal to produce relevant, responsive, and probative documents. Plaintiffs must
  24 produce documents responsive to the Prior Art and Inventor RFPs, which are critical
  25 to a dispositive issue in this case.
  26                      a)     Background
  27        On October 2, 2017, Defendants served the Prior Art and Inventor RFPs. On
  28 November 1, 2017, Plaintiffs served their responses. On March 7, 2018, counsel for

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   1 Defendants sent a letter to counsel for Plaintiffs, identifying deficiencies in Plaintiffs’
   2 responses. Defendants detailed how Plaintiffs’ mere incorporation of responses to
   3 other requests did not actually respond to any of the Prior Art or Inventor RFPs.
   4 Defendants further pointed out that, to the extent these requests seek publicly
   5 available information, Plaintiffs nevertheless must produce documents within their
   6 possession, custody, or control. Counsel for Plaintiffs responded with a letter on
   7 March 16, 2018, offering generally that incorporation by reference is a commonly
   8 accepted legal practice, without identifying portions of their incorporated responses
   9 that are relevant to these RFPs. On March 26, 2018, the parties met and conferred
  10 regarding these RFPs in accordance with Local Rule 37.1 but could not resolve their
  11 dispute.
  12         On May 9, 2018, counsel for Defendants sent another letter to counsel for
  13 Plaintiffs, recounting each Prior Art and Inventor RFP and each response that
  14 Plaintiffs incorporated into their responses to these requests, again demonstrating how
  15 the incorporated responses do not actually respond to the specific RFPs at issue. On
  16 May 18, 2018, the parties again met and conferred regarding these RFPs but could
  17 not resolve their dispute.
  18                      b)      Plaintiffs’ responses improperly incorporate by
                                  reference  other responses without addressing the RFP
  19                              at issue.5
  20         A recurring issue in Plaintiffs’ discovery responses is their use of incorporation
  21 by reference. Plaintiffs’ responses to the Prior Art RFPs demonstrate the problems
  22 with this practice.       In response to each of these nine RFPs, Plaintiffs simply
  23 incorporate by reference their responses to eight unrelated RFPs and two unrelated
  24
             5
  25          In the first Joint Stipulation Regarding Defendants’ First Motion to Compel,
     Defendants pointed out numerous examples of similar responses in which Plaintiffs
  26 misused incorporation by reference. The pervasiveness of this practice throughout
  27 Plaintiffs’ responses necessitates raising this issue again in connection with the
     requests addressed in the instant motion because they suffer from the same
  28 deficiencies.

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   1 interrogatories. This practice makes understanding Plaintiffs’ responses needlessly
   2 difficult. Further, Plaintiffs purport to respond to specific RFPs by pointing to
   3 unresponsive documents. These are not appropriate responses.
   4         After cutting through the boilerplate introductions to Plaintiffs’ Prior Art
   5 responses, each response contains a mere one sentence incorporating by reference
   6 Plaintiffs’ other responses. Such responses are, “in essence, no response at all” under
   7 Rule 34(b). See Day v. Bos. Edison Co., 150 F.R.D. 16, 18 (D. Mass. 1993)
   8 (compelling response to an RFP after plaintiff answered “[s]ee answer to
   9 interrogatories 7, 8, 11, 12, 16, 18, and 19”); Cotromano v. United Techs. Corp., 13-
  10 80929-CIV, 2015 WL 12862726, at *2 (S.D. Fla. Aug. 19, 2015) (“Directing a party
  11 to documents produced in its initial disclosure or in prior discovery requests, without
  12 more, is an insufficient response pursuant to Rule 34(b).”). These responses do not
  13 pass muster under the Federal Rules.
  14         Just as important, these responses, even if permitted as a matter of form, are
  15 not responsive. Cf. MGP Ingredients, Inc. v. Mars, Inc., CIVA06-2318-JWL-DJW,
  16 2007 WL 3274800, at *5 (D. Kan. Nov. 6, 2007) (“Plaintiff’s answer to First
  17 Interrogatory No[.] 1 simply is not responsive to subpart b of First Interrogatory No.
  18 2”). Plaintiffs cannot respond to an RFP by merely pointing out that they have
  19 responded to other, different RFPs.         The Prior Art RFPs request information,
  20 communications, and documents relating to or constituting: prior art to the Licensed
  21 Patents and Related Patents or Applications (RFPs 108, 109, 127); development, use,
  22 or sales of GaN-on-Si or GaN-on-SiC products before the filing date of the Licensed
  23 Patents (RFP 111); items such as inventor notebooks and evaluations of validity or
  24 enforceability of the Patents (RFP 112); the work of the inventors of the Licensed
  25 Patents(RFP 115); public disclosures, uses, and modes contemplated by the inventors
  26 for carrying out each invention (RFPs 120, 121). In short, the Prior Art RFPs request
  27 prior art to the patents at issue, which bears directly upon the validity of the patents.
  28

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   1        Puzzlingly, the incorporated responses primarily relate to various agreements,
   2 such as licensing agreements, regarding the patents, and not to prior art at all. In the
   3 incorporated response to RFPs 3 and 5, Plaintiffs agree to produce the 2010 IP
   4 Purchase Agreement that details the assignment of the Nitronex Patents from Nitronex
   5 to International Rectifier, any intracompany sublicenses or other transfers of rights
   6 relating to their own license rights in the Nitronex Patents. In response to RFP 9,
   7 Plaintiffs add that they will produce the Membership Purchase Agreement, dated
   8 February 13, 2014, relating to MACOM’s acquisition of Nitronex. Similarly, in
   9 response to RFP 10, Plaintiffs agree to produce a series of IP purchase, license, and
  10 transfer agreements and documents related thereto Plaintiffs’ response to RFP 37
  11 agrees to produce Plaintiffs’ communications with Defendants regarding a press
  12 release, and their response to RFP 38 agrees to produce license agreements. In
  13 response to RFPs 100 and 101, Plaintiffs agree to produce licenses to the Nitronex
  14 Patents and communications relating to licensing of them. Finally, the responses to
  15 Interrogatories Nos. 4 and 7, which are the same, assert claims of assignee estoppel
  16 and offer only the prosecution files for the Nitronex Patents.
  17        None of these incorporate responses reveal whether Plaintiffs intend to search
  18 for the documents regarding prior art sought in the disputed request. Indeed, by
  19 definition, these other incorporated responses to other RFPs do not address the Prior
  20 Art RFPs at all. These responses fail to even indicate whether Plaintiffs intend to
  21 produce or are refusing produce documents responsive to these requests (let alone
  22 what the grounds for such refusal might be). Plaintiffs should be compelled to
  23 produce documents responsive to these requests. Defendants ask that the Court
  24 require Plaintiffs to amend all their discovery responses to provide full, substantive
  25 responses without such incorporation by reference.
  26                     c)     Aside from their deficient form, Plaintiffs must produce
                                documents responsive to the Prior Art and Inventor
  27                            RFPs, which could be dispositive of this case.
  28        Whether the Nitronex Patents are valid is a potentially dispositive issue in this

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   1 case, making prior art discovery relating to the validity and enforceability of these
   2 patents not just relevant but critical to this lawsuit. Unless and until the invalidity
   3 issues are settled—whether on the merits or based on estoppel—Plaintiffs cannot
   4 ignore their discovery obligations on a dispositive issue.
   5        Throughout their objections to the Prior Art and Inventor RFPs, Plaintiffs
   6 repeat that such information is “publicly available and/or equally accessible to
   7 Defendants.” Not so. For example, RFP 116 requests “[a]ll documents regarding
   8 prior testimony of any of the inventors of the Licensed Patents in the context of any
   9 adversarial proceeding in the United States or in any other country.” Plaintiffs’
  10 refusals to produce any documents because this RFP “calls for public information that
  11 is equally available to Defendants” disregard that the phrase “adversarial proceeding
  12 in the United States or in any other country” encompasses more than a docket sheet
  13 on PACER. Instead, this phrase captures confidential arbitrations and sealed court
  14 proceedings. Quite contrary to Plaintiffs’ assertion, such information is not “equally
  15 accessible” to Defendants.
  16        Further, Plaintiffs do not deny that they may have prior art documents
  17 responsive to these requests. As such, they must produce what they have, even if this
  18 information is publicly available.         Regal Elecs., Inc. v. Pulse Eng’g, Inc.,
  19 5:03CV1296JWRS, 2005 WL 3078983, at *3 (N.D. Cal. Nov. 16, 2005). In Regal
  20 Elecs., despite the plaintiff’s objection that such information was publicly available,
  21 the court compelled responses to requests for production of
  22               1) all documents and things referring or relating to
                   preparation and/or prosecution of any foreign patent
  23
                   application related to, or claiming priority from, a patent
  24               application that led to the [patent-in-suit] and 2) all prior art
                   known to [plaintiff] relating to the subject matter disclosed
  25
                   or claimed in the [patent-in-suit] or any U.S. or foreign
  26               patents or patent applications corresponding in whole or in
                   part to such patent, including, but not limited to, prior art
  27
                   cited or referred to during the preparation or prosecution of
  28               any such patents or patent applications.

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   1 Id. at *2. The court rejected the plaintiff’s irrelevance arguments as lacking any basis,
   2 emphasizing that the documents “may be relevant to the validity and enforceability”
   3 of the patent. Id. at *3. The same applies here—the prior art and inventor documents
   4 and communications sought by these RFPs are relevant to the Nitronex Patents’
   5 validity and enforceability. It matters not that relevant documents may be publicly
   6 available; Plaintiffs must produce their responsive documents.
   7                2.     Plaintiffs’ Argument
   8         Infineon attempts to lump together ten separate requests into one section, but
   9 fails to justify its need for the information sought by each request or why what
  10 MACOM has provided already is insufficient. As has become its practice, it simply
  11 summarily states that MACOM’s responses are deficient. MACOM’s responses
  12 comply with Rule 34. Furthermore, the requests themselves focus on information in
  13 Infineon’s possession. It is not proportional to the needs of the case for Infineon to
  14 pursue the requests as phrased, given their overbreadth.
  15         More importantly, however, Judge Snyder will shortly be hearing a motion
  16 (which she ordered MACOM to file as a motion for summary judgment) on whether
  17 Infineon is permitted to pursue estoppel arguments at all. Until that issue is resolved,
  18 MACOM should not be required to provide discovery that may never be needed. At
  19 a minimum, this portion of Infineon’s motion should be held in abeyance while Judge
  20 Snyder resolves the estoppel issues.
  21                       a.     MACOM’s Responses Comply with Rule 34
  22         Preliminarily, as discussed in detail in the first joint stipulation filed by Infineon
  23 on May 31, 2018 (Dkt. 512-1), MACOM’s practice of incorporating prior RFP
  24 responses, which in turn state the specific searches MACOM would conduct, by
  25 reference is fully consistent with Rule 34 and is particularly appropriate here, where
  26 Infineon has served dozens of overlapping requests. Rather than burden the Court
  27 with pages of argument on this issue again, MACOM refers the Court to the
  28 arguments previously made on this point—proving yet again that incorporation by

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   1 reference can be an efficient mechanism for handling duplicative and overlapping
   2 points.
   3                     b.     This Discovery Is Not Properly Sought From MACOM
   4        Turning to the merits, Infineon’s arguments are completely untethered to the
   5 factual background and the unusual procedural posture of this case.           A short
   6 explanation is in order to make this point.
   7        Infineon is the owner of the patents at issue in this case, and it promised
   8 MACOM when it gave MACOM an exclusive license to those patents that Infineon
   9 would not itself practice the patents in MACOM’s exclusive field. A few years later,
  10 when Infineon decided that it wanted to enter MACOM’s exclusive field, Infineon
  11 then purported to terminate MACOM’s license, leading to this suit. Among other
  12 claims, MACOM asserts breach of contract against Infineon based on Infineon’s
  13 activities in MACOM’s exclusive field. Dkt. 445 at ¶¶190-201.
  14        To defend against MACOM’s claims of breach, Infineon asserts that the
  15 patents—i.e., the very same patents that Infineon owns (having bought them from
  16 MACOM’s predecessor)—are invalid, such that it need not abide by its contractual
  17 promise to stay out of MACOM’s exclusive field. Dkt. 454-1 at ¶¶277. In other
  18 words, it is Infineon, not MACOM, that claims that the patents are invalid, and thus
  19 bears the burden of searching for and producing prior art. Diodem, LLC v. Lumenis
  20 Inc., No. CV03-2142 GAF RCX, 2005 WL 6225364, at *1 (C.D. Cal. Sept. 15, 2005)
  21 (noting that “[b]ecause [a] patent is presumed valid, invalidity must be established by
  22 clear and convincing evidence”); Titan Tire Corp. v. Case New Holland, Inc., 566
  23 F.3d 1372, 1376 (Fed. Cir. 2009) (stating that “an alleged infringer who raises
  24 invalidity as an affirmative defense has the ultimate burden of persuasion to prove
  25 invalidity by clear and convincing evidence, as well as the initial burden of going
  26 forward with evidence to support its invalidity allegation”)
  27        Moreover, requests that seek all information about “prior art” are routinely
  28 struck down as overbroad. Orthopedic Equip. Co. v. United States, No. 250-77, 1978

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   1 WL 21467, at *2 (Ct. Cl. Sept. 8, 1978) (stating that a defendant’s request “to conduct
   2 an exhaustive prior art search of all documents, articles, or known devices in
   3 existence, in addition to all patents even remotely relevant to the patent in suit” placed
   4 an unjustifiable burden upon plaintiffs). Parties are required to serve targeted requests
   5 directed to particular prior art references; other approaches do not withstand
   6 challenege. Orthopedic Equip. Co. v. United States, No. 250-77, 1978 WL 21467, at
   7 *2 (Ct. Cl. Sept. 8, 1978) (stating that a defendant’s request “to conduct an exhaustive
   8 prior art search of all documents, articles, or known devices in existence, in addition
   9 to all patents even remotely relevant to the patent in suit” placed an unjustifiable
  10 burden upon plaintiffs). Infineon’s demands for this information from MACOM
  11 violate these principles.      Although Infineon has the burden of proving patent
  12 invalidity, it has to date not identified a single prior art reference on which it bases its
  13 claims of invalidity and refuses to narrow its own prior art requests in a reasonable
  14 manner.
  15         Further, it is Infineon, as the owner of the asserted patents, who now has all of
  16 the prosecution files, assignment materials, and other documents relevant to invalidity
  17 for the patents at issue. Indeed, in 2010, Nitronex (MACOM’s predecessor) turned
  18 over all of its files for the Nitronex Patents to International Rectifier (Infineon’s
  19 predecessor). Infineon thus has had possession and control over information related
  20 to the ownership (among other topics) of the patents-at-issue for the past eight years.
  21 DKt. 449 at 1. Infineon has also had exclusive possession and control of the
  22 prosecution of the patents, much of which has taken place outside the public eye.
  23         Finally, and perhaps most importantly, if MACOM (or its predecessor) had
  24 possessed any material prior art at the time it prosecuted the Nitronex Patents, it would
  25 have had to disclose such information to the Patent Office at the time it prosecuted
  26 the patents. All of those prosecution files were turned over to Infineon in 2010.
  27 Therefore, in response to the present RFPs, MACOM has appropriately directed
  28 Infineon to all of the files and prior art in Infineon’s control. It puzzles MACOM as

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   1 to why Infineon would seek documents regarding prosecution of the patents at issue
   2 when it has controlled the prosecution of these patents since the 2010 transaction
   3 underlying this case. MACOM does not understand what else Infineon expects
   4 MACOM to provide for many of the requests.
   5                      c.   MACOM Has Agreed To Produce The Materials
                               Relevant To Validity That It Can Reasonably Produce
   6
             Despite the problems discussed above with Infineon’s invalidity requests,
   7
       MACOM nevertheless made good faith efforts to produce documents that could
   8
       reasonably be produced.      For instance, MACOM has produced the public file
   9
       wrappers accessible to it for all of the Nitronex Patents. Banzhoff Dec., ¶2. These
  10
       materials span over 10,000 pages and are located in MACOM’s production at
  11
       MACOM-INF-018274-MACOM-INF-035314. Similarly, it has agreed to conduct a
  12
       reasonable search for and produce all documents relating broadly to the Nitronex
  13
       Patents. See, e.g., Responses to RFP Nos. 38, 100, 101, above. And it has done so;
  14
       Infineon has not lodged a single complaint that MACOM has not complied with this
  15
       agreement. Moreover, MACOM agreed to conduct a reasonable search for and
  16
       produce all documents relating to the IP Purchase Agreement, which was the
  17
       agreement by which the Nitronex Patents were transferred to Infineon. See Responses
  18
       to RFP Nos.5, 9, 10, 11, 12, 16, above. And it is has done so, producing—for
  19
       instance—documents relating to the negotiation and execution of that agreement.
  20
       These productions should more than satisfy any legitimate requests.
  21
                          d.     Infineon Is Estopped From Pursuing Invalidity
  22
             Setting all of the above issues, however, there is a larger issue with Infineon’s
  23
       requests that means that the Court should not resolve this issue now: Infineon is
  24
       estopped from pursuing arguments of patent invalidity. It is estopped both under the
  25
       doctrine of assignee estoppel, which precludes an assignee of patents from arguing
  26
       that they are invalid to escape having to provide the consideration for the assignment
  27
       (here, the promise of exclusivity), and under the doctrine of judicial estoppel, because
  28

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   1 the owner of the patents cannot take different positions with respect to validity before
   2 a Court than it did before the Patent Office in obtaining the patents. See, e.g., Dkt.
   3 418 at 1-5.
   4          Recognizing the importance of this issue, and wanting to avoid burden for the
   5 parties, Judge Snyder ordered MACOM to file a motion for summary judgment on
   6 estoppel, which she has set for a hearing in mid-July. Dkt. 496. Concerns about
   7 efficiency and avoiding unnecessary discovery were top of mind for her in ordering
   8 this briefing. Id. at 1 (finding that “judicial economy will be served by a determination
   9 regarding the estoppel issues raised by the parties”). Judge Snyder even moved the
  10 hearing on this estoppel issue a full month earlier than originally scheduled based on
  11 the concerns about wasted discovery efforts. Ex. C.6
  12          Infineon requested, and MACOM agreed, that Infineon could postpone its
  13 responses to MACOM’s invalidity discovery requests to Infineon pending resolution
  14 of the estoppel issues. Ex. D. MACOM has no desire to impose unnecessary burden
  15 on Infineon. MACOM therefore made this agreement even though Infineon controls
  16 all of the information about its invalidity theories (which it has never provided) and
  17 the overwhelming volume of documents that might relate to invalidity issues
  18 generally. It is particularly unreasonable for Infineon to insist on proceeding with the
  19 invalidity discovery against MACOM when MACOM has not insisted that this
  20 discovery proceed for Infineon.7
  21          For these reasons, MACOM therefore respectfully requests that the Court deny
  22 Infineon’s motion to compel or, in the alternative, hold this issue in abeyance until
  23
       6
  24       Judge Snyder has also moved the trial date back and order the parties to confer
           regarding an extension of the remainder of the case schedule. Dkt. 510. Based
  25
           on the initial discussions of the parties, it appears that there is likely to be
  26       agreement that fact discovery will not close until the end of August.
       7
  27       When MACOM pointed this out, Infineon said that the invalidity discovery
           against MACOM must proceed because invalidity is relevant to other issues
  28       besides Infineon’s defense of invalidity. Ex. D. This makes no sense.
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   1 Judge Snyder resolves MACOM’s estoppel motion.
   2        C.    Defendants’ Interrogatory No. 11 and Request for Production No.
                  135
   3
   4        Below are Defendants’ Interrogatory No. 11, Defendants’ RFP 135, and

   5 Plaintiffs’ responses.
   6              INTERROGATORY NO. 11
   7                     Describe with particularity the corporate structure of
   8              Plaintiffs and their activities, including without limitation
                  an identification of: all MACOM and Nitronex corporate
   9              entities, including those presently or formerly existing in
  10              the past ten (10) years; the ownership of, organization
                  structure of, and the executive and board members of each
  11              such entity; the countries in which each such entity operates
  12              or otherwise has a business presence; the U.S. judicial
                  districts in which each such entity operates or otherwise has
  13              a business presence; the business activities of each such
  14              entity; the product(s) and service(s) made, used, sold,
                  offered for sale, imported, developed, tested, serviced, or
  15              supported by each such entity, and the role of each such
  16              entity with respect to each such product.
  17              RESPONSE TO INTERROGATORY NO. 11
  18                     MACOM incorporates the General Objections and
  19              Objections to Definitions and Instructions set forth above.
                  MACOM objects to the Interrogatory as overly broad,
  20              unduly burdensome, vague, and ambiguous. MACOM
  21              objects to this Interrogatory as compound. MACOM
                  objects to the terms “particularity,” “corporate structure,”
  22              “activities,” “corporate entities,” “formerly existing,”
  23              “ownership,” “organization structure,” “operates,”
                  “business presence,” “business activities,” “product(s),”
  24              “service(s),” “made,” “used,” Sold,” offered for sale,”
  25              “imported,”      “developed,”      “tested,”        “serviced,”
                  “supported,” and “role” as overly broad, unduly
  26              burdensome, vague, and ambiguous. MACOM objects to
  27              this Interrogatory on the grounds that it fails to describe the
                  information requested with reasonable particularity.
  28

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   1              MACOM objects to the extent this Interrogatory seeks
                  information that is publicly available. MACOM objects to
   2
                  the extent this Interrogatory seeks information that is not
   3              relevant to the subject matter of this action and/or is not
                  proportional to the needs of the case. MACOM objects that
   4
                  this Interrogatory is not reasonably limited as to time and
   5              thus seeks to impose undue burden on MACOM. MACOM
                  objects to this Interrogatory to the extent it seeks
   6
                  information protected by the attorney-client privilege
   7              and/or attorney work product doctrine and/or any other
   8              applicable privilege or immunity.

   9                     Subject to and without waiving the foregoing general
                  and specific objections, MACOM responds as follows: In
  10              response to Request for Production Nos. 1, 2, 4, and 6,
  11              MACOM has agreed to produce, among other documents,
                  responsive, non-privileged documents entity organizational
  12              charts sufficient to show the organization of MACOM and
  13              relevant affiliates from the time of its acquisition of
                  Nitronex in 2014 to present, to the extent they exist and can
  14              be located upon a reasonable search. Pursuant to Federal
  15              Rule of Civil Procedure 33(d), MACOM refers Infineon to
                  those materials.
  16
  17                     MACOM’s investigation of the subject matter of this
                  Interrogatory is ongoing. Pursuant to Federal Rule of Civil
  18              Procedure 26(e), MACOM reserves the right to supplement
  19              this Response as further information becomes available.

  20              SUPPLEMENTAL RESPONSE TO INTERROGATORY
                  NO. 11
  21
  22                     Subject to and without waiving the foregoing general
                  and specific objections, MACOM supplements its response
  23              as follows:
  24
                        Pursuant to Rule 33(d) of the Federal Rules of Civil
  25              Procedure, MACOM also refers Infineon to the documents
                  Bates-labeled MACOM-INF-088005, MACOM-INF-
  26
                  088006, MACOM-INF-088007, MACOM-INF-088008,
  27              MACOM-INF-088009, MACOM-INF-088010, MACOM-
                  INF-088011, MACOM-INF-088012, MACOM-INF-
  28

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   1              088013, MACOM-INF-088014, MACOM-INF-088015,
                  MACOM-INF-088016, MACOM-INF-088017, MACOM-
   2
                  INF-088018, MACOM-INF-088019, MACOM-INF-
   3              088020, MACOM-INF-088021, MACOM-INF-088022,
                  MACOM-INF-088023, MACOM-INF-088024, MACOM-
   4
                  INF-088025, and MACOM-INF-088026. MACOM further
   5              states that MACOM Technology Solutions Inc. is typically
                  the MACOM entity that makes sales to end customers
   6
                  located in the United States and MACOM Technology
   7              Solutions International Ltd. is typically the MACOM entity
   8              that makes sales to end customers located outside the
                  United States. MACOM does not make intra-company sales
   9              of its products.
  10                     MACOM’s investigation of the subject matter of this
  11              Interrogatory is ongoing. Pursuant to Federal Rule of Civil
                  Procedure 26(e), MACOM reserves the right to supplement
  12              this Response as further information becomes available.
  13
                  REQUEST FOR PRODUCTION NO. 135
  14
                        Documents sufficient to show the distribution or
  15              sales channels for the Covered Products, including
  16              documents sufficient to show the entire chain-of-title of the
                  Covered Products from manufacture to sale to the end-user.
  17
  18              RESPONSE TO REQUEST FOR PRODUCTION NO. 135

  19                     MACOM incorporates the General Objections and
                  Objections to Definitions and Instructions set forth above.
  20              MACOM objects to the Request as overly broad, unduly
  21              burdensome, vague, and ambiguous. MACOM objects that
                  this Request is duplicative of previous discovery requests
  22              served by Infineon. MACOM objects to the terms
  23              “distribution,” “sales channels,” “covered products,”
                  “entire chain-of-title,” “manufacture,” “sale,” and “end-
  24
                  user” as overly broad, unduly burdensome, vague, and
  25              ambiguous. MACOM objects to this Request on the
                  grounds that it fails to describe the information requested
  26
                  with reasonable particularity. MACOM objects to the
  27              extent this Request seeks information that is not relevant to
                  the subject matter of this action and/or is not proportional
  28

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   1               to the needs of the case. MACOM objects that this Request
                   is not reasonably limited as to time and thus seeks to impose
   2
                   undue burden on MACOM. MACOM objects to this
   3               Request to the extent it seeks third-party confidential
                   information that MACOM is not permitted to disclose
   4
                   under applicable protective orders and/or private
   5               agreements. MACOM objects to this Request to the extent
                   it seeks information protected by the attorney-client
   6
                   privilege and/or attorney work product doctrine and/or any
   7               other applicable privilege or immunity.
   8                     Subject to and without waiving the foregoing general
   9               and specific objections, MACOM responds as follows:
                   MACOM will produce responsive, non-privileged
  10               documents sufficient to identify the customers who
  11               purchased MACOM’s GaN-on-Si products from 2014 to
                   present and MACOM’s GaN-on-SiC products from 2011 to
  12               present, to the extent they exist and can be located upon a
  13               reasonable search. Negotiations with Defendants are
                   ongoing as to the timing of document productions.
  14
                   1.     Defendants’ Argument
  15
  16         Interrogatory No. 11 and RFP 135 request information relating to Plaintiffs’

  17 business operations, such as their sales and distribution channels. Plaintiffs’ refusal
  18 to respond to these requests leaves Defendants in the dark as to the details of how
  19 Plaintiffs manufacture, distribute, and sell their products. Without proper responses,
  20 Defendants cannot figure out where Plaintiffs’ products travel from start to finish and
  21 how they get to each stop along the way. Supply chain is a crucial factor in base
  22 station customers willingness to work with a particular supplier. Thus, the full details
  23 of Plaintiffs’ supply chain bears upon the reasons for their lack of success in the
  24 marketplace. Without this information, Defendants cannot fairly respond to
  25 Plaintiffs’ damages and lost profits theories. Plaintiffs must explain their own
  26 business operations and should have little trouble doing so.
  27
  28

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   1                      a)     Background
   2         On August 2, 2017, Defendants served Interrogatory No. 11, and on May 2,
   3 2018, Plaintiffs supplemented their response to this interrogatory. On May 4, 2018,
   4 counsel for Defendants sent a letter to counsel for Plaintiffs, pointing out a lack of
   5 necessary and responsive details in Plaintiffs’ supplemental response. For example,
   6 Defendants noted Plaintiffs’ failure to identify the business activities of MACOM
   7 Technology Solutions Holdings, Inc. and Nitronex, LLC, including which products
   8 and services the relevant entities make, use, sell, offer for sale, import, develop, test,
   9 service, or support. On May 14 and 15, 2018, the parties met and conferred regarding
  10 this interrogatory in accordance with Local Rule 37.1 but could not resolve their
  11 dispute.
  12         On October 2, 2017, Defendants served RFP 135, and on November 1, 2017,
  13 Plaintiffs responded. On March 7, 2018, counsel for Defendants sent a letter to
  14 counsel for Plaintiffs, explaining that Plaintiffs’ response failed to account for the full
  15 chain-of-title of the Covered Products from manufacture through sale. Counsel for
  16 Plaintiffs responded with a letter on March 16, 2018, and the parties met and conferred
  17 in accordance with Local Rule 37.1 regarding this request on March 26, 2018.
  18 Plaintiffs agreed to examine this request further and determine whether they would
  19 produce relevant documents showing the identity of the MACOM entity that makes,
  20 transfers, and sells covered products, including distribution and sales channels. On
  21 May 4, 2018, counsel for Plaintiffs explained to counsel for Defendants via email that
  22 Plaintiffs purported to answer this RFP in their response to Interrogatory No. 11,
  23 which states that “MACOM Technology Solutions Inc. is typically the MACOM
  24 entity that makes sales to end customers located in the United States and MACOM
  25 Technology Solutions International Ltd. is typically the MACOM entity that makes
  26 sales to end customers located outside the United States.” Because this interrogatory
  27 response did not provide the documents requested by RFP 135, however, the parties
  28 reached an impasse and were unable to resolve this request.

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   1                      b)     Plaintiffs must fully respond to Interrogatory No. 11 by
                                 describing their business operations and the tasks each
   2                             entity performs with respect to each product or service.
   3         Plaintiffs have staked their case on their lost profits and allege that Defendants’
   4 wrongful conduct deprived them of future sales. In order to understand what sales
   5 Plaintiffs allegedly lost and why, Defendants must understand how Plaintiffs’
   6 business operates. Interrogatory No. 11 seeks such information.
   7         Plaintiffs’ supplemental response and the documents cited therein ignore
   8 perhaps the most critical portion of Interrogatory No. 11—what do Plaintiffs do? The
   9 documents cited in the response are merely various iterations of a chart showing the
  10 parent/child relationships between various legal entities, but provide no information
  11 about what each of those entities actually do with respect to the products and business
  12 at issue. E.g., Ex. 10, MACOM-INF-088005, MACOM Technology Solutions.
  13 Worldwide Legal Structure. Plaintiffs’ narrative response identifies a U.S. sales
  14 entity and a foreign sales entity. But Interrogatory No. 11 goes beyond sales.
  15 Specifically, Plaintiffs do not explain “the product(s) and service(s) made, used, sold,
  16 offered for sale, imported, developed, tested, serviced, or supported by each such
  17 entity, and the role of each such entity with respect to each such product.” Not only
  18 do Plaintiffs fail to identify the specific products and services for which each entity
  19 takes certain actions, but they omit “the role of each such entity with respect to each
  20 such product.” Does it develop, test, and manufacture? Does it distribute, market and
  21 sell? A simple answer should follow this simple question—what do Plaintiffs do?
  22         Further, a full interrogatory response is proportional to the needs of this case.
  23 First, the burden of fully responding is low. After all, this interrogatory only asks
  24 Plaintiffs about themselves, and Plaintiffs should be readily able to discuss their own
  25 business activities without much burden. Second, an insight into Plaintiffs’ business
  26 activities, including specifically which entities take which actions with respect to
  27 which products and services, is critical to Defendants’ understanding of Plaintiffs’
  28 manufacturing and supply chain, cost structures, and consequently their lost profits

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   1 theory. Defendants must know the business behind Plaintiffs’ products. Defendants
   2 must know who makes the products and their component parts, who markets them,
   3 who sells them, and every step in between. Thus, Plaintiffs should be compelled to
   4 fully respond to Interrogatory No. 11.
   5                      c)    Plaintiffs do not adequately respond to Interrogatory
                                No. 11 by merely stating which entities “typically” make
   6                            sales.
   7        In part, Interrogatory No. 11 asks Plaintiffs to state “the product(s) and
   8 service(s) . . . sold [or] offered for sale . . . , and the role of each such entity with
   9 respect to each such product.” Plaintiffs respond that MACOM Technology Solutions
  10 Inc. “typically” sells to end customers in the U.S., while MACOM Technology
  11 Solutions International Ltd. “typically” sells to end customers outside the United
  12 States.
  13        Plaintiffs’ insertion of the qualifier “typically” renders their response useless.
  14 Defendants still do not have a full response on which MACOM entities sell to end
  15 users. What do Plaintiffs mean by “typically”? How often do these “typical” patterns
  16 hold true?     How often are there exceptions to Plaintiffs’ “typical” practices?
  17 Plaintiffs’ vague response lacks the detail necessary to give it any meaning.
  18        If Plaintiffs mean that in all situations MACOM Technology Solutions Inc.
  19 sells to end customers in the U.S. and MACOM Technology Solutions International
  20 Ltd. sells to end customers outside the U.S., they should supplement their
  21 interrogatory response to say so.         Otherwise, they should supplement their
  22 interrogatory response to meaningfully describe their sales operations, including by
  23 identifying any other entities that make sales. In either event, they must supplement
  24 their response.
  25                      d)    Plaintiffs must produce documents responsive to RFP
                                135, which goes beyond identifying the entity that makes
  26                            a sale.
  27        In a similar vein, RFP 135 seeks information regarding the “distribution or sales
  28 channels for the Covered Products, including documents sufficient to show the entire

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   1 chain-of-title of the Covered Products from manufacture to sale to the end-user.”
   2 Plaintiffs agree to produce only documents regarding “the customers who purchased
   3 MACOM’s GaN-on-Si products from 2014 to present and MACOM’s GaN-on-SiC
   4 products from 2011 to present.” Further, at the parties’ meet and confers, Plaintiffs
   5 implied that their response to Interrogatory No. 11, which identifies entities that
   6 “typically” make sales in the U.S. and abroad, responds to this RFP by confirming
   7 that no intra-company sales occur.
   8        Initially, Plaintiffs’ misplaced response to Interrogatory No. 11 does not
   9 respond to RFP 135. As described above, Plaintiffs qualify this response by saying
  10 that certain entities “typically” make certain sales. With this qualifier, Plaintiffs’
  11 answer to Interrogatory No. 11 is meaningless—both on its own and with respect to
  12 RFP 135.
  13        Even if such a vague interrogatory response were somehow responsive, it
  14 addresses only a narrow sliver of RFP 135—the final sale from a MACOM entity to
  15 an end user. And Plaintiffs’ response to RFP 135, which agrees to produce only
  16 documents to identify certain customers, glosses over the RFP’s core—the
  17 distribution or sales channels and the entire chain-of-title. RFP 135 asks how, and
  18 through what entities, products go from beginning of manufacture to end user, from
  19 wafer processing to device fabrication to final packaged product to sales channels to
  20 final customer. Through their responses to Interrogatory No. 11 and RFP 135,
  21 Plaintiffs might explain the final step in that sequence. But Plaintiffs do not explain
  22 or agree to produce anything else, such as documents relating to distribution and the
  23 full chain-of-title (from manufacture through final sale) of a Covered Product.
  24        This full picture defines Plaintiffs’ damages theory, and this Court has
  25 compelled production of documents identifying distribution channels. B-K Lighting,
  26 Inc. v. Vision3 Lighting, CV062825MMMPLAX, 2007 WL 9627564, at *2 (C.D. Cal.
  27 Aug. 24, 2007) (Abrams, M.J.) (compelling identification of defendant’s distribution
  28 channels for certain products after the court entered a protective order, mooting

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   1 defendant’s argument that it need not produce because no protective order was in
   2 place). Defendants must know, from start to finish, how and where Plaintiffs moved
   3 their Covered Products. With this knowledge, Defendants can understand how their
   4 allegedly wrongful conduct impacted this movement and ultimately damaged
   5 Plaintiffs. Defendants would be able to track and cross reference cost information
   6 with customer information and entity information. Further, especially in light of this
   7 information’s importance, producing it imposes no undue burden on Plaintiffs, who
   8 are the only entities in a position to disclose documents relating to their own internal
   9 procedures. Thus, Plaintiffs should produce documents fully responsive to RFP 135.
  10               2.    Plaintiffs’ Argument
  11        Infineon argues that it must have a narrative description of the “business
  12 operations” of a large public company. Infineon initially says it cannot tell “which
  13 products” MACOM sells. But this is not the case; MACOM has provided a specific
  14 spreadsheet to Infineon outlining every single product sale relevant to this case.
  15        Infineon then argues that it must know “where Plaintiffs’ products travel from
  16 start to finish and how they get to each stop along the way.” See supra, at Section
  17 (C)(1)(c). But it is not clear what this relevant to. This case is not about MACOM’s
  18 distribution channels or which geographies that its products are shipped through. See
  19 generally Dkt. 445. It is about Infineon’s breaches of its promise of worldwide
  20 exclusivity to MACOM. Id. Infineon seems to be fishing, but these requests are
  21 simply too vague for MACOM to even understand what Infineon hopes to
  22 accomplish.
  23        Furthermore, requests for a cataloging of MACOM’s “business activities,”
  24 exactly as found in Interrogatory No. 11, are impermissibly overbroad. Mailhoit v.
  25 Home Depot U.S.A., Inc., CV1103892DOCSSX, 2012 WL 12884129, at *2 (C.D.
  26 Cal. Sept. 4, 2012); Segan v. Dreyfus Corp., 613 F.2d 695, 696 (2d Cir. 1975)
  27 (interrogatories seeking defendants’ “entire business history” constituted an
  28 impermissible “fishing expedition of large proportions”).         It is not a “simple

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   1 question,” as Infineon contends. Rather, it of course is unduly burdensome to respond
   2 to requests for, as Infineon demands, something so vague as “tell us everything that
   3 MACOM does,” which is exactly what Infineon requests. Alexander v. F.B.I., 186
   4 F.R.D. 21, 40 (D.D.C. 1998) (holding that a party need not supplement its responses
   5 to a request that is “facially over broad” and would require the responding party to
   6 “speculate ... and scour all possible records to determine” the requested information).
   7 This exercise is particularly absurd in light of the fact that MACOM and Infineon are
   8 direct competitors. Infineon understands what MACOM’s business is.
   9         MACOM can say this, however: It has now produced more than 200,000 pages
  10 of documents that detail its “business activities” with respect to the relevant GaN
  11 products in dispute in the case. That is its entire production, of course, but the breadth
  12 of a request for all business activities leaves MACOM little other option but to point
  13 to everything it has produced.
  14         Additionally, in an attempt to satisfy Infineon, MACOM has pointed Infineon
  15 to the types of organizational charts that these requests may have been originally
  16 intended to elicit. See MACOM’s Supp. Response to Interrogatory No. 11, quoted
  17 above; Ex. 10. MACOM has also produced communications with customers and
  18 potential customers for its GaN-on-Si business.
  19         Similarly, in regards to RFP No. 135, MACOM has explained to Infineon
  20 which MACOM entities typically make sales to end customers both within and
  21 outside of the United States, although it is not clear why this matters or why anything
  22 more specific than a confirmation of the typical practice is needed, given that the
  23 revenues of MACOM’s subsidiaries are all rolled up to the MACOM parent. See,
  24 http://ir.macom.com/secfiling.cfm?filingID=1493594-17-55&CIK=1493594
  25 MACOM Annual Report Form 10-K, November 15, 2017).
  26         MACOM also confirmed that it does not make intra-company sales of its
  27 products, further rendering the requested information irrelevant. See MACOM’s
  28 Supp. Response to Interrogatory No. 11, quoted above.

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   1         MACOM has also produced documents that identify each and every customer
   2 who purchased MACOM’s GaN-on-Si products from 2014 to the present and
   3 MACOM’s GaN-on-SiC products from 2011 to present, as well as that customer’s
   4 location and the MACOM plant from which the product was shipped.
   5         MACOM does not understand what additional information Infineon wants
   6 regarding “chain of title,” “distribution,” or “sales channels,” or even what issue in
   7 the case that could be relevant to.
   8         MACOM has been more than accommodating of Infineon’s requests. It has
   9 done so even in the face of corporate shell games that Infineon has played in this
  10 case, denying that certain Infineon entities are bound by Infineon’s agreements with
  11 MACOM or responsible for its breaches or for complying with the injunction against
  12 Infineon Americas. In contrast to the positions taken by Infineon, MACOM does not
  13 deny that the MACOM entities that are parties to this suit will take responsibility for
  14 the actions of their worldwide affiliates for purposes of the issues in this litigation.
  15         Accordingly, MACOM respectfully requests that the Court deny Infineon’s
  16 motion to compel.
  17         D.     Defendants’ Interrogatory No. 12 and Request for Production No.
                    97
  18
             Below are Defendants’ Interrogatory No. 12, Defendants’ RFP 97, and
  19
       Plaintiffs’ responses.
  20
  21                INTERROGATORY NO. 12

  22                       Describe with particularity all Communications You
                    have had with any third party relating to this Action or to
  23                Defendants, including without limitation an identification
  24                of: the form of the Communication (e.g., telephone call,
                    meeting, letter, e-mail, etc.); a summary of the substance of
  25                the Communication; the date and place of the
  26                Communication; a list identifying each Person who
                    participated in or was present at, involved in, or connected
  27                with the Communication, including the company for which
  28                each Person served as a representative or agent; a list

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   1              identifying each Document that memorializes or refers to
                  the Communication; and all statements made relating to this
   2
                  Action or to Defendants.
   3
                  RESPONSE TO INTERROGATORY NO. 12
   4
                         MACOM incorporates the General Objections and
   5
                  Objections to Definitions and Instructions set forth above.
   6              MACOM objects to the Interrogatory as overly broad,
                  unduly burdensome, vague, and ambiguous. MACOM
   7
                  objects to this Interrogatory as compound. MACOM
   8              objects to the terms “particularity,” “any third party,”
   9              “relating to,” “this Action,” “form,” “summary,”
                  “participated,” “present,” “involved in,” “connected with,”
  10              “memorializes,” and “refers to” as overly broad, unduly
  11              burdensome, vague, and ambiguous. MACOM objects to
                  this Interrogatory on the grounds that it fails to describe the
  12              information requested with reasonable particularity.
  13              MACOM objects to the extent this Interrogatory seeks
                  information that is not relevant to the subject matter of this
  14              action and/or is not proportional to the needs of the case.
  15              MACOM objects that this Interrogatory is not reasonably
                  limited as to time and thus seeks to impose undue burden
  16              on MACOM.
  17                     MACOM objects to this Interrogatory to the extent it
  18              seeks third-party confidential information that MACOM is
                  not permitted to disclose under applicable protective orders
  19              and/or private agreements. MACOM objects to this
  20              Interrogatory to the extent it seeks information protected by
                  the attorney-client privilege and/or attorney work product
  21              doctrine and/or any other applicable privilege or immunity.
  22
                        Subject to and without waiving the foregoing general
  23              and specific objections, MACOM responds as follows: In
  24              response to Request for Production Nos. 34, 73, 74, 96, 97,
                  98, and 99, MACOM has agreed to produce responsive,
  25              non-privileged documents that may have information
  26              responsive to this Interrogatory, to the extent they exist and
                  can be located upon a reasonable search. Pursuant to
  27              Federal Rule of Civil Procedure 33(d), MACOM refers
  28              Infineon to those materials.

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   1                     MACOM’s investigation of the subject matter of this
                  Interrogatory is ongoing. Pursuant to Federal Rule of Civil
   2
                  Procedure 26(e), MACOM reserves the right to supplement
   3              this Response as further information becomes available.
   4              SUPPLEMENTAL RESPONSE TO INTERROGATORY
   5              NO. 12
   6                     Subject to and without waiving the foregoing general
                  and specific objections, MACOM supplements its response
   7
                  as follows:
   8
                        Pursuant to Rule 33(d) of the Federal Rules of Civil
   9              Procedure, MACOM refers Infineon to the documents
  10              Bates-labeled MACOM-INF-104785, MACOM-INF-
                  048858,, MACOM-INF-110128, MACOM-INF-075705,
  11              MACOM-INF-119743, MACOM-INF-189060, MACOM-
  12              INF-122189, MACOM-INF-124891, MACOM-INF-
                  090646, MACOM-INF-090675, MACOM-INF-090735,
  13              MACOM-INF-090809, MACOM-INF-090845, MACOM-
  14              INF-090855, MACOM-INF-090983, MACOM-INF-
                  090985, MACOM-INF-090987, MACOM-INF-090989,
  15              MACOM-INF-090991; MACOM-INF-090628; MACOM-
  16              INF-090629; MACOM-INF-090646; MACOM-INF-
                  090647; MACOM-INF-090735; MACOM-INF-090736;
  17              MACOM-INF-090806; MACOM-INF-090809; MACOM-
  18              INF-090810; MACOM-INF-090845; MACOM-INF-
                  090846; MACOM-INF-090855; MACOM-INF-090859;
  19              MACOM-INF-090983; MACOM-INF-090985; MACOM-
  20              INF-090987; and MACOM-INF-090989.
  21                     MACOM’s investigation of the subject matter of this
  22              Interrogatory is ongoing. Pursuant to Federal Rule of Civil
                  Procedure 26(e), MACOM reserves the right to supplement
  23              this Response as further information becomes available.
  24
                  REQUEST FOR PRODUCTION NO. 97
  25
                          All communications by MACOM to third parties
  26              regarding the present litigation and MACOM’s basis for its
  27              rights under the Purchased patents, including
                  communications to Nokia regarding MACOM’s basis for
  28              its rights under the Purchased Patents.

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   1              RESPONSE TO REQUEST FOR PRODUCTION NO. 97
   2                      MACOM incorporates the General Objections and
   3              Objections to Definitions and Instructions set forth above.
                  MACOM objects to the Request as overly broad, unduly
   4              burdensome, vague, and ambiguous. MACOM objects to
   5              the terms “communications,” “third parties,” “regarding,”
                  “present litigation,” “basis,” “rights,” and “Purchased
   6              Patents” as overly broad, unduly burdensome, vague, and
   7              ambiguous. MACOM objects to this Request on the
                  grounds that it fails to describe the information requested
   8              with reasonable particularity. MACOM objects to the
   9              extent this Request seeks information in Defendants’
                  possession or that is publicly available. MACOM objects to
  10              the extent this Request seeks information that is not relevant
  11              to the subject matter of this action and/or is not proportional
                  to the needs of the case. MACOM objects that this Request
  12              is not reasonably limited as to time and thus seeks to impose
  13              undue burden on MACOM. MACOM objects to this
                  Request to the extent it seeks third-party confidential
  14              information that MACOM is not permitted to disclose
  15              under applicable protective orders and/or private
                  agreements. MACOM objects to this Request to the extent
  16              it seeks information protected by the attorney-client
  17              privilege and/or attorney work product doctrine and/or any
                  other applicable privilege or immunity.
  18
  19                      Subject to and without waiving the foregoing general
                  and specific objections, MACOM responds as follows:
  20              MACOM will produce responsive, non-privileged
  21              communications with GaN basestation customers regarding
                  this litigation and/or the Nitronex Patents, to the extent they
  22              exist and can be located upon a reasonable search.
  23              Negotiations with Defendants are ongoing as to the timing
                  of document productions.
  24
                  1.    Defendants’ Argument
  25
                        a)     Background
  26
            On August 2, 2017, Defendants served Interrogatory No. 12, and on May 2,
  27
       2018, Plaintiffs supplemented their response.       On May 4, 2018, counsel for
  28

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   1 Defendants sent a letter to counsel for Plaintiffs, explaining that Plaintiffs’ simple
   2 production of documents insufficiently responds to this interrogatory, which requests
   3 a description “all Communications,” including more than just emails. Defendants
   4 explained that Plaintiffs’ production of emails and other documents would not
   5 account for communications such as phone calls. On May 14 and 15, 2018, the parties
   6 met and conferred regarding this interrogatory in accordance with Local Rule 37.1
   7 but could not resolve their dispute.
   8         On August 2, 2017, Defendants served RFP 97, and on September 15, 2017,
   9 Plaintiffs responded. On January 25, 2018, the parties met and conferred regarding
  10 this Request in accordance with Local Rule 37.1. Because, however, Plaintiffs limited
  11 their response to “GaN basestation customers,” to the exclusion of shareholders, the
  12 press, suppliers, competitors, and other third parties, the parties could not resolve their
  13 dispute.
  14                      b)     Plaintiffs must identify and produce responsive third-
                                 party communications relating to this lawsuit,
  15                             MACOM’s rights under the Purchased patents, and
                                 Defendants.
  16
             Interrogatory No. 12 asks Plaintiffs to identify and describe certain third-party
  17
       communications, limited to those “relating to this Action or to Defendants.” This
  18
       narrowly tailored request would reveal communications central to Plaintiffs’ lost
  19
       profits theory. If, for example, a third-party customer told Plaintiffs that it was
  20
       purchasing from Defendants rather than Plaintiffs, the details of this communication
  21
       (such as that customer’s reasons for making that decision) would show whether
  22
       Plaintiffs have any claim for lost profits on the basis of that customer’s choice. RFP
  23
       135 requests similar communications. Moreover, some of the documents identified
  24
       by Plaintiffs establish that Plaintiffs and their trial counsel had detailed oral
  25
       discussions with customers about this lawsuit. See Ex. 11
  26
                                                                       Those discussions may
  27
  28

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   1 have influenced customers’ sales and business decision. As a result, Plaintiffs’ lost
   2 profits damages theory puts those customer discussions at issue.
   3        In response to Interrogatory No. 12, Plaintiffs identify some, but not all,
   4 communications. And there are surely more still to be identified. For example, some
   5 of the documents identified by Plaintiffs refer to telephone discussion with customers
   6 that appear to relate to Defendants and this lawsuit, but the documents do not provide
   7 the requested information about those discussion. F
   8
   9                but Plaintiffs have not provided the requested information about that
  10 telephone call. See id. In other cases, Plaintiffs produced several email chains
  11 indicating that discussions that began as emails ended with in-person or telephone
  12 communications. See Ex. 12,
  13                                    Interrogatory No. 12 is not limited to emails or call
  14 logs; Plaintiffs must describe any such phone calls, in-person discussions, and other
  15 communications. See United States v. Fleetwood Enters., Inc., 702 F. Supp. 1082,
  16 1094 (D. Del. 1988) (ordering plaintiff to respond to an interrogatory by describing
  17 written and oral communications with third parties concerning its litigation and other
  18 proceedings involving defendant).
  19        Admittedly, only a handful of the e-mails identified begin or end in oral
  20 discussions.     But this scarcity is all the more reason for producing such
  21 communications, as Plaintiffs’ burden to submit a full response will likely be low.
  22 After all, one would not expect that there would be a large number of communications
  23 with third parties about Defendants and this lawsuit, as opposed to about Plaintiffs’
  24 own business activities. On the flip side, the relevance and importance of these
  25 communications are high. Plaintiffs allege that Defendants’ wrongful conduct hurt
  26 Plaintiffs’ position in the marketplace. What was that position, and how were
  27 Plaintiffs broadcasting that position to third parties? How did Plaintiffs explain to
  28 third parties the harm allegedly caused by Defendants? Did they downplay it to save

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   1 face? Did they emphasize it to explain their circumstances? And importantly, how
   2 consistent was Plaintiffs’ position throughout these communications?
   3        In response to RFP 97, Plaintiffs agree to produce only certain customer
   4 communications.      Again, this narrow production overlooks the importance of
   5 Plaintiffs’ theory of this case. If Defendants’ allegedly wrongful conduct harmed
   6 Plaintiffs’ position in the marketplace, Plaintiffs may have discussed that harm in the
   7 context of this litigation with third parties. If Plaintiffs discussed this lawsuit with
   8 potential customers, who ultimately did not make purchases, Plaintiffs’ agreement to
   9 produce only customer communications would omit these critical communications.
  10 Thus, these communications are relevant and important, and Plaintiffs must produce
  11 documents responsive to RFP 97.
  12               2.    Plaintiffs’ Argument
  13                     a.     Interrogatory No. 12 Is Impermissibly Overbroad, And
                                Infineon Has Refused To Respond To The Exact Same
  14                            Request From MACOM
  15        In Interrogatory No. 12, Infineon asks MACOM to “[d]escribe with
  16 particularity all Communications You have had with any third party relating to this
  17 Action or to Defendants,” with no temporal limit or a limitation to relevant third
  18 parties, such as basestation customers. This is not a “narrowly tailored request.”
  19        Nevertheless, MACOM produced (and then identified in its response to
  20 Interrogatory No. 12 where possible) all written communications it was able to
  21 identify that discuss Defendants or the litigation. Some of these summarize or
  22 reference oral communications, and thus are responsive under Rule 33(d). Infineon
  23 identifies many of these documents in its discussion above, demonstrating that
  24 MACOM has provided this information to Infineon where it has it available. But it
  25 is unreasonable, as Infineon’s motion requests, to ask MACOM to also describe every
  26 single phone call or conversation that has ever transpired with anyone relating to
  27 this case or mentioning Infineon.
  28

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   1        Courts are rightly wary of such overly broad requests seeking unlimited
   2 communications. See, e.g. Menuel v. Herz Corp., 2009 WL 10665026 at *9 (N.D.
   3 Ga. Dec. 9, 2009) (deeming 30(b)(6) deposition topics “overly broad ‘catch-all’
   4 requests covering without limitation ‘virtually every conversation, discussion,
   5 complaint, request, response, document, etc.”); Wright v. Tenergy Christ Water, LLC,
   6 2008 WL 11377723 at *6 (D. Conn. April 14, 2008) (suggesting that interrogatory
   7 requesting “the date, time, place description, and witnesses to every conversation
   8 defendant ever had with an individual” where conversations were “regularly” held
   9 would constitute “an impermissibly overly broad interrogatory”).
  10        Infineon’s motion is particularly hypocritical when its own response to similar
  11 discovery requested by MACOM is considered. MACOM served an interrogatory on
  12 Infineon for “all communications, including but not limited to oral and written
  13 statements, representations, and marketing activities between Infineon and any of
  14 Nokia, Ericsson, ZTE, Huawei, or Samsung, related to actual or potential GaN-on- Si
  15 RF products or technologies, Infineon’s intellectual property rights, and/or
  16 MACOM.”        Ex. E.    This is obviously more narrowly tailored than Infineon’s
  17 Interrogatory No. 12, as it identifies the exact third-party communications sought (the
  18 five basestation customers).
  19        In response, Infineon identified only documents and did not provide
  20 descriptions of any oral communications. Id. Moreover, Infineon did not produce
  21 any communications between Infineon’s counsel and basestation customers, although
  22 such communications have surely occurred over the course of the litigation relating
  23 to the litigation, indemnity negotiations, the injunction, and production of customer
  24 documents. MACOM did not play games; it produced documents in this category,
  25 even when Infineon has not. This makes its follow-up requests about communications
  26 about the preliminary injunction between MACOM and Ericsson particularly
  27 hypocritical. Additionally, and notably, Judge Snyder found that Infineon violated
  28 the preliminary injunction by initially failing to notify customers of the injunction.

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   1 Dkt. 398 at 9 (“Infineon Americas failed to produce any other documents
   2 demonstrating that it provided notice of the injunction to other customers at any
   3 time.”). It is ironic that Infineon is now attempting to fault MACOM for updating
   4 customers on these issues in the face of Infineon’s failure to do so.
   5         Indeed, when the parties conferred regarding Infineon’s Interrogatory No. 12
   6 to MACOM, MACOM asked whether Infineon would be willing agree to provide the
   7 same supplementation for Interrogatory No. 1 as it was requesting from MACOM on
   8 Interrogatory No. 12. Infineon refused. Ex. 6 at 3. That Infineon is unwilling to
   9 provide the same supplementation it requests from MACOM (on a more narrow
  10 request) is telling.       MACOM believes that the present request with respect to
  11 Interrogatory No. 12 should be denied, but—to the extent it is not—Infineon should
  12 be ordered to provide the same discovery from MACOM that it moves MACOM to
  13 provide and which it has refused to provide itself.
  14                       b.  Request No. 97 Is Similarly Overbroad, And MACOM
                               Has Already Provided A Reasonable Response
  15
             Request No. 97 poses a sweeping request for “all communications by MACOM
  16
       to third parties regarding the present litigation and MACOM’s basis for its rights
  17
       under the Purchased patents.” MACOM nevertheless agreed to produce documents
  18
       in response to this request, although it reasonably limited its search to only the
  19
       basestation customers that are the subject of the claims here.
  20
             Infineon complains above that MACOM has only agreed to produce “certain
  21
       customer communications,” arguing that it must understand what third-party
  22
       customers have told MACOM. But MACOM has produced its communications with
  23
       all basestation customers, and there is no dispute that these basestation customers are
  24
       the only customers that matter in this case, where Infineon is attempting to invade its
  25
       promise of exclusivity to MACOM for the basestation market. Infineon’s argument
  26
       is so divorced from the reality of what is at issue in the case, it almost seems it must
  27
       have been drafted by someone with no knowledge of the case. Infineon’s breaches of
  28

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   1 MACOM’s exclusivity have occurred in the basestation field, and MACOM’s claim
   2 for damages is based on lost sales to these basestation customers.
   3        Infineon has not articulated why communications with any other third party
   4 beyond basestation customers (such as a customer for another line of MACOM’s
   5 business–e.g., military radars) could be relevant or proportional here, such that the
   6 burden of conducting searches of many different custodians files could be justified,
   7 where the issues in the case are focused on sales to and communications with
   8 basestation customers alone.      Infineon, moreover, has not agreed to produce
   9 communications with any customers outside of the basestation business (indeed, it
  10 has not even produced its communications with basestation customers, as is the
  11 subject of MACOM’s concurrent motion to compel).
  12        Because MACOM has produced all responsive documents relevant to Request
  13 No. 97 related to basestation customers, MACOM respectfully requests that the Court
  14 deny Infineon’s motion to compel be denied for that RFP as well.
  15        E.    Defendants’ Request for Production No. 190
  16        Below are Defendants’ RFP 190 and Plaintiffs’ response.
  17              REQUEST FOR PRODUCTION NO. 190
  18
                        All communications between Morgan Stanley,
  19              including its affiliates and agents, and MACOM regarding
  20              any work performed by Morgan Stanley under the letter
                  agreement dated March 16, 2015 related to the “Base
  21              Station Business assets” of Infineon AG.
  22              RESPONSE TO REQUEST FOR PRODUCTION NO. 190
  23
                         MACOM incorporates the General Objections and
  24              Objections to Definitions and Instructions set forth above.
  25              MACOM objects to the Request as overly broad, unduly
                  burdensome, vague, and ambiguous. MACOM objects to
  26              the terms “communications,” “Morgan Stanley,”
  27              “affiliates,” “agents,” “work performed,” “letter
                  agreement,” “Base Station Business assets” and “Infineon
  28              AG” as overly broad, unduly burdensome, vague, and

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   1                ambiguous. MACOM objects to this Request on the
                    grounds that it fails to describe the information requested
   2
                    with reasonable particularity. MACOM objects to the
   3                extent this Request seeks information that is not relevant to
                    the subject matter of this action and/or is not proportional
   4
                    to the needs of the case. MACOM objects to this Request to
   5                the extent it seeks third-party confidential information that
                    MACOM is not permitted to disclose under applicable
   6
                    protective orders and/or private agreements or other
   7                confidentiality obligations. MACOM objects to this
   8                Request to the extent it seeks information protected by the
                    attorney-client privilege and/or attorney work product
   9                doctrine and/or any other applicable privilege or immunity.
  10                MACOM objects to the extent this Request seeks
                    information that is already in Infineon’s possession.
  11
                           Subject to and without waiving the foregoing general
  12                and specific objections, MACOM responds as follows: As
  13                drafted, this Request is overbroad and disproportionate to
                    the needs of the case, and seeks information that is already
  14                in Infineon’s possession.
  15
                    1.    Defendants’ Argument
  16
                          a)     Background
  17
             On February 6, 2018, Defendants served RFP 190, and on March 8, 2018,
  18
       Plaintiffs responded. On March 30, 2018, counsel for Defendants sent a letter to
  19
       counsel for Plaintiffs, explaining that Plaintiffs’ objections were misplaced. On April
  20
       9, 2018, the parties met and conferred regarding this Request in accordance with Local
  21
       Rule 37.1 but could not resolve their dispute.
  22
                          b)     Plaintiffs must produce responsive documents showing
  23                             certain communications with Morgan Stanley, who
                                 helped Plaintiffs attempt to purchase certain of
  24                             Defendants’ assets.
  25         RFP 190 seeks certain communications between Plaintiffs and Morgan Stanley.
  26 By the March 16, 2015 letter agreement referenced in RFP 190,
  27
  28

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   1
   2
   3         Plaintiffs respond to RFP 190 by offering nothing. They object that the request
   4 is overbroad and disproportionate to the needs of this case. They add that Defendants
   5 already have the information sought.
   6         The communications sought by RFP 190 are relevant to this case. Plaintiffs’
   7
   8                                                              Plaintiffs have alleged that
   9 Defendants’ wrongful activities have inflated the value of Defendants’ RF base station
  10 business. Thus, the value Plaintiffs themselves attributed to the business at a time
  11 before such allegedly wrongful conduct began is highly relevant to Plaintiffs’ unjust
  12 enrichment claim.
  13         Plaintiffs’ objection that Defendants already possess the communications
  14 sought by RFP 190 fails. Plaintiffs do not explain how Defendants came to possess
  15 these communications, nor do they identify specific, responsive communications that
  16 they refuse to produce on this basis. Such a response is insufficient because Plaintiffs
  17 have an obligation to produce documents in their possession, custody, or control. See
  18 Walt Disney Co. v. DeFabiis, 168 F.R.D. 281, 284 (C.D. Cal. 1996) (“[D]efendant . . .
  19 has not produced documents and has merely referred to documents he claims to be in
  20 the possession of plaintiff. Such responses are insufficient; defendant . . . is required
  21 to produce documents he has in his possession, custody or control, regardless of
  22 whether he believes plaintiff already has those documents” (emphasis added)).
  23         Plaintiffs have no valid objections to RFP 190. They must produce responsive
  24 documents.
  25               2.     Plaintiffs’ Argument
  26         This issue is moot.
  27         In 2015, Infineon and MACOM very briefly discussed a business transaction
  28                                                                         Infineon knows

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   1 this, because Infineon was a party to those discussions. Infineon also knows that the
   2 deal went nowhere. Other than a few preliminary discussions between high-level
   3 MACOM and Infineon executives, nothing happened for this deal.
   4        MACOM, meanwhile, had signed Morgan Stanley up to advise on the deal in
   5 case it did proceed. Although this fact is not particularly relevant, MACOM has not
   6 tried to hide it. Indeed, it produced the engagement letter and indemnity agreement
   7 with Morgan Stanley in response to other overbroad requests from Infineon. And it
   8 is the engagement letter with Morgan Stanley that then inspired RFP No. 190.
   9 MACOM also did not withhold any documents from its searches related to this issue,
  10 and it in fact produced to Infineon internal communications referencing its hiring of
  11 Morgan Stanley. The fact is, since these discussions went nowhere (as Infineon is
  12 aware), there is simply not much of anything for MACOM to produce on this topic.
  13        Despite the very peripheral relevance of these issues to the case, Infineon issued
  14 a subpoena to Morgan Stanley for the same materials that are sought by RFP No. 190.
  15 Ex. G. MACOM understands that Morgan Stanley searched for documents in
  16 response to the subpoena, found nothing beyond the engagement letter, has so
  17 informed Infineon, and that Infineon is not pursuing discovery from Morgan Stanley.
  18        Nevertheless, Infineon makes this issue the subject of motion practice here,
  19 burdening MACOM and the Court unnecessarily. Rather than waste further time on
  20 this issue, MACOM has now conducted a supplemental search for any additional
  21 communications with Morgan Stanley and confirms that it has identified a single
  22 additional communication (an exchange of a draft engagement letter) with Morgan
  23 Stanley in addition to what was already produced, that it will also agree to produce.
  24 It has nothing further to produce responsive to RFP No. 190. This is hardly surprising,
  25 given that—as Infineon well knows—the parties’ March 2015 discussions about a
  26 deal never progressed.
  27        This issue is therefore moot and Infineon’s motion should be denied.
  28

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   1        F.    Defendants’ Request for Production No. 212
   2        Below are Defendants’ RFP 212 and Plaintiffs’ response.
   3              REQUEST FOR PRODUCTION NO. 212
   4
                        All documents concerning any valuation of Nitronex,
   5              LLC before or during GaAs Labs’ acquisition of Nitronex,
   6              LLC including any valuation of Nitronex, LLC’s
                  technology or intellectual property rights
   7
                  RESPONSE TO REQUEST FOR PRODUCTION NO. 212
   8
   9                      MACOM incorporates the General Objections and
                  Objections to Definitions and Instructions set forth above.
  10              MACOM objects to the Request as overly broad, unduly
  11              burdensome, vague, and ambiguous. MACOM objects to
                  this Request to the extent it is duplicative of previous
  12              discovery requests served by Infineon. MACOM objects to
  13              the terms “concerning,” “any valuation,” “GaAs Labs’
                  acquisition,” “technology,” and “intellectual property
  14              rights” as overly broad, unduly burdensome, vague, and
  15              ambiguous. MACOM objects to this Request on the
                  grounds that it fails to describe the information requested
  16              with reasonable particularity. MACOM objects to the
  17              extent this Request seeks information that is not relevant to
                  the subject matter of this action and/or is not proportional
  18              to the needs of the case. MACOM objects that this Request
  19              is not reasonably limited as to time and thus seeks to impose
                  undue burden on MACOM. MACOM objects to this
  20              Request to the extent it seeks third-party confidential
  21              information that MACOM is not permitted to disclose
                  under applicable protective orders and/or private
  22              agreements. MACOM objects to this Request to the extent
  23              it seeks information protected by the attorney-client
                  privilege and/or attorney work product doctrine and/or any
  24              other applicable privilege or immunity.
  25
                        Subject to and without waiving the foregoing general
  26              and specific objections, MACOM responds as follows: This
  27              Request seeks information outside of MACOM’s
                  possession, custody, or control and that is overbroad and
  28

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   1               disproportionate to the needs of the case. MACOM will not
                   produce documents in response to this Request.
   2
   3               1.    Defendants’ Argument

   4                     a)     Background
   5        On March 30, 2018, Defendants served RFP 212, and on April 30, 2018,
   6 Plaintiffs responded. On May 4, 2018, counsel for Defendants sent a letter to counsel
   7 for Plaintiffs, explaining the high relevance of information sought in this request and
   8 reminding Plaintiffs of their obligation to produce documents within their possession,
   9 custody, or control. On May 14 and 15, 2018, the parties met and conferred regarding
  10 this Request in accordance with Local Rule 37.1 but could not resolve their dispute.
  11                    b)    Forcing Defendants to subpoena third-party GaAs Labs
                              does not allow Plaintiffs to disregard their discovery
  12                          obligations.

  13       RFP 212 seeks documents regarding GaAs Labs’ acquisition of Nitronex, LLC
  14 and any valuations of Nitronex’s intellectual property. GaAs Labs acquired Nitronex
  15 and then later sold Nitronex to MACOM. Defendants have seen information
  16 indicating that GaAs Labs and MACOM at one time were commonly owned or
  17 controlled by the same person. And it appears that GaAs Labs remains affiliated with
  18 MACOM in some way. GaAs Labs’s website shows MACOM’s logo and describes
  19 it as part of GaAs Labs’s “portfolio.” See Ex. 1, GaAs Labs’ Portfolio Webpage
  20 Printout.
  21       Once again, the requested documents would contain critical valuation data,
  22 showing the worth of Nitronex’s technology and their intellectual property rights at
  23 issue in this case
  24        Plaintiffs refuse to produce documents in response to this request, objecting
  25 that it calls for documents outside their possession, custody, or control. Plaintiffs
  26 indicated during meet and confers that they have no corporate affiliation with GaAs
  27 Labs. This assertion is belied by GaAs Labs’ website, however, where the “Portfolio”
  28 page lists “MACOM Technology Solutions Inc.” as its sole affiliate. Id. On this

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   1 faulty reasoning, Plaintiffs claim that they need not produce any documents in
   2 response to RFP 212 and that instead, Defendants should subpoena GaAs Labs (which
   3 Defendants have done).
   4        Even assuming that GaAs Labs’ website means something other than exactly
   5 what it says, Plaintiffs still must produce responsive documents. Plaintiffs’ objection
   6 ignores the rules of discovery, which permit Defendants to serve a request “to produce
   7 . . . items in the responding party’s possession, custody, or control.” FED. R. CIV. P.
   8 34(a)(1) (emphasis added). By definition, RFP 212 cannot seek documents outside
   9 Plaintiffs’ possession, custody, or control. See Zamperla, Inc. v. I.E. Park SrL,
  10 613CV1807ORL37KRS, 2014 WL 12614505, at *4 (M.D. Fla. Nov. 3, 2014)
  11 (“Objections      to    producing      documents       not    in     [the     producing
  12 party’s] possession, custody or control . . . are unnecessary.       Rule 34 requires
  13 production only of documents in a party’s possession, custody or control.”).
  14        Further, RFP 212 does not request GaAs Labs’ documents, which Defendants
  15 will receive in due course pursuant to a subpoena served on GaAs Labs. Instead, RFP
  16 212 requests documents “concerning any valuation of Nitronex, LLC before or during
  17 GaAs Labs’ acquisition of Nitronex, LLC . . .” This RFP seeks documents concerning
  18 valuations of Nitronex, not documents residing only in GaAs Labs’ files. The
  19 reference to GaAs Labs identifies the relevant time period, not the sole entity
  20 responsible for handling these documents.
  21        Regardless, Plaintiffs have an obligation to produce responsive documents in
  22 their possession, custody, or control. And this Court has rejected the proposition that
  23 Plaintiffs need not comply with this obligation because their responsive documents
  24 may overlap with a third party’s to-be-produced documents. In Prime Focus Creative
  25 Servs. Canada, Inc. v. Legend3D, Inc., the defendant sought communications between
  26 the plaintiff and SunTrust, a third party who acted as the administrative agent for
  27 lenders    involved    in   transactions   regarding   one   of    the   patents-in-suit.
  28 CV152340MWFPLAX, 2016 WL 6662724, at *1, 3 (C.D. Cal. July 8, 2016)

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   1 (Abrams, M.J.). The plaintiff argued that the defendant’s subpoena on SunTrust
   2 obviated the need for this request because SunTrust already produced these
   3 documents. Id. at *3. This Court, rejecting the plaintiff’s argument, explained that
   4 the defendant’s request was proportional to the needs of the case: “Defendant is
   5 entitled to see what plaintiff has in its possession, custody, or control, and need not
   6 rely on SunTrust to complete its production when plaintiff has access to the same
   7 information and has not shown that production is otherwise burdensome.” Id.
   8 (emphasis original). Here, as in Prime Focus, production of a specific class of
   9 documents from a certain time period is not burdensome, and Plaintiffs’ objection is
  10 misplaced.
  11         Finally, the documents requested by RFP 212 are relevant. Plaintiffs allege
  12 that Defendants’ wrongful conduct caused lost profits and rely on projections of
  13 anticipated future revenue. The profits allegedly lost by Plaintiffs depend on their
  14 ability to have earned these profits in the first place. And at the center of Plaintiffs’
  15 potential profits is the value of the Nitronex Patents. The valuation placed on
  16 Nitronex when it was acquired represents a snapshot of the market value of that
  17 technology and the projections of the future potential for the business at the time.
  18 Plaintiffs cannot deny the germaneness of these valuations to this action, and indeed,
  19 aside from a boilerplate objection, they do not raise a relevance objection. Plaintiffs
  20 must produce documents responsive to RFP 212.
  21               2.     Plaintiffs’ Argument
  22         Although MACOM has attempted to moot this nonsensical request several
  23 times, Infineon continues to revive it without reason. By way of background, in 2012,
  24 GaAs Labs acquired Nitronex. In 2014, MACOM acquired Nitronex from GaAs
  25 Labs.
  26         Infineon’s request broadly seeks GaAs Labs information from MACOM: “[a]ll
  27 documents concerning any valuation of Nitronex, LLC before or during GaAs Labs’
  28

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   1 acquisition of Nitronex, LLC including any valuation of Nitronex, LLC’s technology
   2 or intellectual property rights.”
   3        As MACOM has explained to Infineon, “GaAs Labs is a separate company
   4 from MACOM, and is neither controlling, controlled by, nor under common control
   5 with MACOM.” Ex. 6 at 2; Ex. F. It therefore makes no sense to seek GaAs Labs
   6 information from MACOM.             Infineon vaguely says, “Defendants have seen
   7 information indicating that GaAs Labs and MACOM at one time were commonly
   8 owned or controlled by the same person,” but does not state what this alleged
   9 information is and provides no reason to suggest that any such information is current
  10 today. Indeed, all Infineon provides is a single page it claims to be from a GaAs Labs
  11 website that discusses MACOM, but nowhere does that website say that MACOM is
  12 owned or controlled by GaAs Labs.
  13        Regardless, MACOM confirmed to Infineon that it has produced all relevant
  14 documents found through searches. In an email dated May 24, 2018, MACOM stated
  15 the following:
  16
                   To the extent that it has located any GaAs Labs documents in
  17               MACOM’s possession during its prior searches for documents
  18               responsive to Infineon’s requests (including its requests relating
                   to, e.g., MACOM’s acquisition of Nitronex assets from GaAs
  19               Labs, the Nitronex Patents, and the 2010 IR/Nitronex
  20               Agreements), it has not withheld any such documents from its
                   production on the basis of the fact that they are GaAs Labs
  21               documents. In other words, if a responsive GaAs Labs document
  22               happened to be in MACOM’s possession and it was located
                   during earlier searches, it was produced. There is therefore no
  23               reason to now go back and repeat searches.
  24 Ex. 6 at 2.
  25        And, to the extent it is true that, as Infineon confusingly states above, “[t]he
  26 reference to GaAs Labs identifies the relevant time period, not the sole entity
  27 responsible for handling these documents,” MACOM has also confirmed that it has
  28 searched for and produced responsive documents, such as “documents related to

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   1 valuation of Nitronex” (Request No. 18) and “documents related to valuations of the
   2 Nitronex Patents in connection with MACOM’s acquisition of Nitronex” (Request
   3 No. 19). Ex. F. Thus, it is unclear what more Infineon expects from this request.
   4        MACOM has fully complied with this Request. MACOM respectfully requests
   5 that the Court deny Infineon’s motion to compel.
   6        G.    Defendants’ Request for Production No. 38
   7        Below are Defendants’ RFP 38 and Plaintiffs’ response.
   8
                  REQUEST FOR PRODUCTION NO. 38
   9
                         All documents concerning MACOM’s contracts,
  10
                  agreements, licenses, and technology transfers to third
  11              parties related to the “Purchased Patents” and intellectual
                  property related to GaN-on-Si and GaN-on-SiC technology.
  12
  13              RESPONSE TO REQUEST FOR PRODUCTION NO. 38
  14                      MACOM incorporates the General Objections and
                  Objections to Definitions and Instructions set forth above.
  15
                  MACOM objects to the Request as overly broad, unduly
  16              burdensome, vague, and ambiguous. MACOM objects to
  17              the terms “concerning,” “contracts,” “agreements,”
                  “licenses,” “technology transfers,” “third parties,” “related
  18              to,” “Purchased Patents,” “intellectual property,” and
  19              “technology” as overly broad, unduly burdensome, vague,
                  and ambiguous. MACOM objects to this Request on the
  20              grounds that it fails to describe the information requested
  21              with reasonable particularity. MACOM objects to the
                  extent this Request seeks information that is not relevant to
  22              the subject matter of this action and/or is not proportional
  23              to the needs of the case. MACOM objects that this Request
                  is not reasonably limited as to time and thus seeks to impose
  24              undue burden on MACOM. MACOM objects to this
  25              Request to the extent it seeks information protected by the
                  attorney-client privilege and/or attorney work product
  26              doctrine and/or any other applicable privilege or immunity.
  27                   Subject to and without waiving the foregoing general
  28              and specific objections, MACOM responds as follows:

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   1               MACOM will produce responsive, non-privileged license
                   agreements in its possession related to the Nitronex Patents,
   2
                   to the extent they exist and can be located upon a reasonable
   3               search. Negotiations with Defendants are ongoing as to the
                   timing of document productions.
   4
   5               1.     Defendants’ Argument

   6         RFP 38 seeks “[a]ll documents concerning MACOM’s contracts, agreements,
   7 licenses, and technology transfers to third parties related to the ‘Purchased Patents’
   8 and intellectual property related to GaN-on-Si and GaN-on-SiC technology.”
   9         Plaintiffs agree to produce “non-privileged license agreements in [their]
  10 possession related to the Nitronex Patents” in response to RFP 38. In other words,
  11 with respect to the Nitronex Patents, Plaintiffs agreed to produce only licenses—
  12 refusing to produce any other contracts, agreements, or technology transfers relating
  13 to the Nitronex Patents. Furthermore, with respect to GaN-on-Si and GaN-on-SiC
  14 technology, Plaintiffs refuse to produce any of the requested documents (contracts,
  15 agreements, licenses, and technology transfers). In this case, the parties dispute the
  16 value of both the Nitronex Patents and the GaN-on-Si and GaN-on-SiC technology
  17 covered by the patents. The requested agreements are discoverable because they are
  18 likely relevant to the value of the patents and the technology covered by those patents.
  19                      a)     Background
  20         On August 2, 2017, Defendants served RFP 38 and on September 15, 2017,
  21 Plaintiffs responded. On January 25, 2018, the parties met and conferred regarding
  22 this RFP in accordance with Local Rule 37.1, and Plaintiffs offered an arbitrarily
  23 limited response of “license agreements in [their] possession related to the Nitronex
  24 Patent.” Because Plaintiffs refused to produce other contracts, agreements, and
  25 technology transfers generally, and refused to produce any agreements (including
  26 licenses) relating to GaN-on-Si and GaN-on-SiC technology other than the Nitronex
  27 patents, the parties could not resolve their dispute.
  28

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   1                       b)    Documents responsive to RFP 38 relate to Plaintiffs’
                                 damages claim.
   2
             Plaintiffs agree to produce “non-privileged license agreements in [their]
   3
       possession related to the Nitronex Patents” in response to RFP 38.
   4
             With respect to the Nitronex Patents, Plaintiffs agreed to produce only
   5
       licenses—refusing to produce any other contracts, agreements, or technology
   6
       transfers relating to the Nitronex Patents. The parties dispute the value of the Nitronex
   7
       Patents at issue. Just like licenses, these other types agreements are relevant to the
   8
       value of these patents. For example, if Plaintiffs assigned rights under the patents to
   9
       another party, that would be relevant to the value of the patents. If Plaintiffs agreed
  10
       not to sue a third party, that would be equivalent to a license and be relevant to the
  11
       value of the patent just like the licenses that Plaintiffs have agreed to produce. If
  12
       Plaintiffs encumbered the patents in other ways, that would also be relevant to the
  13
       patents’ value.
  14
             Furthermore, with respect to GaN-on-Si and GaN-on-SiC technology,
  15
       Plaintiffs refuse to produce any of the requested documents (contracts, agreements,
  16
       licenses, and technology transfers). Again, the value of GaN-on-Si and GaN-on-SiC
  17
       technology is a hotly disputed issue in this case, and the requested documents are
  18
       highly relevant to the value of that technology. Furthermore, Plaintiffs’ damages
  19
       claim appears to rely on their argument that Plaintiffs—and Plaintiffs alone—can
  20
       market and sell GaN-on-Si RF products to basestation customers. If Plaintiffs have
  21
       any contracts, agreements, licenses, and technology transfers relating to Gan-on-Si
  22
       technology, that would greatly undermine the basis of Plaintiff’s damages claim.
  23
       Furthermore, if Plaintiffs transferred GaN-on-Si technology to another party, such an
  24
       agreement may constitute an implicit license to the Nitronex Patents, and thus, it
  25
       would be relevant to the value of the Nitronex Patents, just like the licenses that
  26
       Plaintiffs have agreed to produce.
  27
  28

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   1               2.    Plaintiffs’ Argument
   2        This issue is moot.     Request No. 38 seeks “[a]ll documents concerning
   3 MACOM’s contracts, agreements, licenses, and technology transfers to third parties
   4 related to the ‘Purchased Patents’ and intellectual property related to GaN-on-Si and
   5 GaN-on-SiC technology.”
   6        Infineon complains that MACOM “only” agreed to produce licenses “relating
   7 to the Nitronex Patents.” This does not reflect an “arbitrary limitation” on MACOM’s
   8 part, as Infineon contends. Instead, it reflects the realities of the agreements between
   9 MACOM and Infineon that are in dispute in this case. Under those agreements,
  10 MACOM has rights to sublicense the Nitronex Patents in certain fields. It is the
  11 sublicenses that MACOM has given that are relevant to this case and which MACOM
  12 has agreed to produce. MACOM has no other licenses or agreements relating to the
  13 Nitronex Patents of which it is aware beyond those that it has already produced.
  14        But Infineon’s RFP goes beyond the Nitronex Patents and also overbroadly
  15 seeks any agreements related to any MACOM GaN technology, even those unrelated
  16 to the disputes in this case. The request is not tied to the agreements between
  17 MACOM and Infineon or even the Nitronex Patents that are relevant here. To the
  18 extent that Infineon is seeking agreements on any subject (including subjects beyond
  19 patent licenses) that MACOM may have with any customer, business partner, or
  20 anyone else with respect to GaN technology and IP that has no connection with this
  21 case, this is inappropriate. Nor has Infineon even attempted to justify the overbroad
  22 scope of such a request.
  23        If Infineon’s concern is whether MACOM has produced all agreements relating
  24 to the Nitronex Patents, it has no cause for concern; those have all been produced. It
  25 is entitled to nothing more. Moreover, to the extent that Infineon is seeking other
  26 documents relating to MACOM’s agreements relating to the Nitronex Patents,
  27 MACOM has agreed to and has produced these documents as well. For instance, as
  28 explained in MACOM’s opposition to the motion to compel that Infineon filed on

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   1 May 31, 2018, Dkt. 513, MACOM has agreed to produce the following documents in
   2 excess of Infineon’s Request No. 38, to the extent that they are in MACOM’s
   3 possession and can be located upon a reasonable search:
   4             Documents relating to MACOM’s strategic reasons for entering into a
   5                relationship with ST and communications with MACOM’s customers
   6                regarding MACOM’s relationship with ST.
   7             Documents sufficient to show ST’s capacity to produce GaN-on-Si or
   8                GaN-on-SiC wafers.
   9             Documents sufficient to show ST’s plans for supplying GaN-on-Si or
  10                GaN-on-SiC wafers to third parties.
  11             Documents sufficient to show ST’s plans or strategy for developing
  12                markets outside wireless infrastructure.
  13             Documents sufficient to show the reasons for the decision as to when,
  14                where, and how to announce MACOM’s collaboration with ST and for
  15                any decision to postpone or abstain from announcing MACOM’s
  16                collaboration with ST.
  17 Dkt. 513 at 60-61.
  18         This is in addition to MACOM’s prior agreement to produce non-privileged
  19 communications with ST relating to this lawsuit, the 2010 IP Purchase Agreement,
  20 2010 License Agreement, the Licensed Patents, or Defendants. Id. at 61.
  21         Similarly, MACOM agreed to produce its communications with IQE, regarding
  22 the litigation, Infineon, and the Nitronex Patents in response to RFP No. 174. Ex.14
  23 at 3.
  24         Thus, MACOM has more than adequately provided Infineon with relevant
  25 communications with its licensees. In any event, MACOM should not have to guess
  26 at what Infineon is seeking. MACOM has interpreted Infineon’s requests to the best
  27 of its ability and is providing everything it can think of as being relevant, as described
  28

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   1 above. MACOM respectfully requests that the Court deny Infineon’s motion to
   2 compel on this issue.
   3        H.    Defendants’ Requests for Production Nos. 214 and 215
   4        Below are Defendants’ RFPs 214 and 215 and Plaintiffs’ responses.
   5              REQUEST FOR PRODUCTION NO. 214
   6
                       All documents concerning the transfer of Epi
   7              manufacturing to IR, including communications involving
   8              John Bell, Charlie Shalvoy, Scott Kahler, Kin Tan, John
                  Roberts and/or Pradeep Rajagopal.
   9
                  RESPONSE TO REQUEST FOR PRODUCTION NO. 214
  10
  11                     MACOM incorporates the General Objections and
                  Objections to Definitions and Instructions set forth above.
  12              MACOM objects to the Request as overly broad, unduly
  13              burdensome, vague, and ambiguous. MACOM objects to
                  this Request to the extent it is duplicative of previous
  14              discovery requests served by Infineon. MACOM objects to
  15              the terms “concerning,” “transfer,” “Epi manufacturing,”
                  and “involving” as overly broad, unduly burdensome,
  16              vague, and ambiguous. MACOM objects to this Request on
  17              the grounds that it fails to describe the information
                  requested with reasonable particularity. MACOM objects to
  18              the extent this Request seeks information in Defendants’
  19              possession. MACOM objects to the extent this Request
                  seeks information that is not relevant to the subject matter
  20              of this action and/or is not proportional to the needs of the
  21              case. MACOM objects that this Request is not reasonably
                  limited as to time and thus seeks to impose undue burden
  22              on MACOM. MACOM objects to this Request to the extent
  23              it seeks third-party confidential information that MACOM
                  is not permitted to disclose under applicable protective
  24              orders and/or private agreements. MACOM objects to this
  25              Request to the extent it seeks information protected by the
                  attorney-client privilege and/or attorney work product
  26              doctrine and/or any other applicable privilege or immunity.
  27
                        Subject to and without waiving the foregoing general
  28              and specific objections, MACOM responds as follows: As

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   1              drafted, this Request is overly broad, unduly burdensome,
                  and disproportionate to the needs of the case. MACOM is
   2
                  willing to meet and confer with Defendants regarding this
   3              Request, provided that Defendants first narrow it to a
                  reasonable scope.
   4
   5              REQUEST FOR PRODUCTION NO. 215
   6                    All communications involving John Bell, Charlie
                  Shalvoy, Scott Kahler, Kin Tan, John Roberts and/or
   7
                  Pradeep Rajagopal concerning the Technology Transfer
   8              Agreement.
   9              RESPONSE TO REQUEST FOR PRODUCTION NO. 215
  10
                         MACOM incorporates the General Objections and
  11              Objections to Definitions and Instructions set forth above.
  12              MACOM objects to the Request as overly broad, unduly
                  burdensome, vague, and ambiguous. MACOM objects to
  13              this Request to the extent it is duplicative of previous
  14              discovery requests served by Infineon. MACOM objects to
                  the terms involving,” “concerning,” and “the Technology
  15              Transfer Agreement” as overly broad, unduly burdensome,
  16              vague, and ambiguous. MACOM objects to this Request on
                  the grounds that it fails to describe the information
  17              requested with reasonable particularity. MACOM objects to
  18              the extent this Request seeks information in Defendants’
                  possession. MACOM objects to the extent this Request
  19              seeks information that is not relevant to the subject matter
  20              of this action and/or is not proportional to the needs of the
                  case. MACOM objects that this Request is not reasonably
  21              limited as to time and thus seeks to impose undue burden
  22              on MACOM. MACOM objects to this Request to the extent
                  it seeks third-party confidential information that MACOM
  23              is not permitted to disclose under applicable protective
  24              orders and/or private agreements. MACOM objects to this
                  Request to the extent it seeks information protected by the
  25              attorney-client privilege and/or attorney work product
  26              doctrine and/or any other applicable privilege or immunity.

  27                    Subject to and without waiving the foregoing general
                  and specific objections, MACOM responds as follows: As
  28

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    1               drafted, this Request is overly broad, unduly burdensome,
                    and disproportionate to the needs of the case. MACOM is
    2
                    willing to meet and confer with Defendants regarding this
    3               Request, provided that Defendants first narrow it to a
                    reasonable scope.
    4
    5               1.    Defendants’ Argument

    6        RFP 214 requests documents concerning the transfer of Epi manufacturing to
    7 IR, including communications involving six identified individuals. Similarly, RFP
    8 215 seeks communications regarding the Technology Transfer Agreement that
    9 involve these same six identified individuals.
   10       Plaintiffs agree to produce nothing in response to RFPs 214 and 215. These
   11 responses ignore the importance of these requests. Plaintiffs contend that the Court
   12 should not imply a negative covenant against Nitronex into the license agreement
   13 because no technology was transferred from IR to MACOM. These documents relate
   14 to Nitronex and IR’s business relationship, which included trying to use IR’s
   15 manufacturing capability to assist Nitronex with its technology. Contrary to
   16 MACOM’s argument that IR did not provide any technology to Nitronex, these
   17 documents may show that IR did, in fact, provide technology to Nitronex during the
   18 parties’ business relationship. Without any valid objections to these RFPs, Plaintiffs
   19 must produce responsive documents.
   20                   a)    Background
   21        On March 30, 2018, Defendants served RFPs 214 and 215, and on April 30,
   22 2018, Plaintiffs responded. On May 4, 2018, counsel for Defendants sent a letter to
   23 counsel for Plaintiffs, pointing to the relevance of these documents and the specific
   24 nature of these requests, which identify relevant individuals by name. On May 14 and
   25 15, 2018, the parties met and conferred regarding these RFPs in accordance with
   26 Local Rule 37.1 but could not resolve their dispute.
   27
   28

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    1                       b)    Documents responsive to RFPs 214 and 215 will reveal
                                  “facts and circumstances” that may show whether
    2                             Plaintiffs violated their negative implied covenant of
                                  good faith and fair dealing.
    3
              One of the issues in dispute is whether Infineon Americas properly terminated
    4
        the 2010 License Agreement in dispute.          In that License Agreement, Infineon
    5
        Americas granted Nitronex an exclusive license to practice the Licensed Patents in a
    6
        defined technical area called the “Field of Use.” The License Agreement states that
    7
        Nitronex’s license is “in the Field of Use only.” Infineon Americas contends that
    8
        Plaintiffs sold products outside that Field of Use, justifying termination of the License
    9
        Agreement. In response, Plaintiffs contend that Nitronex did not promise to refrain
   10
        from practicing the Licensed Patents outside the Field of Use. Infineon Americas,
   11
        however, contends that the Court should imply such a promise in the form of a implied
   12
        negative covenant. One of the fact issues relevant to an implied negative covenant is
   13
        the parties’ relationship, including whether any trade secrets or other technology was
   14
        transferred between the parties.
   15
              The requested documents relate to Nitronex and IR’s business relationship,
   16
        which included trying to use IR’s manufacturing capability to assist Nitronex with its
   17
        technology. Plaintiffs contend that IR did not provide any technology to Nitronex.
   18
        The requested documents relate to the parties’ business relationship, and Defendants
   19
        believe that these documents will show that IR did, in fact, provide technology to
   20
        Nitronex during that business relationship.        By seeking communications and
   21
        documents involving the identified agreements, these RFPs would uncover
   22
        documents relating to the parties’ performance under the relevant agreements.
   23
        Specifically, because RFPs 214 and 215 seek documents and communications relating
   24
        to certain identified transfers of technology and manufacturing responsibilities,
   25
        responsive documents will likely show whether IR provided any technology or know-
   26
        how to Nitronex. If there was any such technology transfer, these facts would support
   27
   28

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    1 implying a negative covenant in the parties’ License Agreement, prohibiting Nitroenx
    2 from practicing outside the field of use.
    3         To ease the burden of searching for such documents, Defendants have
    4 identified the specific individuals likely to have the responsive documents and
    5 communications.
    6         In the past, Plaintiffs have wrongly contended that the issues of termination and
    7 a negative implied covenant have been finally decided. That is not true. In its opinion
    8 on the Court’s preliminary injunction, the Federal Circuit stated, “Other facts and
    9 circumstances may give rise to an implied covenant not to practice outside a licensed
   10 field of use.” Ex. 13, January 29, 2018 Federal Circuit Opinion, Dkt. 419, at 8–9.
   11 The Federal Circuit invited the parties to develop the “facts and circumstances”
   12 necessary to determining whether Plaintiffs were under an implied negative covenant
   13 prohibiting them from practicing outside the field of use and whether they violated
   14 that implied covenant. RFPs 214 and 215 take the Federal Circuit up on its invitation
   15 by seeking information relevant to an implied negative covenant.
   16         Plaintiffs’ sole, non-boilerplate objection in response to these RFPs is that RFPs
   17 214 and 215 are overbroad, without an explanation of how or why. RFPs 214 and
   18 215 identify specific custodians by name and seek only documents and
   19 communications involving these employees as they relate to specific projects,
   20 transfers, and agreements, which the RFPs also identify by name. For these reasons,
   21 Plaintiffs must produce documents responsive to RFPs 214 and 215.
   22               2.     Plaintiff’s Argument
   23         This requested discovery cannot be justified and is disproportionate to the
   24 needs of the case. This Court has squarely rejected Infineon’s argument that the
   25 License Agreement contains an implied negative covenant. See Dkt. 140 at 41.
   26 Infineon chose not to appeal that issue, so the Federal Circuit did not consider it.
   27 Infineon’s suggestion that the Federal Circuit indicated that it could pursue this theory
   28 is therefore highly misleading. The Federal Circuit, specifically stated that that under

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    1 “[o]ther facts and circumstances,” there could be an implied negative covenant. Ex.
    2 13 at 8-9 (emphasis added). But it did not suggest that any such facts or circumstances
    3 were present here. Nor are they.
    4        To the extent that there could be an implied negative covenant in Infineon’s
    5 license to MACOM, it would have to arise because Infineon transferred technology
    6 to MACOM. But the Court expressly determined that “the 2004 technology transfer
    7 agreement provides for a transfer of technology from Nitronex [MACOM] to
    8 [Infineon].” Id.; see also Dkt. 126-1. Even Infineon’s own documents emphatically
    9 and unequivocally confirm that the direction of the transfer was only from Nitronex
   10 to IR, and never the other way around. See Ex. B (“To re-iterate NO process info is
   11 to be communicated to Nitronix [sic]. No nucleation or bake info! They can suggest,
   12 IR should listen but not communicate!!”). Infineon cites no evidence to the contrary,
   13 just wild speculation that these documents “may” show something that contradicts the
   14 Court’s previous findings and Infineon’s own unequivocal statements.           This is
   15 unreasonable. Against this backdrop, it is clear that Infineon is merely attempting to
   16 impose unnecessary burden on MACOM.
   17        And the nature of the requests at issue are particularly burdensome
   18 (unjustifiably so) on their face. Request Nos. 214 and 215 seek “all documents” and
   19 “all communication” from six separate custodians. That is disproportionate to any
   20 reasonable suggestion as to the importance of the information sought to the case.
   21 Infineon does not even include any temporal limitations on these requests.
   22        Moreover, MACOM has agreed to provide Infineon with responsive
   23 documents regarding the performance of the agreements between MACOM and
   24 Infineon that would capture technical transfers from Nitronex to International
   25 Rectifier, if any such transfers had occurred. For instance, MACOM has already
   26 agreed to (and now has) conducted reasonable searches for a vast amount of
   27 information related to the transfer of epi manufacturing of IR and the technology
   28 transfer agreement, including, among other categories of documents:

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    1              Documents relating to the negotiation of the 2010 IP Purchase
    2                Agreement, 2010 License Agreement, Common Interest Agreement,
    3                2004 License Agreement, and Technology Transfer Agreement” (see
    4                MACOM’s Responses to Request Nos. 10, 11);
    5              Documents relating to the execution of the 2010 IP Purchase
    6                Agreement, 2010 License Agreement, Common Interest Agreement,
    7                2004 License Agreement, and Technology Transfer Agreement” (see
    8                MACOM’s Responses to Request Nos. 10, 11);
    9              Documents relating to the performance of the 2010 IP Purchase
   10                Agreement, 2010 License Agreement, Common Interest Agreement,
   11                2004 License Agreement, and Technology Transfer Agreement” (see
   12                MACOM’s Responses to Request Nos. 10, 11);
   13              Documents regarding the negotiation of the 2004 License Agreement
   14                and Technology Transfer Agreement between IR and Nitronex” (see
   15                MACOM’s Response to Request No. 16); and
   16              Communications between Nitronex Corporation and International
   17                Rectifier concerning the 2010 License Agreement, the 2010 IP Purchase
   18                Agreement, the Common Interested Agreement, the 2004 License
   19                Agreement, and the Technology Transfer Agreement” (see MACOM’s
   20                Response to Request No. 12).
   21         When conferring with Infineon on RFPs 214 and 215, MACOM asked
   22 Infineon what information it believes it needs beyond the above categories.
   23 Infineon was unable to articulate anything specific, and it does not do so in this
   24 motion to compel either. See Ex. 6 at 2. Again, Infineon’s rigid insistence on only
   25 full agreement to its overbroad requests, without any justification, seems only
   26 intended to create undue burden on MACOM and has no basis in legitimate needs in
   27 the case.
   28         Under these circumstances, it would be disproportionately burdensome to

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    1 require a search of multiple additional custodians. For these reasons, MACOM
    2 respectfully requests that the Court deny this portion of Infineon’s motion.
    3        I.     Defendants’ Interrogatory No. 17
    4        Below are Defendants’ Interrogatory No. 17 and Plaintiffs’ response and
    5 supplemental response.
    6
                 INTERROGATORY NO. 17
    7
                        Separately for each of your GaN-Si Products and
    8            GaN-SiC products, identify (1) the senior managers and
    9            project or team leaders responsible for the design and
                 development of the product; (2) the three persons most
   10            knowledgeable about the design, development, structure,
   11            functionality, or operation of the product; (3) the senior
                 managers and project or team leaders responsible for the
   12            marketing of the product; (4) the three persons most
   13            knowledgeable about the marketing of the product; (5) the
                 senior managers and project or team leaders responsible for
   14
                 the sales of the product; and (6) the three persons most
   15            knowledgeable about the sales of the product. For each
                 person you identify, provide the person’s name, title, a
   16
                 description of his/her involvement and responsibilities with
   17            respect to the GaN-Si Products and/or GaN-SiC Products,
                 and the dates during which he/she worked on or was
   18
                 responsible for each such product. If the responsibilities for
   19            marketing or sales are divided by geography, customer, or
                 other basis, then the identification of senior managers and
   20
                 project or team leaders should include at least the persons
   21            responsible for each portion of the sales and marketing (e.g.,
                 those persons responsible for each country, continent, or
   22
                 other geographic division, or the persons responsible for
   23            each customer), and describe each person’s responsibility
                 and the basis for the division of responsibility.
   24
   25            RESPONSE TO INTERROGATORY NO. 17
   26                     MACOM incorporates the General Objections and
                    Objections to Definitions and Instructions set forth above.
   27
                    MACOM objects to the Interrogatory as overly broad,
   28               unduly burdensome, vague, and ambiguous. MACOM

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    1             objects to this Interrogatory as compound. MACOM
                  objects to this Interrogatory as premature. MACOM objects
    2
                  to the terms “identify,” “products,” “senior managers,”
    3             “project or team leaders,” “responsible,” “design,”
                  “development,” “structure,” “functionality,” “operation,”
    4
                  “marketing,”        “sales,”      “most        knowledgeable,”
    5             “involvement,” “portion,” “basis,” and “division of
                  responsibility” as overly broad, unduly burdensome, vague,
    6
                  and ambiguous. MACOM objects to this Interrogatory on
    7             the grounds that it fails to describe the information
    8             requested with reasonable particularity. MACOM objects to
                  the extent this Interrogatory seeks information that is not
    9             relevant to the subject matter of this action and/or is not
   10             proportional to the needs of the case. MACOM objects that
                  this Interrogatory is not reasonably limited as to time and
   11             thus seeks to impose undue burden on MACOM. MACOM
   12             objects to this Interrogatory to the extent it seeks third-party
                  confidential information that MACOM is not permitted to
   13             disclose under applicable protective orders and/or private
   14             agreements. MACOM objects to this Interrogatory to the
                  extent it seeks information protected by the attorney-client
   15             privilege and/or attorney work product doctrine and/or any
   16             other applicable privilege or immunity.

   17                    Subject to and without waiving the foregoing general
                  and specific objections, MACOM responds as follows: To
   18             the extent this Interrogatory requests that MACOM provide
   19             information regarding MACOM’s GaN-on-Si products, it is
                  premature because discovery regarding those products has
   20             been stayed. See Order dated August 7, 2017 (Dkt. 366).
   21             Nevertheless, in response to Request for Production No. 1,
                  2, 4, and 6, MACOM has agreed to produce, among other
   22
                  documents, responsive, non-privileged organizational
   23             charts that identify MACOM employees involved with the
                  design, development, and marketing of MACOM’s
   24
   25                   GaN-on-Si products from the time of the Nitronex
                  acquisition in 2014 to present, to the extent they exist and
   26             can be located upon a reasonable search. Pursuant to
   27             Federal Rule of Civil Procedure 33(d), MACOM refers
                  Infineon to those materials.
   28

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    1                    MACOM’s historical sales of its GaN-on-SiC
                  products were de minimis, meaning that the potential
    2
                  damages from those sales do not justify the cost of litigating
    3             Infineon’s present infringement claims against those
                  historical (and now discontinued) products. Therefore, for
    4
                  purposes of this litigation, MACOM does not intend to
    5             contest that its discontinued GaN-on-SiC products practice
                  the five patents asserted by Infineon (U.S. Patent Nos.
    6
                  7,569,871, 7,135,720, 7,352,016, 7,995,540, and
    7             7,071,498). This Interrogatory is therefore moot to the
    8             extent it seeks information related to GaN-on-SiC, and
                  MACOM will not respond to that portion of it.
    9
                         MACOM’s investigation of the subject matter of this
   10             Interrogatory is ongoing. Pursuant to Federal Rule of Civil
   11             Procedure 26(e), MACOM reserves the right to supplement
                  this Response as further information becomes available.
   12
   13             SUPPLEMENTAL RESPONSE TO INTERROGATORY
                  NO. 17
   14
                         Subject to and without waiving the foregoing general
   15             and specific objections, MACOM supplements its response
   16             as follows:
   17                     With respect to MACOM’s GaN-on-SiC products,
   18             MACOM filed a notice with the Court on October 16, 2017,
                  stating that “MACOM will not contest, for the purposes of
   19             this litigation, that the GaN-on-SiC RF products listed in
   20             Exhibit A practice the Asserted Patents.” (ECF No. 406, at
                  ¶4.) This concession fully resolves the technical issues
   21             relating to Infineon’s First Counterclaim and also fully
   22             moots the portion of this Interrogatory directed to GaN-on-
                  SiC.
   23
                         MACOM’s investigation of the subject matter of this
   24
                  Interrogatory is ongoing. Pursuant to Federal Rule of Civil
   25             Procedure 26(e), MACOM reserves the right to supplement
                  this Response as further information becomes available.
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    1               1.            Defendants’ Argument
    2                      a)     Background
    3         On August 2, 2017, Defendants served Interrogatory No. 17, which asks
    4 Plaintiffs to identify specific personnel for their GaN-on-Si products. On November
    5 29, 2017, Plaintiffs supplemented their response to this interrogatory but still failed
    6 to answer the interrogatory. Although Plaintiffs cite to Rule 33(d), they fail to identify
    7 any documents that respond to this interrogatory. On January 25, 2018, the parties
    8 met and conferred regarding this interrogatory in accordance with Local Rule 37.1
    9 but could not resolve their dispute.
   10                      b)     Plaintiffs fail to answer Interrogatory No. 17.
   11         Interrogatory No. 17 is simple.      It simply asks Plaintiffs to identify the
   12 following individuals for their GaN-on-Si and GaN-on-SiC products:
   13               (1) the senior managers and project or team leaders responsible for the
   14               design and development of the product;
   15               (2) the three persons most knowledgeable about the design,
   16               development, structure, functionality, or operation of the product;
   17               (3) the senior managers and project or team leaders responsible for the
   18               marketing of the product;
   19               (4) the three persons most knowledgeable about the marketing of the
   20               product;
   21               (5) the senior managers and project or team leaders responsible for the
   22               sales of the product; and
   23               (6) the three persons most knowledgeable about the sales of the product.
   24         Plaintiffs have not provided any substantive response. Although Plaintiffs
   25 invoke Rule 33(d), Plaintiffs fail to identify any specific documents as required under
   26 that rule. Plaintiffs’ answer is plainly insufficient.
   27         Plaintiffs contend that the interrogatory is premature because Infineon
   28 America’s infringement claim against Plaintiffs’ GaN-on-Si products is stayed.

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    1 While that infringement claim is stayed, Defendants are still entitled to discovery
    2 regarding Plaintiffs’ GaN-on-Si products because those products are also relevant to
    3 claims that are not stayed. In particular, Plaintiffs are seeking lost profile damages in
    4 the form their lost sales of their GaN-on-Si products. Thus, those products—
    5 including their marketing and sales—are highly relevant to the claims at issue.
    6         Plaintiffs’ response states that Plaintiffs will produce organizational charts, but
    7 it fails to specifically identify those organizational charts as required under Rule
    8 33(d), which states that the responding party must “specify[] the records that must be
    9 reviewed.” Moreover, even if Plaintiffs identified organization charts, those charts
   10 would not likely provide the responsive information. An organizational chart may
   11 include tens, if not hundreds, of names. Such a chart would not tell Defendants which
   12 three persons are most knowledgeable about the marketing of Plaintiffs’ GaN-on-Si
   13 products or which three persons are most knowledgeable about the sales of Plaintiffs’
   14 GaN-on-Si products. This identification of three person is deliberation so as to assist
   15 Defendants in determining who, in particular, to depose during discovery. By
   16 refusing to identify these individuals, Plaintiffs are trying to impede Defendants’
   17 ability to select the correct individuals to depose in this case.
   18         For these reasons, Plaintiffs should be compelled to fully respond to
   19 Interrogatory No. 17 by identifying the senior managers and project or team leaders
   20 and the three persons most knowledgeable about the items identified in the
   21 interrogatory.
   22                2.    Plaintiffs’ Argument
   23         Initially, this interrogatory is entirely moot as it relates to information for
   24 MACOM’s personnel involved with GaN-on-SiC products. The Court recently
   25 stayed Infineon’s GaN-on-SiC infringement claim at Infineon’s request, so it is
   26 unclear why Infineon served a motion to compel on this issue. Dkt. 509.
   27         In regards to MACOM’s GaN-on-Si products, this interrogatory is flagrantly
   28 compound. Infineon has the audacity to describe the interrogatory as “simple,” before

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    1 then immediately listing out six different areas of request.
    2         Nonetheless, MACOM has provided Infineon organizational charts that
    3 identify the MACOM personnel involved in each of the various aspects of its GaN-
    4 on-Si business in response to Requests for Production Nos. 1, 2, 4, and 6. This is
    5 more than sufficient to satisfy this interrogatory. See U.S. ex rel. Fry v. Guidant
    6 Corp., No. 3:03-0842, 2009 WL 3181315, at *2 (M.D. Tenn. Sept. 29, 2009) (denying
    7 motion to compel where party cited organizational charts in response to
    8 interrogatories about various employees and noted the parties also had the opportunity
    9 for 30(b)(6) depositions on this topic).
   10         As indicated by the lack of citation above, Infineon never told MACOM during
   11 the parties’ meet-and-confer that supplementation to formally cite these
   12 organizational charts in response to Interrogatory No. 17 was part of the relief it would
   13 seek. Rather, it generally indicated that it did not think these organizational charts
   14 were sufficient. Banzhoff Dec. ¶3. Now that it appears that part of the relief Infineon
   15 seeks now is such supplementation, however, MACOM will amend its response to
   16 Interrogatory No. 17 to cite to the relevant documents already produced in this case.
   17 MACOM respectfully requests that the Court otherwise deny Infineon’s motion to
   18 compel on this issue.
   19         J.    Defendants’ Request for Production No. 204
   20         Below are Defendants’ RFP 204 and Plaintiffs’ response.
   21               REQUEST FOR PRODUCTION NO. 204
   22                     All communications with ST relating to GaN-on-Si
                    or GaN-on-SiC technology, this lawsuit, the 2010 IP
   23               Purchase Agreement, 2010 License Agreement, the
   24               Licensed Patents, or Defendants.
   25               RESPONSE TO REQUEST NO. 204
   26                     MACOM incorporates the General Objections and
                    Objections to Definitions and Instructions set forth above.
   27               MACOM objects to the Request as overly broad, unduly
   28               burdensome, vague, and ambiguous. MACOM objects to

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    1               this Request to the extent it is duplicative of previous
                    discovery requests served by Infineon. MACOM objects to
    2
                    the terms “communications,” “relating to,” and “Licensed
    3               Patents” as overly broad, unduly burdensome, vague, and
                    ambiguous. MACOM objects to this Request on the
    4
                    grounds that it fails to describe the information requested
    5               with reasonable particularity. MACOM objects to the
                    extent this Request seeks information that is not relevant to
    6
                    the subject matter of this action and/or is not proportional
    7               to the needs of the case. MACOM objects that this Request
    8               is not reasonably limited as to time and thus seeks to impose
                    undue burden on MACOM. MACOM objects to this
    9               Request to the extent it seeks third-party confidential
   10               information that MACOM is not permitted to disclose
                    under applicable protective orders and/or private
   11               agreements. MACOM objects to this Request to the extent
   12               it seeks information protected by the attorney-client
                    privilege and/or attorney work product doctrine and/or any
   13               other applicable privilege or immunity.
   14                     Subject to and without waiving the foregoing general
   15               and specific objections, MACOM responds as follows:
                    MACOM will produce responsive, non-privileged
   16               agreements with ST Microelectronics related to the
   17               Nitronex Patents, to the extent they exist and can be located
                    upon a reasonable search. MACOM anticipates
   18               substantially completing its document production by March
   19               30, 2018.
   20               1.    Defendants’ Argument
   21        Plaintiffs’ mischaracterization of the facts and the parties’ communications has
   22 forced Defendants to seek court intervention on a compromise that Plaintiffs offered,
   23 Defendants accepted, and then Plaintiffs apparently withdrew. Plaintiffs should be
   24 compelled to provide documents responsive to RFP 204, at a minimum those they are
   25 already agreed they would be willing to produce in response to Defendants’
   26 compromise proposal.
   27                 a)         Background
   28        On February 12, 2018, Defendants served RFP 204, and on March 14, 2018,
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    1 Plaintiffs responded. On March 30, 2018, counsel for Defendants sent a letter to
    2 counsel for Plaintiffs regarding the arbitrary limitations in Plaintiffs’ response. On
    3 April 9, 2018, and April 11, 2018 the parties met and conferred regarding this RFP in
    4 accordance with Local Rule 37.1. In an attempt to resolve the parties’ dispute,
    5 Defendants offered a revised, narrower version of this request:
    6      RFP 204
    7             o Original—“All communications with ST relating to GaN-on-Si or GaN-
    8               on-SiC technology, this lawsuit, the 2010 IP Purchase Agreement, 2010
    9               License Agreement, the Licensed Patents, or Defendants.”
   10             o Defendants’ Proposal—“All communications with ST relating to this
   11               lawsuit, the 2010 IP Purchase Agreement, 2010 License Agreement, the
   12               Licensed Patents, or Defendants.”
   13 Ex. 14, April 9 and 11, 2018 Meet and Confer email chain, at April 18, 2018 3:29 PM
   14 email from Caballero to Banzhoff. Defendants followed-up by email on April 18,
   15 2018, again offering this revised version of RFP 204. Id.
   16        On April 30, 2018—21 days after Defendants offered their narrowed version
   17 of RFP 204 at the meet and confer, and 12 days after Defendants re-urged this
   18 compromise by email—Plaintiffs responded that they would “produce non-privileged
   19 communications with ST relating to this lawsuit, the 2010 IP Purchase Agreement,
   20 2010 License Agreement, the Licensed Patents, or Defendants, to the extent they exist
   21 and can be located upon a reasonable search.” Id. at April 30, 2018 6:04 PM email
   22 from Banzhoff to Caballero. This agreement was equivalent to Defendants’ narrowed
   23 proposal.
   24        On May 7, 2018, Plaintiffs emailed Defendants regarding different issues from
   25 the April 9 and 11 meet and confers. Specifically, Plaintiffs inquired into the status
   26 of “both parties’ requests related to Project Sky” and Plaintiffs’ RFP 134 to
   27 Defendants. Id. at May 7, 2018 6:29 PM email from Banzhoff to Caballero. Plaintiffs
   28

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    1 followed up on those issues four days later. Id. at May 11, 2018 10:12 AM email
    2 from Banzhoff to Caballero. At no point did Plaintiffs again mention RFP 204.
    3        On May 15, 2018, Defendants emailed Plaintiffs and accepted Plaintiffs’ April
    4 30, 2018 offer regarding RFP 204 because it was consistent with Defendants’
    5 narrowed version offered over a month earlier. Id. at May 15, 2018 1:59 PM email
    6 from Caballero to Banzhoff. Based on the understanding that Plaintiffs would
    7 produce responsive documents, Defendants told Plaintiffs that they would not move
    8 to compel a response to RFP 204. Id. Defendants specifically noted, however, that
    9 regarding other requests related to RFP 204, on which the parties had not reached an
   10 agreement, Defendants would move to compel. Id.
   11        On May 22, 2018, Defendants served their portion of the Joint Stipulation
   12 regarding their First Motion to Compel on Plaintiffs. Ex. 15, Joint Stipulation on
   13 Defendants’ First Motion to Compel email chain, at May 22, 2018 9:32 PM email
   14 from Caballero to Banzhoff. Based on the parties’ agreement, offered in Plaintiffs’
   15 April 30 email and accepted in Defendants’ May 15 email, Defendants did not move
   16 to compel on RFP 204. And, consistent with Defendants’ May 15 email, Defendants
   17 did move to compel on RFPs 203, 206, and 209. See Ex. 14, April 9 and 11, 2018
   18 Meet and Confer email chain, at May 15, 2018 1:59 PM email from Caballero to
   19 Banzhoff (“Based on [our agreement], we will not proceed with a motion to compel
   20 as to RFP 204. However, the other RFPs (203, 206, and 209) request relevant and
   21 discoverable information and are proportional to the issues in this matter.
   22 Accordingly, we plan on moving to compel production of responsive documents as to
   23 those requests” (emphasis added)).
   24        After receiving Defendants’ portion of the Joint Stipulation regarding
   25 Defendants’ First Motion to Compel, Plaintiffs expressed “surprise[]” at seeing RFPs
   26 203, 206, and 209 as the subject of a motion to compel. Ex. 15, Joint Stipulation on
   27 Defendants’ First Motion to Compel email chain, at May 23, 2018 9:36 AM email
   28 from Banzhoff to Caballero. Plaintiffs’ accused Defendants of never responding to

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    1 Plaintiffs’ April 30 offer. Id. Defendants reminded Plaintiffs of the May 15, 2018
    2 email, in which Defendants accepted Plaintiffs’ offer as to RFP 204 but told Plaintiffs
    3 that they planned to move on RFPs 203, 206, and 209. Id. at May 23, 2018 11:09 AM
    4 email from Caballero to Banzhoff. Defendants did exactly what they said they would
    5 do in the May 15 email.
    6        Plaintiffs then accused Defendants of ignoring their April 30 proposal for two
    7 weeks (despite being prompted twice for a response), rejecting their proposals, and
    8 “promptly” serving a motion to compel. Id. at May 24, 2018 12:41 PM email from
    9 Banzhoff to Caballero. These accusations contain several misstatements. First,
   10 although Defendants took from April 30 to May 15 to respond to Plaintiffs’ proposal,
   11 Plaintiffs took from the April 9 meet and confer until April 30 to respond to
   12 Defendants’ narrowed request in the first place. Second, Plaintiffs never followed-up
   13 seeking a response with respect to their proposal on RFP 204 (and related RFPs 203,
   14 206, and 209); instead, the follow-ups were limited to Project Sky and Plaintiffs’ RFP
   15 134. Ex. 14, April 9 and 11, 2018 Meet and Confer email chain, at May 7, 2018 6:29
   16 PM email from Banzhoff to Caballero; id. at May 11, 2018 10:12 AM email from
   17 Banzhoff to Caballero. Third, Defendants’ served their motion to compel regarding
   18 RFPs 203, 206, and 209 a full week after accepting Plaintiffs’ proposal on RFP 204.
   19        Finally, and most importantly, Defendants never “rejected” Plaintiffs’ offer
   20 with respect to RFP 204. Instead, as Defendants’ May 15 email explicitly states,
   21 Defendants accepted Plaintiffs’ offer with respect to RFP 204. Id. at May 15, 2018
   22 1:59 PM email from Caballero to Banzhoff. For that precise reason, Defendants did
   23 not move to compel on RFP 204.
   24        Based on Plaintiffs claim that Defendants rejected their proposal regarding RFP
   25 204, it now appears that Plaintiffs no longer intend to produce the documents they had
   26 formerly agreed to in response to this request, necessitating Defendants’ motion to
   27 compel on RFP 204. Ex. 15, at May 24, 2018 7:03 PM email from Caballero to
   28 Banzhoff.

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    1                      b)     Plaintiffs must produce documents responsive to RFP
                                  204 for the substantive reasons explained in Defendants’
    2                             First Motion to Compel.
    3         In the Joint Stipulation regarding Defendants’ first Motion to Compel,
    4 Defendants’ explained the relevance of ST Microeletronics, as well as the importance
    5 of the documents requested by related RFPs. To restate that background as it applies
    6 here, RFP 204, along with related RFPs 203, 206, and 209, seek documents relating
    7 to ST Microelectronics, one of Plaintiffs’ partners who provides wafer manufacturing
    8 so that Plaintiffs could provide GaN-on-Si products to customers. These RFPs seek
    9 a specific set of documents relating to ST, limited to documents or communications
   10 relating to rights to GaN-on-Si and GaN-on-SiC technology, the relevant agreements,
   11 Defendants, and Plaintiffs’ collaboration with ST. As stated in Plaintiffs’ response to
   12 Interrogatory No. 10, which Defendants detailed in the Joint Stipulation regarding
   13 their first Motion to Compel, Plaintiffs seek lost profit damages based, in part, on their
   14 allegation that Defendants’ conduct “delayed execution of agreements between
   15 MACOM and manufacturing partners.” As detailed in that first Joint Stipulation, this
   16 response does not identify a single manufacturing partner.            But through other
   17 documents and publicly available information, Defendants believe ST may be an
   18 important supplier (i.e., manufacturing partner) of Plaintiffs. Thus, the RFPs at issue
   19 seek documents relating to Plaintiffs’ and ST’s relationship—which is highly relevant
   20 to Plaintiffs’ lost profits claim. The requests may also be relevant to the extent
   21 Plaintiffs’ relationship with ST was important to customers or affected sales.
   22         This rationale applies to RFP 204, which (as narrowed) seeks “all
   23 communications with ST relating to this lawsuit, the 2010 IP Purchase Agreement,
   24 2010 License Agreement, the Licensed Patents, or Defendants.” If Defendants
   25 delayed Plaintiffs’ creation of an agreement with ST, documents responsive to this
   26 RFP would show it. And because Plaintiffs themselves state in their response to
   27 Interrogatory No. 10 that such a delay is central to their case for lost profits, discovery
   28 relating to Plaintiffs’ relationship with ST exceeds mere relevance. It is critical. As

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    1 a result, Plaintiffs must produce their communications with ST regarding the narrow
    2 set of topics identified in RFP 204.
    3               2.    Plaintiffs’ Argument
    4        This issue is moot.
    5        Infineon spends an impressive three pages just to manufacture a dispute where
    6 there is none. Infineon seems intent on misunderstanding MACOM’s position so that
    7 it can multiply the discovery disputes before the Court in an attempt to cast MACOM
    8 in a bad light.
    9        Infineon narrowed its Request No. 204 to communications with ST Micro
   10 relating to this lawsuit, the 2010 IP Purchase Agreement, the 2010 License
   11 Agreement, the Nitronex Patents, or Defendants. Ex. 14 at 5. MACOM agreed to
   12 this proposal. Id. at 4. MACOM has never retracted this agreement or did anything
   13 to call it into question.
   14        Infineon later feigned confusion, suggesting that MACOM had retracted this
   15 agreement (which it had not), and then immediately served this motion to compel the
   16 next day.
   17        MACOM has not changed its position on Request No. 204, does not understand
   18 why this issue is included in this motion, and, as repeatedly stated, confirms that it
   19 will produce all communications with ST relating to this lawsuit, the 2010 IP Purchase
   20 Agreement, 2010 License Agreement, the Nitronex Patents, or Defendants.
   21      MACOM respectfully requests that the Court deny Infineon’s motion to compel
   22 on this request as moot as well.
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